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                        THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

THE CITY OF COLUMBUS,                   )    Case No. 2:17-cv-1102
90 W. Broad Street                      )
Columbus, Ohio 43215                    )    Judge _______________________
                                        )
              Plaintiff,                )    COMPLAINT OF PLAINTIFF THE
                                        )    CITY OF COLUMBUS
v.                                      )
                                        )    JURY DEMAND
PURDUE PHARMA L.P.                      )    ENDORSED HEREON
c/o The Prentice Hall Corporation       )
2711 Centerville Road                   )
Wilmington, DE 19808                    )
                                        )
              and                       )
                                        )
PURDUE PHARMA, INC.                     )
c/o The Prentice Hall Corporation       )
2711 Centerville Road                   )
Wilmington, DE 19808                    )
                                        )
              and                       )
                                        )
THE PURDUE FREDERICK COMPANY,           )
INC.                                    )
c/o The Prentice Hall Corporation       )
2711 Centerville Road                   )
Wilmington, DE 19808                    )
                                        )
              and                       )
                                        )
TEVA PHARMACEUTICALS USA,               )
INC.                                    )
c/o Corporate Creations Network Inc.    )
3411 Silverside Road                    )
Wilmington, DE 19180                    )
                                        )
              and                       )
                                        )
TEVA PHARMACEUTICAL                     )
INDUSTRIES, LTD.                        )
5 Basel Street                          )
Petach Tikva 49131, Israel              )
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             and                        )
                                        )
CEPHALON, INC.                          )
c/o Corporate Creations Network Inc.    )
3411 Silverside Road                    )
Wilmington, DE 19180                    )
                                        )
             and                        )
                                        )
JOHNSON & JOHNSON                       )
One Johnson & Johnson Plaza             )
New Brunswick, NJ 08933                 )
                                        )
             and                        )
                                        )
JANSSEN PHARMACEUTICALS,                )
INC.                                    )
116 Pine Street, Suite 320              )
Harrisburg, PA 17101                    )
                                        )
             and                        )
                                        )
JANSSEN PHARMACEUTICA INC.              )
N/K/A JANSSEN                           )
PHARMACEUTICALS, INC.                   )
116 Pine Street, Suite 320              )
Harrisburg, PA 17101                    )
                                        )
             and                        )
                                        )
ORTHO-MCNEIL-JANSSEN                    )
PHARMACEUTICALS, INC. N/K/A             )
JANSSEN PHARMACEUTICALS,                )
INC.                                    )
116 Pine Street, Suite 320              )
Harrisburg, PA 17101                    )
                                        )
             and                        )
                                        )
NORAMCO, INC.                           )
c/o The Corporation Trust Company       )
Corporation Trust Center                )
1209 Orange Street                      )
Wilmington, DE 19801                    )
                                        )
             and                        )
 Case: 2:17-cv-01102-EAS-EPD Doc #: 1 Filed: 12/15/17 Page: 3 of 123 PAGEID #: 3



                                        )
ENDO HEALTH SOLUTIONS INC.              )
c/o The Corporation Trust Co.           )
1209 Orange Street                      )
Wilmington, DE 19801                    )
                                        )
              and                       )
                                        )
ENDO PHARMACEUTICALS, INC.              )
c/o The Corporation Trust Co.           )
1209 Orange Street                      )
Wilmington, DE 19801                    )
                                        )
              and                       )
                                        )
ALLERGAN PLC F/K/A ACTAVIS              )
PLC                                     )
CT Corporation System                   )
4400 Easton Commons Way, Suite 125      )
Columbus, OH 43215                      )
                                        )
              and                       )
                                        )
ACTAVIS, INC. F/K/A WATSON              )
PHARMACEUTICALS, INC.                   )
Corporate Creations Network, Inc.       )
119 E. Court Street                     )
Columbus, OH 45202                      )
                                        )
              and                       )
                                        )
WATSON LABORATORIES, INC.               )
Corporate Creations Network, Inc.       )
119 E. Court Street                     )
Columbus, OH 45202                      )
                                        )
              and                       )
                                        )
ACTAVIS LLC                             )
Corporate Creations Network, Inc.       )
119 E. Court Street                     )
Columbus, OH 45202                      )
                                        )
              and                       )
                                        )
                                        )
 Case: 2:17-cv-01102-EAS-EPD Doc #: 1 Filed: 12/15/17 Page: 4 of 123 PAGEID #: 4



ACTAVIS PHARMA, INC. F/K/A              )
WATSON PHARMA, INC.                     )
Corporate Creations Network, Inc.       )
119 E. Court Street                     )
Columbus, OH 45202                      )
                                        )
              and                       )
                                        )
MCKESSON CORPORATION                    )
50 West Broad Street, Suite 1330        )
Columbus, OH 43215                      )
                                        )
              and                       )
                                        )
CARDINAL HEALTH, INC.                   )
7000 Cardinal Place                     )
Dublin, OH 43017                        )
                                        )
              and                       )
                                        )
AMERISOURCEBERGEN DRUG                  )
CORPORATION                             )
1300 East Ninth Street                  )
Cleveland, OH 44114                     )
                                        )
              and                       )
                                        )
RUSSELL PORTENOY                        )
39 Broadway, 1st Floor                  )
New York, NY 10006                      )
                                        )
              and                       )
                                        )
PERRY FINE                              )
615 Arapeen Way, Suite 155              )
Salt Lake City, UT 84132                )
                                        )
              and                       )
                                        )
SCOTT FISHMAN                           )
2221 Stockton Boulevard                 )
Sacramento, CA 95817                    )
                                        )
              and                       )
                                        )
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LYNN WEBSTER                            )
PRA Health Sciences                     )
3838 S. 700 E. #202                     )
Salt Lake City, UT 84106                )
                                        )
             Defendants.                )
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           Now comes plaintiff the City of Columbus, Ohio (“Plaintiff,” “City,” “Columbus,” or

“City of Columbus”), by and through its attorney, Richard Pfeiffer, City Attorney, for its

Complaint against defendants Purdue Pharma L.P.; Purdue Pharma, Inc.; The Purdue Frederick

Company, Inc.; Teva Pharmaceuticals USA, Inc.; Teva Pharmaceutical Industries, Ltd.;

Cephalon, Inc.; Johnson & Johnson; Janssen Pharmaceuticals, Inc.; Janssen Pharmaceutica Inc.

n/k/a Janssen Pharmaceuticals, Inc.; Ortho-McNeil-Janssen Pharmaceuticals, Inc. n/k/a Janssen

Pharmaceuticals, Inc.; Noramco, Inc.; Endo Health Solutions Inc.; Endo Pharmaceuticals, Inc.;

Allergan plc f/k/a Actavis plc; Actavis, Inc. f/k/a Watson Pharmaceuticals, Inc.; Watson

Laboratories, Inc.; Actavis LLC; and Actavis Pharma, Inc. f/k/a Watson Pharma, Inc.

(collectively, the “Manufacturers” or “Manufacturer Defendants”); McKesson Corporation;

Cardinal Health, Inc.; AmerisourceBergen Drug Corporation (collectively, the “Distributors” or

“Distributor Defendants”); Russell Portenoy; Perry Fine; Scott Fishman; and Lynn Webster

(collectively, the “Key Opinion Leaders,” “KOLs,” or “KOL Defendants”) (collectively all of

the defendants are known as the “Defendants”), alleges as follows:

                                               INTRODUCTION

           1.      Opioids are a class of drugs that include the illegal drug heroin and synthetic

opioids such as fentanyl, oxycodone, hydrocodone, codeine, and many others.1 Over the last two

decades, opioids have become the most prescribed class of drugs in the United States. In 2016,

health care providers wrote more than 289 million prescriptions for opioids, or approximately

one bottle of pills for every adult in America.2

           2.      The United States, including the City of Columbus, is in the middle of an opioid

addiction epidemic and crisis. Cities like Columbus have been forced to deal with the effects of


1
    See National Institute on Drug Abuse, “Opioids,” https://www.drugabuse.gov/drugs-abuse/opioids.
2
    Prevalence of Opioid Misuse, BupPractice, https://www.buppractice.com/node/15576.

                                                          1
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prescription and illicit opioid addiction. The Centers for Disease Control and Prevention

(“CDC”) estimate that prescription opioid abuse costs the United States $78.5 billion per year.

This includes, but is not limited to, the costs incurred to abate the affects of addiction and

addiction-related issues such as increased costs for health care, addiction treatment, and the

increased cost to the criminal justice system.3

        3.      The addiction epidemic is the result of a well-developed marketing scheme by the

Manufacturers and KOLs to sell opioids for the treatment of chronic pain. Despite no credible

scientific evidence indicating that opioids offer any long-term benefit in treating chronic pain,

the Manufacturers and KOLs promoted their opioids as a panacea and pushed billions of pills

into communities, including Columbus.

        4.      The Manufacturers and KOLs misrepresented to other physicians and the public

that opioids were a safe treatment for pain with a low risk for addiction, and/or failed to take

steps to stem their distribution and flow despite legal duties to do so.

        5.      Contrary to the representations of safety made by the Manufacturers and the

KOLs, there is “[n]o evidence” to show “a long-term benefit of opioids in pain and function

versus no opioids for chronic pain.”4 ”Extensive evidence shows the possible harms of opioids

(including opioid use disorder, overdose, and motor vehicle injury)” and “[o]pioid pain

medication use presents serious risks, including overdose and opioid use disorder.”5

        6.      The Manufacturers and KOLs spent millions of dollars promoting and marketing

opioids to doctors, patients, and the public, including through direct marketing, front groups,

medical journals, and unbranded advertising. The Manufacturers and KOLs touted the purported
3
  CDC Foundation’s New Business Pulse Focuses on Opioid Overdose Epidemic, Centers for Disease Control and
Prevention (Mar. 15, 2017), https://www.cdc.gov/media/releases/2017/a0315-business-pulse-opioids.html.
4
  Deborah Dowell, M.D., Tamara M. Haegerich, Ph.D., and Roger Chou, M.D., CDC Guideline for Prescribing
Opioids for Chronic Pain — United States, 2016, Centers for Disease Control and Prevention (Mar. 18, 2016),
https://www.cdc.gov/mmwr/volumes/65/rr/rr6501e1.htm (emphasis added).
5
  Id.

                                                      2
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benefits of opioids to treat pain and downplayed the risks of addiction related to opioid use.

Their representations included, but are not limited to, that there was a low risk of addiction to the

Manufacturers’ opioids, more opioids should be prescribed to treat pain, risk-mitigation

strategies made it safe to prescribe opioids, higher dosages of opioids did not increase risks,

abuse-deterrent technology minimized risks, and long-term opioid use improved patients’

function and quality of life.

       7.      The Manufacturers and KOLs generated billions of dollars in sales of opioids.

Americans consume 80% of the world’s opioid supply and annual prescription opioid sales have

consistently approached more than $10 billion in recent years.

       8.      The Manufacturers and the KOLs are not the only entities that are liable for the

influx of prescription and illicit opioids into Columbus. Once the Manufacturers and the KOLs

created the market for opioids, the Distributors helped cause the epidemic by distributing

prescription opioids in unprecedented numbers. By failing to report “suspicious” orders, as

required by law, the Distributors fueled the growing opioid epidemic, while their profits

increased. The Distributors have been suspended and fined multiple times for failing to report

“suspicious” orders, including, but not limited to:

               a.      On December 23, 2016, Cardinal Health agreed to pay a
                       $44,000,000 fine to the Department of Justice to resolve the civil
                       penalty portion of administrative action taken against its Lakeland,
                       Florida Distribution Center;

               b.      On January 5, 2017, McKesson Corporation entered into an
                       Administrative Memorandum of Agreement with the DEA wherein
                       it agreed to pay a $150,000,000 civil penalty for violation of the
                       2008 Administrative Memorandum of Agreement with the DEA, as
                       well as failure to identify and report suspicious orders at its
                       facilities in Aurora CO, Aurora IL, Delran NJ, La Crosse WI,
                       Lakeland FL, Landover MD, La Vista NE, Livonia MI, Methuen
                       MA, Santa Fe Springs CA, Washington Court House OH and West
                       Sacramento CA; and

                                                  3
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                c.       On January 6, 2017, AmerisourceBergen agreed to pay
                         $16,000,000 to the State of West Virginia to resolve claims that
                         AmerisourceBergen acted negligently and unlawfully while
                         engaging in wholesale drug distribution in West Virginia.

        9.      On September 18, 2017, attorneys general from 41 states announced a joint

investigation into the Manufacturers’ and Distributors’ manufacture, marketing, and distribution

of opioids. All eight Manufacturers and Distributors were served with investigative subpoenas

and document requests relating to the conduct described herein.6

        10.     As a result of the Defendants’ conduct, Columbus has suffered significant harm

and damages, including, but not limited to, the breakdown of families, increased health insurance

costs, increased police and fire usage, increased usage of the criminal justice system and other

significant harms. Columbus also is faced with a significant addiction problem it must abate and

remedy.

        11.     Columbus brings this action to hold the Defendants liable for their conduct in

creating and perpetuating the opioid epidemic — conduct that (i) constitutes a public nuisance

under Ohio common and statutory law; (ii) constitutes deceptive trade practices under Ohio law;

(iii) has injured Columbus through criminal acts; (iv) constitutes fraud under Ohio law; (v)

constitutes a pattern of corrupt activity under Ohio law; (vi) constitutes a pattern of racketeering

activity under federal law; (vii) constitutes negligence under Ohio law, and (viii) constitutes

negligence per se under Ohio law.

        12.     Dr. Andrew Kolodny recently summarized the effect of the Defendants’ unlawful

scheme:

                I think one of the main reasons that we have failed to respond
                appropriately to the opioid crisis is that it was misframed, and

6
 Nadia Kounang, CNN, 41 state attorneys general subpoena opioid manufacturers (Sept. 20, 2017),
http://www.cnn.com/2017/09/19/health/state-ag-investigation-opioids-subpoenas/index.html.

                                                      4
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                 intentionally so.

                                                    ***

                 From the beginning of the crisis, the way the issue was framed,
                 particularly by pain organizations – that were getting funding from
                 opioid manufacturers – the way the issue was framed for
                 policymakers was as if all of the bad things that we’re hearing
                 about, all of the opioid harms, policymakers were told, were
                 limited to so called drug abusers, and that millions of patients were
                 being helped by the increase in prescribing.

                 And so policymakers were told that, your challenge is to try to do
                 something about this drug abuse problem without doing something
                 to the pain problem – millions of Americans are suffering from
                 chronic pain – and if you were to promote any kind of intervention
                 that would result in reduced prescribing, you’ll be punishing the
                 pain patients for the bad behavior of the drug abusers. So you’ve
                 got to balance these two competing problems.

                 And the reality is that we don’t have these two distinct groups, and
                 opioids are not safe and effective treatments for the vast majority
                 of people suffering with chronic pain. Millions of patients with
                 pain have become opioid addicted. Thousands of patients have lost
                 their lives.

                                                    ***

                 It’s not an abuse crisis, it’s an addiction epidemic. The reason we
                 have historically high levels of overdose deaths, the reason we’re
                 seeing heroin and fentanyl flood into non-urban areas, the reason
                 we’re seeing a soaring increase in infants born opioid-dependent,
                 children winding up in the foster care system, outbreaks of
                 injection-related infectious diseases, is because we’ve had this
                 very sharp increase in the prevalence, the number of Americans
                 suffering from opioid addiction.7

                                     JURISDICTION AND VENUE

        13.      This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1331 because the City asserts claims for violations of 18 U.S.C. § 1961, et seq. against all
7
 Dr. Andrew Kolodny, Washington Post Live, Dr. Andrew Kolodny: Opioid crisis ‘not an abuse crisis, it’s an
addiction epidemic’ (June 21, 2017), https://www.washingtonpost.com/video/postlive/dr-andrew-kolodny-opioid-
crisis-not-an-abuse-crisis-its-an-addiction-epidemic/2017/06/21/789fa53c-568a-11e7-840b-512026319da7_video.
html?utm_term=.a6571c16138a (emphasis added).


                                                      5
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defendants. In addition, pursuant to 28 U.S.C. § 1367, the Court has supplemental jurisdiction

over Columbus’ state law claims because they are so related to Columbus’ federal claims that

they are part of the same case or controversy.

       14.     This Court has personal jurisdiction over Defendants because they conduct

business in Ohio, purposefully direct or directed their actions toward Ohio, consented to be sued

in Ohio by registering an agent for service of process, consented to the jurisdiction of Ohio when

obtaining a distributor license, and/or have the requisite minimum contacts with Ohio necessary

to permit the Court to exercise jurisdiction.

       15.     Venue is proper in this District pursuant to Southern District of Ohio Local Rule

82.1(c), which provides “[a]n action against a defendant or defendants resident in this District

shall be filed at the location of the Court that serves a county in which at least one defendant

resides.” See also 28 U.S.C. § 1391(c). Defendant Cardinal Health is an Ohio corporation with

its principal office located in Dublin, Franklin County, Ohio, which is located in the Eastern

Division of the Southern District of Ohio and served by the Columbus location of this Court.

Venue is further proper in this District pursuant to 28 U.S.C. §§ 1391, 1965 because a substantial

part of the events or omissions giving rise to the claim occurred in this District and each

Defendant transacted affairs and conducted activity that gave rise to the claim of relief in this

District. 28 U.S.C. §§ 1391(b), 1965(a).

                                                PARTIES

I.     PLAINTIFF.

       16.     The City of Columbus is a municipal corporation organized under Ohio Law. See

Ohio Constitution, Article XVIII. Columbus has all of the powers of local self-government and

home rule and all other powers possible for a city to have under the constitution and laws of the



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State of Ohio, which are exercised in the manner prescribed by the charter of the City of

Columbus. See Charter of the City of Columbus; O.R.C. § 715.01.

       17.     Columbus is the capital and largest city in the State of Ohio, and is located within

Franklin County, Ohio. It is the fourteenth largest city in the United States, with a population of

860,090, according to 2016 Census estimates.

       18.     Columbus provides a wide range of services on behalf of its residents, including

services for families and children, public health, public assistance, law enforcement, and

emergency care.

       19.     Columbus has spent, and will continue to spend, significant amounts of taxpayer

money combating opioid addiction, including substantial costs for prevention, treatment, law

enforcement, prosecution, emergency medical services, probation, and public works. Nearly

every department within the City of Columbus, from the Division of Fire to the Recreation and

Parks Department, has been forced to devote substantial time, money, and resources to the harm

caused by the opioid epidemic.

       20.     The oversaturation of prescription opioids is a continuing public nuisance. It has

caused opioid abuse, addiction, morbidity, and mortality. Columbus is authorized by law to (a)

abate any nuisance, (b) prosecute in any court of competent jurisdiction any person who creates,

continues, contributes to, or suffers such nuisance to exist, and (c) prevent injury and annoyance

from such nuisance. O.R.C. § 715.44; Cincinnati v. Beretta U.S.A. Corp., 768 N.E.2d 1136

(Ohio 2002).

       21.     Columbus also has standing to recover damages caused by a criminal act. See

O.R.C. §§ 2307.60, 2307.011(F) (“person” includes “political subdivision”), 2744.01(F)

(municipal corporations are “political subdivisions”). Columbus additionally has standing to



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bring claims under the Ohio Corrupt Practices Act, and general tort principals. O.R.C. §§

2923.31(G) (“persons” include governmental entities), 2923.34(A) (“persons” have standing).

II.    DEFENDANTS.

       A.      The Manufacturer Defendants.

       22.     The Manufacturer Defendants, also referred to herein as “Manufacturers,” are

companies whose primary business is the manufacture, marketing and distribution of prescription

drugs, including opioids.

       23.     The Manufacturers have unlawfully orchestrated a marketing and distribution

campaign designed to increase sales of opioids throughout the United States, including, but not

limited to, in Columbus.

       24.     The Manufacturers are in the chain of distribution of prescription opioids. The

Manufacturers each sold opioids to distributors, including, but not limited to, the Distributors

named herein, who distributed them to physicians and pharmacies, including in Columbus. The

Manufacturers also improperly distributed opioids that ultimately reached Columbus and its

surrounding areas in unlawfully large quantities.

               1.      Defendants Purdue Pharma L.P.; Purdue Pharma, Inc.; and The
                       Purdue Frederick Company, Inc.

       25.     Defendant Purdue Pharma L.P. is a limited partnership organized under the laws

of Delaware with its principal place of business in Stamford, Connecticut. Defendant Purdue

Pharma, Inc. is a Delaware corporation with its principal place of business in Stamford,

Connecticut. Defendant The Purdue Frederick Company, Inc. is a Delaware corporation with its

principal place of business in Stamford, Connecticut. These defendants are collectively referred

to herein as “Purdue.” All Purdue entities acted in concert with one another and acted as agents

and/or principals of one another in connection with the conduct described herein.


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       26.     Purdue manufactures, promotes, and distributes opioids nationally and in

Columbus, including the following drugs: OxyContin, MS Contin, Dilaudid/Dilaudid HP,

Butrans, Hysingla ER, and Targiniq ER.

       27.     OxyContin, Butrans, and Hysingla ER are Schedule II and III opioids first

approved in 1995, 2010, and 2014, respectively.

       28.     In the 1990s, Purdue patented, obtained FDA approval for and commercially

released OxyContin, an oral formulation of the opioid oxycodone. Oxycodone is chemically

related to other opium-derived substances such as morphine, heroin, and hydrocodone.

       29.     Similar to other opioids, oxycodone can be a potent painkiller, but it also has an

extremely high potential to become addictive, particularly when used for other than short term

use. Because of this, Oxycodone is classified as a Schedule II narcotic under the Controlled

Substances Act (“CSA”). Other Schedule II controlled substances include cocaine and

methamphetamine.

       30.     The CSA criminalizes, among other things, the unauthorized distribution and

dispensation of substances classified in any of its five schedules. The five schedules are

organized from most dangerous (Schedule I) to least dangerous (Schedule V). Classification as

Schedule II indicates: (A) the drug or other substance has a high potential for abuse; (B) the drug

or other substance has a currently accepted medical use in treatment in the United States or a

currently accepted medical use with severe restrictions; and (C) abuse of the drug or other

substances may lead to severe psychological or physical dependence. 21 U.S.C. § 812(b)(2).

       31.     OxyContin was designed to gradually release its oxycodone content over an

extended period of time, with the purported benefit of providing a longer duration of pain relief

compared to other oxycodone drugs. Because OxyContin had a higher total oxycodone content



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than formulations designed for immediate release, however, the potential for misuse and

addiction posed by OxyContin was tremendous.

        32.      OxyContin is Purdue’s largest selling opioid, with national annual sales from

2009 to the present between approximately $2.5 billion and $3 billion. OxyContin constitutes

approximately 30% of the entire market for analgesic drugs. The following is a chart of

OxyContin sales from 1996-2014.8




        33.      By 2009, 81% of the worldwide annual consumption of oxycodone (the opioid

used in OxyContin) was used by Americans.9

                 2.      Defendants Teva Pharmaceuticals USA, Inc.; Teva Pharmaceutical
                         Industries, Ltd.; and Cephalon, Inc.

        34.      Defendant Teva Pharmaceuticals USA, Inc. (“Teva USA”) is a Delaware

corporation with its principal place of business in North Wales, Pennsylvania. Teva USA is a

wholly owned subsidiary of Defendant Teva Pharmaceutical Industries, Ltd. (“Teva Ltd.”), an

Israeli corporation. Defendant Cephalon, Inc. (“Cephalon”) is a Delaware corporation with its

principal place of business in Frazer, Pennsylvania. In 2011, Teva Ltd. acquired Cephalon.

8
  John Fauber and Ellen Gabler, Milwaukee Journal Sentinel, What happened to the poster children of OxyContin?,
http://archive.jsonline.com/watchdog/watchdogreports/what-happened-to-the-poster-children-of-oxycontin-r65r0lo-
169056206.html/; Los Angeles Times Graphics, OxyContin Sales, 1996-2014 (May 5, 2016),
http://www.latimes.com/projects/oxycontin-part1/.
9
  John Fauber and Ellen Gabler, Milwaukee Journal Sentinel, What happened to the poster children of OxyContin?,
http://archive.jsonline.com/watchdog/watchdogreports/what-happened-to-the-poster-children-of-oxycontin-r65r0lo-
169056206.html/.

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Collectively, these Defendants are referred to herein as “Teva.”

          35.    All Teva entities acted in concert with one another and acted as agents and/or

principals of one another in connection with the conduct described herein.

          36.    Teva manufactures several opioids, including Actiq and Fentora, and it promotes,

markets, and sells its opioids in Columbus, Ohio.

          37.    Actiq and Fentora are fentanyl-based opioids. Fentanyl is a synthetic opioid that

is 50-100 times more potent than morphine, and 25-50 times more potent than heroin. As a

result, Actiq and Fentora are only approved for limited purposes – that is, to treat pain from

cancer.

          38.    Upon information and belief, Teva generates substantial sales from its opioids. In

2005, for example, Teva sold over $410 million worth of Actiq.10

                 3.      Defendants Johnson & Johnson; Janssen Pharmaceuticals, Inc.;
                         Janssen Pharmaceutica Inc. n/k/a Janssen Pharmaceuticals, Inc.;
                         Ortho-McNeil-Janssen Pharmaceuticals, Inc. n/k/a Janssen
                         Pharmaceuticals, Inc.; and Noramco, Inc.

          39.    Defendant Janssen Pharmaceuticals, Inc. is a Pennsylvania corporation with its

principal place of business in Titusville, New Jersey, and is a wholly-owned subsidiary of

Defendant Johnson & Johnson, a New Jersey corporation with its principal place of business in

New Brunswick, New Jersey. Janssen Pharmaceutica Inc., now known as Janssen

Pharmaceuticals, Inc., is a Pennsylvania corporation with its principal place of business in

Titusville, New Jersey. Defendant Ortho-McNeil-Janssen Pharmaceuticals, Inc., now known as

Janssen Pharmaceuticals, Inc., is a Pennsylvania corporation with its principal place of business

in Titusville, New Jersey. Noramco, Inc. (“Noramco”) is a Delaware company with its principal

place of business in Wilmington, Delaware, and was a wholly-owned subsidiary of Johnson &

10
  John Carreyrou, The Wall Street Journal, “Narcotic ‘Lollipop’ Becomes Big Seller Despite FDA Curbs” (Nov. 3,
2006), https://www.wsj.com/articles/SB116252463810112292.

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Johnson until July 2016. Collectively, these entities are referred to herein as “Janssen.”

       40.     All Janssen entities acted in concert with one another and acted as agents and/or

principals of one another in connection with the conduct described herein.

       41.     Johnson & Johnson owns more than 10% of Janssen Pharmaceuticals, Inc., and,

upon information and belief, communicates with the FDA regarding the drugs manufactured by

Janssen Pharmaceuticals, Inc. Upon information and belief, Johnson & Johnson controls the sale

and development of the drugs manufactured by Janssen Pharmaceuticals, Inc.

       42.     Janssen manufactures, promotes, sells, markets, and distributes opioids such as

Duragesic, Nucynta, and Nucynta ER in the United States, including in Columbus, Ohio.

       43.     Janssen stopped manufacturing Nucynta and Nucynta ER in 2015.

       44.     Duragesic and Nucynta ER are Schedule II opioids first approved in 1990 and

2011, respectively.

       45.     Janssen generates substantial revenue from its opioids. Janssen sold more than $1

billion of Duragesic in 2009, and sold $172 million worth of Nucynta and Nucynta ER in 2014.

               4.      Defendants Endo Health Solutions Inc. and Endo Pharmaceuticals,
                       Inc.

       46.     Defendant Endo Pharmaceuticals, Inc. is a wholly owned subsidiary of Defendant

Endo Health Solutions Inc. Both are Delaware corporations with their principal place of

business in Malvern, Pennsylvania. Collectively, these entities are referred to as “Endo.”

       47.     Each Endo entity acted in concert with one another and acted as agents and/or

principals of one another in connection with the conduct described herein.

       48.     Endo manufactures, promotes, sells, markets, and distributes opioids such as

Percocet, Percodan, Opana, and Opana ER in the United States, including in Columbus.

       49.     Endo generates substantial revenue from its opioids. Endo sold more than $400


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million in 2012, and sold more than $1 billion of Opana ER 2010 to 2013.

               5.      Defendants Allergan plc f/k/a Actavis plc; Actavis, Inc. f/k/a Watson
                       Pharmaceuticals, Inc.; Watson Laboratories, Inc.; Actavis LLC; and
                       Actavis Pharma, Inc. f/k/a Watson Pharma, Inc.

       50.     Defendant Allergan plc f/k/a Actavis plc is a public limited company incorporated

in Ireland with its principal place of business in Dublin, Ireland. Actavis plc acquired Allergan

plc in March 2015, and the combined company changed its name to Allergan plc in March 2015.

Before that, Watson Pharmaceuticals, Inc. acquired Actavis, Inc. in October 2012, and the

combined company changed its name to Actavis, Inc. as of January 2013, and then to Actavis plc

in October 2013. Defendant Watson Laboratories, Inc. is a Nevada corporation with its principal

place of business in Corona, California, and is a wholly-owned subsidiary of Allergan plc f/k/a

Actavis, Inc., f/k/a Watson Pharmaceuticals, Inc. Defendant Actavis LLC is a Delaware limited

liability company with its principal place of business in Parsippany, New Jersey. Defendant

Actavis Pharma, Inc. f/k/a Actavis, Inc. is a Delaware corporation with its principal place of

business in New Jersey and was formerly known as Watson Pharma, Inc. Collectively, these

entities are referred to as the “Actavis Defendants” or “Actavis.”

       51.     Each Actavis entity acted in concert with one another and acted as agents and/or

principals of one another in connection with the conduct described herein. Upon information

and belief, Allergan plc exercises control over these marketing and sales efforts, and profits from

the sale of Actavis products ultimately inure to its benefit.

       52.     Actavis manufactures, promotes, sells, markets, and distributes opioids such as

Kadian and Norco, and several generic opioids, and it promotes, markets, and sells its opioids in

Columbus.

       53.     Upon information and belief, Actavis generates substantial sales from its opioids.



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       B.      The Distributor Defendants.

       54.     The Distributor Defendants, also collectively referred to herein as the

“Distributors,” are in the chain of distribution of prescription opioids, namely hydrocodone and

oxycodone. Upon information and belief, the Distributors have distributed the Manufacturers’

opioids to Columbus physicians and pharmacies.

               1.     Defendant McKesson Corporation.

       55.     Defendant McKesson Corporation (“McKesson”) is registered with the Ohio

Secretary of State as a Delaware corporation and may be served through its registered agent for

service of process, Corporation Service Company, 50 West Broad Street, Suite 1330, Columbus,

Ohio 43215. McKesson’s principal place of business is located in San Francisco, California.

McKesson operates distribution centers in Ohio, including in Washington Court House, Ohio.

               2.     Defendant Cardinal Health, Inc.

       56.     Defendant Cardinal Health, Inc. is registered with the Ohio Secretary of State as

an Ohio corporation, with its principal place of business located in Dublin, Ohio, and may be

served through its registered agent for service of process, CT Corporation System, 4400 Easton

Commons Way, Suite 125, Columbus, Ohio 43219. Cardinal Health operates distribution

centers nationwide and in Ohio, including in Groveport, Ohio and in Zanesville, Ohio.

               3.     Defendant AmerisourceBergen Drug Corporation.

       57.     Defendant AmerisourceBergen Drug Corporation (“AmerisourceBergen”) is

registered with the Ohio Secretary of State as a Delaware corporation and may be served through

its registered agent for service of process, CT Corporation System, 4400 Easton Commons Way,

Suite 125, Columbus, Ohio 43219. AmerisourceBergen’s principal place of business is located

in Chesterbrook, Pennsylvania. AmerisourceBergen operates distribution centers in Ohio,



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including in Lockbourne, Ohio.

        C.      Defendants Russell Portenoy; Perry Fine; Scott Fishman; And Lynn
                Webster.

        58.     Defendants Russell Portenoy; Perry Fine; Scott Fishman; and Lynn Webster are

Key Opinion Leaders or “KOLs.” “Key Opinion Leaders” is a pharmaceutical industry term of

art meaning “physicians who influence their peers’ medical practice, including but not limited to

prescribing behavior.”11

        59.     The KOLs were paid by the Manufacturers to tout misrepresentations regarding

the risks and benefits of opioids. The KOLs knowingly misrepresented that opioids could be

used effectively to treat conditions such as chronic pain, and downplayed the risks of addiction

and abuse.

                1.       Defendant Russell Portenoy.

        60.     Defendant Russell Portenoy, M.D., is a citizen of New York. Dr. Portenoy is a

physician licensed to practice medicine in the state of New York. Dr. Portenoy promoted

opioids for sale and distribution nationally and in Columbus.

        61.     For the past two decades, multiple Manufacturers have paid Dr. Portenoy to make

representations regarding opioids and addiction in general.12

        62.     Dr. Portenoy served on the American Pain Society (“APS”)/American Academy

of Pain Medicine (“AAPM”) Guidelines Committees, which misrepresented the use of opioids as
11
   See Pharma Marketing Network, The Pharma Marketing Glossary, “Key Opinion Leader (KOL)” (2014),
http://www.pharma-mkting.com/glossary/keyopinionleader.htm.
12
   Peter Whoriskey, The Washington Post, Rising painkiller addiction shows damage from drugmakers’ role in
shaping medical opinion (Dec. 30, 2012),
https://www.washingtonpost.com/business/economy/2012/12/30/014205a6-4bc3-11e2-b709-
667035ff9029_story.html?utm_term=.351a72fdd485 (As of 2002, Dr. Portenoy “reported involvements on contracts
and grants with Parke-Davis, Boehringer Ingelheim, Elan, Ortho Biotech, Endo, Ametek, Medtronic, Purdue
Pharma, Pfizer, Janssen, Abbott, Curatech, Ortho-McNeil and Searle.”); see also Janice Lynch Schuster, MedPage
Today, Portenoy Opioid Talk Sparks Controversy (Sept. 28, 2014),
https://www.medpagetoday.com/painmanagement/painmanagement/47855. Additionally, Dr. Portenoy received
payments from Teva Pharmaceuticals in 2015. See, e.g., Open Payments federal database,
https://openpaymentsdata.cms.gov/physician/886802/payment-information.

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an effective treatment for chronic pain.

        63.      Dr. Portenoy also was a member of the board of the American Pain Foundation

(“APF”), an organization funded by the Manufacturers. He served as the director of APF in the

late 1990s, and campaigned to make pain the “fifth vital sign” that doctors needed to monitor,

along with blood pressure, temperature, breathing, and heartbeat.

                 2.      Defendant Perry Fine.

        64.      Defendant Perry Fine, M.D., is a citizen of Utah. Dr. Fine promoted opioids for

sale and distribution nationally and in Columbus.

        65.      Dr. Fine served on the board of directors of APF alongside Defendant Scott

Fishman. APF was financed by Manufacturers and issued education guides that promoted the

benefits of opioids for chronic pain, while trivializing their risks, particularly the risk of

addiction.

                 3.      Defendant Scott Fishman.

        66.      Defendant Scott Fishman, M.D., is a citizen of California. Dr. Fishman promoted

opioids for sale and distribution nationally and in Columbus.

        67.      Dr. Fishman authored Responsible Opioid Prescribing: A Physician’s Guide, a

book funded, at least in part, by certain of the Manufacturers, including Endo. Those

Manufacturers attempted to distribute the book to all 700,000 doctors in the United States.13

                 4.      Defendant Lynn Webster.

        68.      Defendant Lynn Webster, M.D., is an anesthesiologist and a citizen of Utah. Dr.

Webster promoted opioids for sale and distribution nationally and in the city of Columbus.

        69.      Dr. Webster is a current board member of AAPM, a front group that supports


13
  Milwaukee Journal Sentinel, Drug company influence: A case study,
http://archive.jsonline.com/features/health/drug-company-influence-a-case-study-139610013.html.

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chronic opioid therapy.

        70.      Like Dr. Portenoy, multiple Manufacturers used Dr. Webster as a KOL and

provided him with funding and consultant fees. Dr. Webster authored numerous Continuing

Medical Education (“CME”) materials sponsored by Teva, Endo, and Purdue. At the same time,

Dr. Webster received significant funding from the Manufacturers (including nearly $2 million

from Teva).14

        71.      Dr. Webster also promoted the concept of “pseudoaddiction” as a theory that

addictive behaviors were indications of undertreated pain, and should not be viewed as warnings

of addiction. According to Dr. Webster, in a book he co-authored entitled Avoiding Opioid

Abuse While Managing Pain, when faced with “drug seeking behavior,” the “clinician’s first

response” should be to increase the dose.15

                      FACTS RELEVANT TO ALL CAUSES OF ACTION

I.      THE OPIOID EPIDEMIC CREATED BY THE MANUFACTURERS, THE
        DISTRIBUTORS AND THE KOLS, CAUSED, AND CONTINUES TO CAUSE,
        DEVASTATION, HARM AND DAMAGES TO COLUMBUS.

        72.      Opioids are a class of drugs used to treat pain. They are derived in whole or in

part from the opium poppy, the same plant from which morphine and heroin are made. Some

opioids also are completely synthetic, but nevertheless contain the same properties as morphine

and heroin.

        73.      The term “opioid” refers to natural, synthetic, and semi-synthetic opioids. The

Manufacturers manufacture synthetic and semi-synthetic opioids. Opium and morphine are

examples of natural opioids.

14
   Kristen Stewart & Jennifer Dobner, The Salt Lake Tribune, Utah doctors paid $25.8 million by drug companies
(March 12, 2013), http://archive.sltrib.com/article.php?id=55962410&itype=CMSID (Noting “[o]nly three other
doctors in the country received more [money] from [Teva]” than Dr. Webster.)
15
   Webster, Lynn R., and Beth Dove. “Chapter III.” Avoiding Opioid Abuse While Managing Pain: a Guide for
Practitioners, Sunrise River Press, 2007.

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        74.      Opioids are highly addictive, habit-forming drugs, something the medical

community has understood for centuries. Until the 1990s, medical professionals employed

opioid-based drugs with caution, prescribing them in limited circumstances to patients with

cancer, terminal illnesses, or acute short-term pain.

        75.      Opioid use has increased in the last twenty years. Opioids are now commonly

prescribed for general pain. One in every five patients with non-cancer pain symptoms or pain-

related diagnoses is prescribed opioids.16

        76.      Over the past two decades, annual opioid prescription sales have increased from

approximately $1 billion to $10 billion:17




        77.      Between 1991 and 2011, opioid prescriptions in the U.S. tripled, from 76 million

to 219 million per year.18 In 2016, there were more than 289 million prescriptions for opioids

filled in the U.S.19

16
   Deborah Dowell, M.D., Tamara M. Haegerich, Ph.D., and Roger Chou, M.D., CDC Guideline for Prescribing
Opioids for Chronic Pain — United States, 2016, Centers for Disease Control and Prevention (Mar. 18, 2016),
https://www.cdc.gov/mmwr/volumes/65/rr/rr6501e1.htm.
17
   David Crow, Drugmakers hooked on $10bn opioid habit, Financial Times (Aug. 10, 2016),
https://www.ft.com/content/f6e989a8-5dac-11e6-bb77-a121aa8abd95?mhq5j=e1.
18
   Nora D. Volkow, MD, America’s Addiction to Opioids: Heroin and Prescription Drug Abuse, Appearing before
the Senate Caucus on International Narcotics Control, NIH National Institute on Drug Abuse (May 14, 2014),
https://www.drugabuse.gov/about-nida/legislative-activities/testimony-to-congress/2016/americas-addiction-to-
opioids-heroin-prescription-drug-abuse.
19
   Prevalence of Opioid Misuse, BupPractice, https://www.buppractice.com/node/15576 (last visited Sept. 7, 2017).

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         78.      By 2012, one in three opioid users was prescribed dosages of opioids that

rendered them more potent than morphine.20

         79.      The Manufacturers and the KOLs aggressively pushed the use of opioids to

physicians in general. The majority of medical professionals who prescribe opioids are not pain

specialists. A 2014 study concluded that of the more than half million prescribers of opioids

during that time period, only 385 were identified as pain specialists.21

         80.      The increase in opioid prescriptions has caused a national epidemic and nuisance.

From 1999 to 2015, the number of opioid overdose deaths increased from approximately 4,030

to more than 33,000.22

         81.      More than 183,000 deaths from prescription opioids have been reported in the

United States since 1999.23 Someone in the U.S. dies from an overdose of a prescription opioid

every sixteen minutes.24

         82.      Between 2000 and 2015, life expectancy in the United States increased overall,

but drug-poisoning deaths, mostly related to opioids, contributed to reducing life expectancy.25


20
   America’s opioid epidemic is worsening, the Economist (Mar. 6, 2017),
https://www.economist.com/blogs/graphicdetail/2017/03/daily-chart-3.
21
   A Nation in Pain, Express Scripts (Dec. 9, 2014), http://lab.express-scripts.com/lab/publications/a-nation-in-pain.
22
   Overdose Death Rates, NIH National Institute on Drug Abuse, https://www.drugabuse.gov/related-topics/trends-
statistics/overdose-death-rates (revised Jan. 2017). The actual number of opioid-related deaths is likely much
higher. As much as 25 percent of the time, death certificates do not record the drug responsible for an overdose. See
Centers for Disease Control and Prevention, Opioid Data Analysis (Feb. 9, 2017), https://www.cdc.gov/
drugoverdose/data/analysis.html (“[A]ll the numbers are likely to underestimate the true burden given the large
proportion of overdose deaths where the type of drug is not listed on the death certificate.”); Alexandra Sifferlin,
Time, “Dying From an Opioid Overdose Is More Common Than You Think” (Aug. 7, 2017), http://time.com/
4890536/opioid-heroin-overdose-deaths/ (“Between 20%-25% of the overdose death certificates Ruhm studied
did not have any drug specified, suggesting that statewide estimates of deaths linked to opioids could be
significantly off.”).
23
   Understanding the Epidemic, Centers for Disease Control and Prevention,
https://www.cdc.gov/drugoverdose/epidemic/index.html (last updated Aug. 30, 2017).
24
   Katelyn Newman, U.S. News, From Punishing Users to Treating a Disease (May 18, 2017),
https://www.usnews.com/news/national-news/articles/2017-05-18/the-opioid-epidemic-from-punishing-users-to-
treating-a-disease.
25
   Rachel Becker, The Verge, The opioid epidemic is so bad it’s driving down life expectancy in the US, https://
www.theverge.com/2017/9/19/16333126/opioid-epidemic-deaths-us-national-life-expectancy-emergency-cdc-jama-
research.

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The rising death rate from drug overdoses during the same time period cut the average life

expectancy in the United States by more than three months – roughly the same reduction

attributable to rising death rates from injuries, Alzheimer’s disease, suicide, chronic liver disease,

and sepsis combined.26

        83.      Unintentional drug overdoses are the leading cause of injury-related death in

Ohio, ahead of motor vehicle traffic crashes. This trend began in 2007.27 Of the 4,050 Ohioans

who died of unintentional drug overdoses in 2016, 86.3% overdosed on opioids – far above the

national average.28 Persons addicted to opioids are less productive.

        84.      The total economic loss attributable to prescription opioids is at least $78.5 billion

per year.29 At least one quarter of these costs – approximately $20 billion per year – are borne

by the public sector, including by municipalities like Columbus.30

II.     THE MANUFACTURERS, DISTRIBUTORS AND KOLS CAUSED THE OPIOID
        EPIDEMIC.

        85.      The safe and effective treatment of chronic pain requires physicians to weigh the

risks of prescribing opioids against the benefits, as well as the risks and benefits of alternative

treatments. Thus, physicians need to be given accurate information about opioids.

        A.       It Was Generally Accepted That Long-Term Use Of Opioids Was
                 Considered Risky.

        86.      The DEA has regulated opioids as controlled substances since 1970.

        87.      In the 1970s, 1980s and prior, it was the generally accepted view throughout the

medical community that opioids should not be used for long-term treatment of chronic pain

26
   Id.
27
   Ohio Department of Health, 2016 Ohio Drug Overdose Data: General Findings (2016), https://www.odh.ohio.
gov/-/media/ODH/ASSETS/Files/health/injury-prevention/2016-Ohio-Drug-Overdose-Report-FINAL.pdf?la=en
28
   Id.
29
   CDC Foundation’s New Business Pulse Focuses on Opioid Overdose Epidemic, Centers for Disease Control and
Prevention (Mar. 15, 2017), https://www.cdc.gov/media/releases/2017/a0315-business-pulse-opioids.html.
30
   Wolters Kluwer Health: Lippincott Williams and Wilkins, Costs of US prescription opioid epidemic estimated at
$78.5 billion, Science Daily (Sept. 14, 2016), https://www.sciencedaily.com/releases/2016/09/160914105756.htm.

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because opioids were not effective and did not improve function. Patients also developed

tolerance and addiction issues.31

        88.      As a result, before the 1990s, long held and generally accepted standards of

medicine dictated that opioids only should be used short-term, for acute pain, pain relating to

recovery from surgery, or for cancer or palliative (end-of-life) care. The use of opioids to treat

chronic pain was discouraged or prohibited because there was: (a) a lack of evidence that opioids

improved patients’ ability to overcome pain and still function; (b) evidence of greater pain

complaints as patients developed tolerance to opioids over time; and (c) serious risk of addiction

and other side effects. In addition to physical and psychological dependency, it was believed

that chronic therapy produced greater psychological distress, poorer outcomes, and impaired

cognition.32

        B.       Opioids Are Highly Addictive.

        89.      Prescribing opioids, even for short term pain, risks addiction.

        90.      30% to 40% of long-term users of opioids experience opioid use disorders.33

According to the Substance Abuse and Mental Health Services Administration (“SAMHSA”),

symptoms of opioid use disorders include a “strong desire for opioids, inability to control or

reduce use, continued use despite interference with major obligations or social functioning, use

of larger amounts over time, development of tolerance, spending a great deal of time to obtain

and use opioids, and withdrawal symptoms that occur after stopping or reducing use, such as


31
   Sonia Moghe, CNN, Opioid History: From ‘wonder drug’ to abuse epidemic (Oct. 14, 2016),
http://www.cnn.com/2016/05/12/health/opioid-addiction-history/index.html (“By the mid- and late-1970s, when
Percocet and Vicodin came on the market, doctors had long been taught to avoid prescribing highly addictive
opioids to patients.”).
32
   See, e.g., Maruta, T. and Swanson, D.W., Problems With The Use Of Oxycodone Compound In Patients With
Chronic Pain, Pain, 11 (1981), 389-396.
33
   Joseph A. Boscarino et al., Risk factors for drug dependence among out-patients on opioid therapy in a large US
health-care system, 105(10) Addiction 1776 (2010),
http://www.thblack.com/links/RSD/Addiction2010_105_1776_RiskFactors4Depend.pdf.

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negative mood, nausea or vomiting, muscle aches, diarrhea, fever, and insomnia.”34

        91.      After taking opioids for a period of time, patients develop a tolerance to their pain

relieving effects. As a result, patients typically require increased doses to achieve the original

pain relief. These doses can become “frighteningly high.”35 As doses increase, the withdrawal

symptoms increase, making a patient more susceptible to addiction. Patients can even overdose

on recommended doses. Fear of withdrawal symptoms can force a patient to seek additional

opioids to avoid the adverse consequences of withdrawal.36

        C.       There Is No Credible Evidence To Support Long-Term Opioid Use For
                 Chronic Pain.

        92.      There are no credible studies that support the long-term effectiveness of opioids

for patients with chronic non-cancer pain.37

        93.      By 2009, the Journal of Pain (the official journal of the APS) noted:

                 Critical research gaps on use of opioids for chronic noncancer pain
                 include: lack of effectiveness studies on long-term benefits and
                 harms of opioids (including drug abuse, addiction, and diversion);
                 insufficient evidence to draw strong conclusions about optimal
                 approaches to risk stratification, monitoring, or initiation and
                 titration of opioid therapy; and lack of evidence on the utility of
                 informed consent and opioid management plans, the utility of
                 opioid rotation, the benefits and harms specific to methadone or
                 higher doses of opioids, and treatment of patients with chronic
                 noncancer pain at higher risk for drug abuse or misuse.38

        94.      Studies have shown that there is no, or limited, efficacy for the use of opioids to


34
   Substance Abuse and Mental Health Services Administration, “Substance Use Disorders” (Oct. 27, 2015),
https://www.samhsa.gov/disorders/substance-use.
35
   M. Katz, Long-term Opioid Treatment of Nonmalignant Pain: A Believer Loses His Faith, 170(16) Archives of
Internal Med. 1422 (2010).
36
   See, e.g., Geordan Omand, The Globe and Mail, Longtime opioid users motivated by fear of withdrawal (Last
updated March 24, 2017), https://www.theglobeandmail.com/news/british-columbia/longtime-opioid-users-
motivated-by-fear-of-withdrawal/article33360222/ (“[O]ne of the primary motivators for people to continue using
drugs is to relieve or avoid withdrawal.”).
37
   Roger Chou, et al., Journal of Pain, Volume 10, Issue 2, 149-155, Research Gaps on Use of Opioids for Chronic
Noncancer Pain: Findings From a Review of the Evidence for an American Pain Society and American Academy of
Pain Medicine Clinical Practice Guide (Feb. 2009), http://www.jpain.org/article/S1526-5900(08)00830-4/fulltext.
38
   Id.

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treat chronic back pain, non-cancer pain, and headaches.39

         95.      Opioids do not improve patients’ function. “For functional outcomes, the other

analgesics were significantly more effective than were opioids.”40

         96.      Contrary to his later work for the Manufacturers, in 1986, Defendant Dr. Russell

Portenoy, a KOL and top spokesperson for the Manufacturers, published an article reporting that

“[f]ew substantial gains in employment or social function could be attributed to the institution of

opioid therapy.”41

         97.      Also contrary to his later work for the Manufacturers, upon information and

belief, in 1994, Dr. Portenoy described the dangers of long-term use of opioids, including

problems with drug seeking behavior and addiction.

         98.      Also contrary to his later work for Manufacturers, upon information and belief,

39
   K.C. Brennan, et al., Neurology, Symptom Codes And Opioids: Disconcerting Headache Practice Patterns In
Academic Primary Care (April 8, 2015), abstract
http://www.neurology.org/content/82/10_Supplement/S41.003.short; Robert P. Cowan, MD, American Migraine
Foundation, “Opioid Narcotics and Headache” (July 29, 2015),
https://americanmigrainefoundation.org/understanding-migraine/opioid-narcotics-and-headache/; Bridget A. Martell
et al., Annals of Internal Medicine, Systematic Review: Opioid Treatment for Chronic Back Pain: Prevalence,
Efficacy, and Association with Addiction (2007),
https://www.researchgate.net/profile/Robert_Kerns/publication/6574580_Systematic_Review_Opioid_Treatment_fo
r_Chronic_Back_Pain_Prevalence_Efficacy_and_Association_with_Addiction/links/00b7d530c87b9ea0d4000000/S
ystematic-Review-Opioid-Treatment-for-Chronic-Back-Pain-Prevalence-Efficacy-and-Association-with-
Addiction.pdf (“On the basis of recent attention to the treatment for pain and concerns regarding the adverse effects
of nonsteroidal anti-inflammatory medications, it would be expected that an increasing number of patients with
chronic back pain will receive opioid medications. The findings in this review suggest that clinicians should
reconsider treating chronic back pain with opioid medications, and consider other treatments with similar benefit yet
fewer long-term adverse effects.”).
40
   Andrea D. Furlan, et al., Opioids for chronic noncancer pain: a meta-analysis of effectiveness and side effects,
174(11) Can. Med. Ass’n J. 1589 (2006),
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC1459894/pdf/20060523s00017p1589.pdf. This same study
revealed that efficacy studies do not typically include data on opioid addiction. In many cases, patients who may be
more prone to addiction are prescreened out of the study pool. This does not reflect how doctors actually prescribe
the drugs, because even patients who have past or active substance use disorders tend to receive higher doses of
opioids. Karen H. Seal, Association of Mental Health Disorders With Prescription Opioids and High-Risk Opioids
in US Veterans of Iraq and Afghanistan, 307(9) J. Am. Med. Ass’n 940 (2012),
https://www.researchgate.net/publication/221683297_Association_of_Mental_Health_Disorders_With_Prescription
_Opioids_and_High-Risk_Opioid_Use_in_US_Veterans_of_Iraq_and_Afghanistan; Andrea Rubenstein, Are we
making pain patients worse?, Sonoma Medicine (Fall 2009), http://www.nbcms.org/about-us/sonoma-county-
medical-association/magazine/sonoma-medicine-are-we-making-pain-patients-worse.aspx?pageid=144&tabid=747.
41
   Russell K. Portenoy & Kathleen M. Foley, Chronic Use of Opioid Analgesics in Non-Malignant Pain: Report of
38 Cases, 25(2) Pain 171 (1986).

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Dr. Portenoy stated that there was a lack of evidence supporting the safety and efficacy of opioid

therapy for long-term chronic non-cancer pain as of 1994.

        99.     The longer a patient uses opioids, the more likely they are to suffer mental health

conditions, experience increased psychological distress, and seek medical attention more

frequently.

        D.      The Manufacturers’ And KOLs’ Marketing Scheme Changed The
                Perception About, And Prescribing Of, Opioids.

        100.    Prior to the conduct of the Manufacturers and the KOLs described herein,

generally accepted medical standards held that opioids only should be used short-term or for

cancer or palliative care.

        101.      Internal Purdue documents reveal, for example, that even before OxyContin was

released, Purdue’s goal was clear: “we do not want to niche OxyContin just for cancer pain.”42

Purdue also insisted that “there is a big non-cancer marketplace for OxyContin.”43

        102.    Upon information and belief, Actavis commissioned a consulting report in 2005,

in anticipation of releasing Kadian to the market. Upon information and belief, that report

concluded that two challenges facing opioid manufacturers were: (1) overcoming concerns of

opioids; and (2) that physicians are hesitant to change prescribing patterns without supporting

data. Upon information and belief, Actavis designed its marketing of Kadian to circumvent these

two challenges.

        103.      Notwithstanding their actual and constructive knowledge of the negative impact

of opioids, the Manufacturers and the KOLs used multiple means to mislead doctors and the

general public into believing that long-term use of opioids was an effective and safe treatment


42
   Los Angeles Times, OxyContin Files, “Launch Team Meeting 3/31/95 Minutes,” (April 4, 1995)
http://documents.latimes.com/oxycontin-launch-1995/ (emphasized in original).
43
   Id.

                                                     24
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for chronic pain. As a spokesperson for the National Institute on Drug Abuse (NIDA), a

component of the National Institutes of Health (NIH), testified before Congress, “aggressive

marketing by pharmaceutical companies” is a cause of the opioid abuse problem.44

                 1.      The Manufacturers directly misrepresented to physicians the risks
                         and benefits of prescription opioids.

        104.     The Manufacturers communicated directly to doctors through in-person

communications from sales representatives, CMEs, and other written literature.

        105.     The Manufacturers spent hundreds of millions of dollars to communicate their

misleading messages to doctors.45 The Manufacturers employed sales representatives to present

their message to doctors and to increase both the volume of opioids sold and promote the

prescription of higher doses of opioids.46 Purdue increased its internal sales force from 318 to

671 and almost doubled its physician call list from 1996 to 2000.47 The Manufacturers provided

substantial bonuses to their salespersons to increase their sales. For example, Purdue paid $40

million in bonuses to its salespersons in 2001.48

        106.     The Manufacturers also invited doctors to attend free pain conferences at resorts

in warm-weather locations. More than 5,000 medical professionals attended those trips from

1996-2001.49 At these conferences, the Manufacturers promoted the long-term use of opioids for

long-term treatment of chronic pain. These free trips and seminars influenced doctors to increase


44
   Nora D. Volkow, MD, America’s Addiction to Opioids: Heroin and Prescription Drug Abuse, Appearing before
the Senate Caucus on International Narcotics Control, NIH National Institute on Drug Abuse (May 14, 2014),
https://www.drugabuse.gov/about-nida/legislative-activities/testimony-to-congress/2016/americas-addiction-to-
opioids-heroin-prescription-drug-abuse.
45
   Mike Mariani, How the American opiate epidemic was started by one pharmaceutical company, The Week (Mar.
4, 2015), http://theweek.com/articles/541564/how-american-opiate-epidemic-started-by-pharmaceutical-company.
46
   Los Angeles Times, Letter to Sales Reps, 1996, May 5, 2016, http://documents.latimes.com/letter-sales-reps-
1996/. At the time, 40mg was the largest pill of OxyContin available.
47
   Art Van Zee, M.D., The Promotion and Marketing of OxyContin: Commercial Triumph, Public Health Tragedy,
99(2) Am J Public Health 221-27 (Feb. 2009),
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2622774/pdf/221.pdf.
48
   Id.
49
   Id.

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the number of prescriptions of opioids for chronic pain. Doctors attending the seminars were

twice as likely to write prescriptions for opioids as those who did not.50

        107.     The Manufacturers also spent, upon information and belief, hundreds-of-

thousands, if not millions, of dollars to review and analyze data from IMS Health Holdings, Inc.

to determine which doctors prescribed opioids and the volume of those prescriptions. The use

and analysis of the data became the bedrock of the Manufacturers’ marketing campaigns and

allowed the Manufacturers to tailor their communications with each doctor.51 Upon information

and belief, the Manufacturers continue to employ the same marketing practices today.

        108.     The Manufacturers targeted family and primary care doctors that were susceptible

to their marketing campaigns because they were not pain specialists and were more likely to rely

on the information provided by the Manufacturers.52 As a result of the Manufacturers’

marketing campaign, doctors relied on the materials provided by the Manufacturers and

prescribed opioids for chronic pain.

                 2.      The Manufacturers funded, controlled and operated third-party
                         organizations that made misrepresentations to physicians about the
                         risks and benefits of opioids.

        109.     The Manufacturers funded and controlled organizations that communicated to

doctors, patients, and the public about the purported benefits of opioids to treat chronic pain.

These organizations were known as “Front Groups” and they published prescribing guidelines,

unbranded materials, and other programs that promoted opioids for chronic pain. The Front

Groups sought to influence not only doctors and patients, but lawmakers as well, to increase the

number of opioid prescriptions written.
50
   Harriet Ryan, Lisa Girion and Scott Glover, OxyContin goes global — “We’re only just getting started”, Los
Angeles Times (Dec. 18, 2016), http://www.latimes.com/projects/la-me-oxycontin-part3/.
51
   Art Van Zee, M.D., The Promotion and Marketing of OxyContin: Commercial Triumph, Public Health Tragedy,
99(2) Am J Public Health 221-27 (Feb. 2009), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2622774/pdf/221
.pdf.
52
   Id.

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        110.     For example, APF received more than $10 million from opioid drug

manufacturers, including, upon information and belief, Purdue, Endo, Teva, and Janssen,

between 2007 and 2012.53 APF’s operating budget was comprised almost entirely of

contributions from prescription opioid manufacturers. Not only did the Manufacturers control

APF’s finances, its board of directors was full of doctors who were on the Manufacturers’

payrolls.54 APF also lobbied against federal and state proposals to limit opioid use.55

        111.     The AAPM, which received more than $2.2 million in funding since 2009 from

opioid drug manufacturers, including, upon information and belief, Purdue, Endo, Teva, and

Actavis, held itself out as an independent and non-biased advocacy group representing

physicians practicing in the field of pain medicine.56 In fact, the AAPM simply was another

Front Group used by the Manufacturers.57 The AAPM participated in issuing guidelines in 2009

entitled “Guideline for the Use of Chronic Opioid Therapy in Chronic Noncancer Pain –

Evidence Review” (“2009 Guidelines”), which misrepresented that opioids were “safe and

effective” for treating chronic pain. The 2009 Guideline is still available online today.58

        112.     The Manufacturers realized treatment guidelines can “change prescribing

practices,” by falsely giving the appearance that it was an unbiased source of evidence-based

information, even though they were really marketing materials.


53
   Charles Ornstein and Tracy Weber, The Champion of Painkillers, ProPublica (Dec. 23, 2011),
https://www.propublica.org/article/the-champion-of-painkillers.
54
   Id.
55
   See Matthew Perrone, The Center For Public Integrity, Pro-painkiller echo chamber shaped policy amid drug
epidemic (December 15, 2016), https://www.publicintegrity.org/2016/09/19/20201/pro-painkiller-echo-chamber-
shaped-policy-amid-drug-epidemic.
56
   Larry McShane, NY Daily News, “How Big Tobacco-style marketing propels U.S. opioid crisis” (June 24, 2017),
http://www.nydailynews.com/news/national/big-tobacco-style-marketing-propels-u-s-opioid-crisis-article-
1.3274960.
57
   Tracy Weber and Charles Ornstein, Two Leaders in Pain Treatment Have Long Ties to Drug Industry, ProPublica
(Dec. 23, 2011), https://www.propublica.org/article/two-leaders-in-pain-treatment-have-long-ties-to-drug-industry.
58
   Clinical Guideline for the Use of Chronic Opioid Therapy in Chronic Noncancer Pain, American Pain Society,
http://americanpainsociety.org/uploads/education/guidelines/chronic-opioid-therapy-cncp.pdf (last visited Sept. 7,
2017).

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        113.    Upon information and belief, the Manufacturers participated in the Pain Care

Forum, a coalition of drug makers, trade groups, and nonprofit organizations, which spent more

than $740 million lobbying in the nation’s capital and all fifty states on an array of issues,

including opioid-related measures.59

        114.    Another group, a University of Wisconsin-based organization known as the Pain

& Policy Studies Group, received about $2.5 million from pharmaceutical companies, including,

but not limited to, Purdue, to promote opioid use and discourage the passing of regulations

against opioid use in medical practice.60 The Pain & Policy Studies Group wields considerable

influence over the nation’s medical schools.61 Purdue was the largest contributor to the Pain &

Policy Studies Group, paying approximately $1.6 million between 1999 and 2010.62

        115.    The Manufacturers also engaged in unbranded advertising to generally tout the

benefits of opioids without specifically naming a particular brand of opioid. Unbranded

marketing promotes a type of treatment generally, and is typically not reviewed by the FDA.

                3.       The Manufacturers retained the KOLs to conceal their
                         misrepresentations about the risks and benefits of opioids in the guise
                         of credentialed medical professionals.

        116.    The Manufacturers compensated the KOLs, who misrepresented the benefits of

opioid use for chronic pain at CME seminars and conferences. The KOLs misrepresented that

they were independent of the Manufacturers. In fact, the KOLs served on advisory boards of the

Manufacturers, on the boards of certain Front Groups, and on committees that helped develop


59
   Matthew Perrone and Ben Wieder, Pro-painkiller echo chamber shaped policy amid drug epidemic, AP News
(Sept. 19, 2016), https://apnews.com/3d257452c24a410f98e8e5a4d9d448a7/pro-painkiller-echo-chamber-shaped-
policy-amid-drug.
60
   John Fauber, Journal Sentinel, UW group ends drug firm funds (April 20, 2011),
http://archive.jsonline.com/watchdog/watchdogreports/120331689.html/.
61
   The Role of Pharmaceutical Companies in the Opioid Epidemic, Addictions.com, https://www.addictions.com/
opiate/the-role-of-pharmaceutical-companies-in-the-opioid-epidemic/ (last visited Sept. 7, 2017).
62
   John Fauber, UW group ends drug firm funds, Journal Sentinel (Apr. 20, 2011),
http://archive.jsonline.com/watchdog/watchdogreports/120331689.html.

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guidelines relating to opioids, including the AAPM’s 2009 Guideline described above.

        E.       The Manufacturers’ And KOLs’ Marketing Campaign Is, And Always Has
                 Been, Rooted In Scientifically Unsupported Conclusions.

        117.     Each of the Manufacturers and the KOLs made false and misleading statements

about opioids. Each Manufacturer and KOL knew, or should have known, that such statements,

as described herein, were false at the time they were made.

        118.     The medical community’s understanding of opioids has not fundamentally

changed in the past thirty years, and recent studies confirm that the Manufacturers’ and the

KOLs’ statements about the risks and benefits of opioids are false.

        119.     For example, the Manufacturers and the KOLs cited a one-paragraph letter-to-the-

editor published in the New England Journal of Medicine (“NEJM”) in 1980 (hereafter, the

“1980 NEJM Letter-to-the-Editor”) that “conclude[d]…the development of addiction is rare in

medical patients with no history of addiction:”63




        120.     The study referenced in the 1980 NEJM Letter-to-the-Editor merely analyzed

patients whom were not given long-term opioid prescriptions for use at home. Instead, they were

63
  Jane Porter and Herschel Jick, MD, Addiction Rare in Patients Treated with Narcotics, 302(2) N Engl J Med. 123
(Jan. 10, 1980), http://www.nejm.org/doi/pdf/10.1056/NEJM198001103020221.

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prescribed opioids under in-patient doctor supervision at hospitals. The 1980 NEJM Letter-to-

the-Editor also provided no evidence to support its conclusions.

        121.     The Manufacturers and the KOLs repeatedly cited the 1980 NEJM Letter-to-the-

Editor to support their claim that patients treated with opioids rarely became addicted.64

        122.     The 1980 NEJM Letter-to-the-Editor was cited at least 608 times.65 The number

of citations notably increased after OxyContin was introduced in 1995.66




        123.     Of those 608 articles, 72.2% cited it “as evidence that addiction was rare in

patients treated with opioids,” and 80.8% “did not note that the patients who were described in


64
   Jane Porter and Herschel Jick, MD, Addiction Rare in Patients Treated with Narcotics, 302(2) N Engl J Med. 123
(Jan. 10, 1980), http://www.nejm.org/doi/pdf/10.1056/NEJM198001103020221.
65
   Pamela T.M. Leung, et al., New England Journal of Medicine, A 1980 Letter on the Risk of Opioid Addiction
(June 1, 2017), http://www.nejm.org/doi/pdf/10.1056/NEJMc1700150; see also Harrison Jacobs, Business Insider,
This one-paragraph letter may have launched the opioid epidemic (May 26, 2016),
http://www.businessinsider.com/porter-and-jick-letter-launched-the-opioid-epidemic-2016-5.
66
   Pamela T.M. Leung, et al., New England Journal of Medicine, A 1980 Letter on the Risk of Opioid Addiction
(June 1, 2017), http://www.nejm.org/doi/pdf/10.1056/NEJMc1700150 see also Harrison Jacobs, Business Insider,
This one-paragraph letter may have launched the opioid epidemic (May 26, 2016),
http://www.businessinsider.com/porter-and-jick-letter-launched-the-opioid-epidemic-2016-5.

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the letter were hospitalized at the time they received the prescription.”67

         124.     The misleading citation to the 1980 NEJM Letter-to-the-Editor became so

pervasive that even Time magazine cited it as a “landmark study” and claimed it demonstrated

that the “exaggerated fear that patients would become addicted [to opioids]…[was] basically

unwarranted.”68

         125.     The representations based on the 1980 NEJM Letter-to-the-Editor were false

because the 1980 NEJM Letter-to-the-Editor “does not speak to the level of addiction in

outpatients who take these drugs for chronic pain.”69

         126.     Despite knowing the limited scope of the study, the Manufacturers’ and the

KOLs’ misrepresentations based on this letter included claims that less than one percent of

opioid users become addicted.70

         127.     In 2017, the NEJM published a follow-up letter-to-the-editor in which it

concluded that the misleading citations of the 1980 NEJM Letter-to-the-Editor “contributed to

the North American opioid crisis by helping to shape a narrative that allayed prescribers’

concerns about the risk of addiction associated with long-term opioid therapy.”71

         128.     The Manufacturers and the KOLs contributed to the opioid epidemic by

representing that the risk of addiction was low when opioids were prescribed to treat chronic

pain. Defendant Dr. Russell Portenoy, a KOL, recently described the campaign of
67
   Id.
68
   Sam Allis Boston, Time, Less Pain, More Gain (June 24, 2001),
http://content.time.com/time/magazine/article/0,9171,158154,00.html.
69
   Harrison Jacobs, Business Insider, This one-paragraph letter may have launched the opioid epidemic (May 26,
2016), http://www.businessinsider.com/porter-and-jick-letter-launched-the-opioid-epidemic-2016-5.
70
   See, e.g., Mike Mariani, The Week, “How the American opiate epidemic was started by one pharmaceutical
company” (March 4, 2015), http://theweek.com/articles/541564/how-american-opiate-epidemic-started-by-
pharmaceutical-company (“Through an array of promotional materials, including literature, brochures, videotapes,
and Web content, Purdue proudly asserted that the potential for addiction was very small, at one point stating it to be
‘less than 1 percent.’”).
71
   Pamela T.M. Leung, B.Sc. Pharm., Erin M. Macdonald, M.Sc., Matthew B. Stanbrook, M.D., Ph.D., Irfan Al
Dhalla, M.D., David N. Juurlink, M.D., Ph.D., A 1980 Letter on the Risk of Opioid Addiction, 376 N Engl J Med
2194-95 (June 1, 2017), http://www.nejm.org/doi/full/10.1056/NEJMc1700150#t=article (emphasis added).

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misinformation:

               I gave so many lectures to primary care audiences in which the
               [1980 NEJM letter] was just one piece of data that I would then
               cite – and I would then cite six, seven, maybe ten different avenues
               of thought, or avenues of evidence, none of which represented real
               evidence.

               And yet, what I was trying to do, was to create a narrative so that
               the primary care audience would look at this information in toto
               and feel more comfortable about opioids, in a way they hadn’t
               before. In essence, this was education to destigmatize, and
               because the primary goal was to destigmatize [opioids], we often
               left evidence behind.”72

       F.      Each Of The Manufacturers And The KOLs Have Made, And Continue To
               Make, False Claims About Opioids.

       129.    Each Manufacturer and KOL knew, or should have known, that its statements

about the low risk of addiction were false at the time they were made, and remain false today, as

recent studies have confirmed. Each has failed to correct its false and misleading statements.

       130.    The Manufacturers and KOLs made material misrepresentations concerning the

following subject matters, each of which is discussed in detail below: (1) the risk of addiction to

opioids was low; (2) increased dosage of opioids should be used to treat pain; (3) there were

effective strategies to reduce the risk of addiction and abuse; (4) higher dosages of opioids did

not pose serious risks; (5) abuse-deterrent technology existed to reduce the risks of abuse; and

(6) patient functionality and quality of life improved through the long-term use of opioids.

               1.      The Manufacturers and KOLs misrepresented that the risk of opioid
                       addiction was low.

       131.    The Manufacturers and KOLs have made false statements related to the risk of

opioid addiction.

       132.    To expand the market for OxyContin, Purdue engaged in a campaign to

72
  Andrew Kolodny, Opioids for Chronic Pain: Addiction is NOT Rare,
https://www.youtube.com/watch?v=DgyuBWN9D4w (last visited October 11, 2017).

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exaggerate the benefits of, and need for, OxyContin, while minimizing the known risks of

OxyContin, including addiction, misuse, and diversion.

        133.    According to an internal Purdue document from 1990, drafted by Dr. Robert F.

Kaiko, Purdue was aware before developing OxyContin that “in the State of Connecticut and

perhaps other states, the substance abuse officials consider oxycodone combinations among the

most abused Schedule II narcotic analgesic drugs.”73 Dr. Kaiko noted oxycodone’s reputation as

a “sleeping giant” among analgesics, “in that among all of the opioid analgesics utilized in fixed

combinations, oxycodone is the only one with an analgesic potential comparable to that of

morphine.”74

        134.    Dr. Portenoy, the paid KOL described above, stated in a Purdue promotional

video that “the likelihood that the treatment of pain using an opioid drug which is prescribed by a

doctor will lead to addiction is extremely low.”75

        135.    Dr. Alan Spanos, a pain specialist paid by Purdue,76 purporting to rely on the

1980 NEJM Letter-to-the-Editor stated in a Purdue promotional video: “In fact, the rate of

addiction amongst pain patients who are treated by doctors is much less than 1%. They don’t

wear out, they go on working, they do not have serious medical side effects….”77 Purdue

distributed this video to 15,000 doctors.78

        136.    In reliance on the 1980 NEJM Letter-to-the-Editor, Purdue’s “Partners Against


73
   Robert F. Kaiko, Ph.D., Purdue Pharma Memo, Controlled-Release Oxycodone (July 16, 1990),
http://documents.latimes.com/purdues-need-new-painkiller-1990/.
74
   Id.
75
   Thomas Catan and Evan Perez, A Pain-Drug Champion Has Second Thoughts, The Wall Street Journal (Dec. 17,
2012), https://www.wsj.com/articles/SB10001424127887324478304578173342657044604.
76
   John Fauber and Ellen Gabler, Milwaukee Journal Sentinel and MedPage Today, Anatomy of an Epidemic: The
Opioid Movie (Sept. 9, 2012), https://www.medpagetoday.com/neurology/painmanagement/34650.
77
   Our Amazing World, Purdue Pharma OxyContin Commercial, https://www.youtube.com/watch?v=Er78Dj5hyeI
(last visited Sept. 7, 2017) (emphasis added).
78
   U.S. General Accounting Office, Report to Congressional Requesters, OxyContin Abuse and Diversion and
Efforts to Address the Problem (Dec. 2003), http://www.gao.gov/new.items/d04110.pdf.

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Pain” website claimed that the addiction risk with OxyContin was very low.79

        137.     Purdue misrepresented that there was no need to worry about addiction if taking

opioids for legitimate, “medical” purposes:

                 Drug addiction means using a drug to get “high” rather than to
                 relieve pain. You are taking opioid pain medication for medical
                 purposes. The medical purposes are clear and the effects are
                 beneficial, not harmful.80

        138.     With Purdue’s actual or constructive knowledge, and at Purdue’s direction,

Purdue sales representatives misrepresented the low risk for addiction to doctors across the

country.81 Purdue also marketed OxyContin for a wide variety of conditions and to doctors who

were not adequately trained in pain management.82

        139.     Endo also made misrepresentations about the low risk of addiction. For instance,

it sponsored a website, PainKnowledge.com, on which it claimed that “[p]eople who take opioids

as prescribed usually do not become addicted.”83 The website has since been taken down. In

another website, PainAction.com, still available online, Endo claimed that “most chronic pain

patients do not become addicted to the opioid medications that are prescribed for them.”84

        140.     Endo began selling an opioid, oxymorphone, in 2005. That opioid, marketed

under the brand name Opana, was chemically identical to a previous opioid, Numorphan. In

1974, a report by the National Institute of Drug Abuse entitled “Drugs and Addict Lifestyle,”



79
   Art Van Zee, M.D., The OxyContin Abuse Problem: Spotlight on Purdue Pharma’s Marketing (Aug. 22, 2001),
https://www.fda.gov/ohrms/dockets/dockets/01n0256/c000297-A.pdf.
80
   Opioids.com, The Marketing of Opioids (accessed Oct. 20, 2017),
https://www.opioids.com/oxycodone/oxycontin.htm.
81
   Barry Meier, In Guilty Plea, OxyContin Maker to Pay $600 Million, The New York Times (May 10, 2007),
http://www.nytimes.com/2007/05/10/business/11drug-web.html.
82
   U.S. General Accounting Office, Report to Congressional Requesters, OxyContin Abuse and Diversion and
Efforts to Address the Problem (Dec. 2003), http://www.gao.gov/new.items/d04110.pdf.
83
   German Lopez, US officials are starting to treat opioid companies like Big Tobacco—and suing them, Vox (Aug.
9, 2017), https://www.vox.com/policy-and-politics/2017/6/7/15724054/opioid-companies-epidemic-lawsuits.
84
   Opioid medication and addiction, Pain Action (Aug. 17, 2017), https://www.painaction.com/opioid-medication-
addiction/.

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revealed the popularity of Numorphan.85 According to the report, Numorphan’s oral tablets were

about twice as potent as morphine, and many addicts said they preferred the drug over heroin

because it was “about 10 times more potent than morphine upon parenteral administration” [non-

oral means of administration, including by injection].86 In 1979, Endo agreed with the FDA to

take Numorphan off the market following two decades of abuse by addicts.87 Endo publically

stated the removal was for “commercial reasons.”

          141.   Despite knowing the high potential for abuse inherent in oxymorphone, Endo

sought FDA approval of Opana in 2003. During preliminary clinical trials of Opana, several

patients overdosed on the drug and had to be revived with emergency doses of naloxone.88 Endo

promptly conducted new clinical trials using the concept of “enriched enrollment,” a clinical trial

method that permitted Endo to remove anyone from the study who didn’t respond well to the

drug.89

          142.   The concept of “enriched enrollment” arose from the Initiative on Methods,

Measurements, and Pain Assessment in Clinical Trials (“IMMPACT”).90 Throughout the 2000s,

IMMPACT hosted annual meetings where representatives of drug manufacturers – including

Purdue, Endo, Janssen, Teva, and Actavis – could discuss clinical trial design with FDA

officials.91 These meetings were by invitation only.92


85
   Patricia Ferguson, et al., National Institute on Drug Abuse, Drugs and Addict Lifestyle at 238, https://assets.
documentcloud.org/documents/2074330/dalopana.pdf (noting “widespread abuse of Numorphan as both a
preference drug and as a drug to supplement other narcotics” and a belief that “tolerance to Numorphan builds very
rapidly.”).
86
   Id. at 237.
87
   John Fauber, Milwaukee Journal Sentinel, FDA seeks to remove a power opioid from the market for the second
time (June 9, 2017), https://www.usatoday.com/story/news/2017/06/09/xxxxxx/384827001/.
88
   John Fauber and Kristina Fiore, Milwaukee Journal Sentinel/MedPage Today, “A Look Back: Abandoned
Painkiller Makes a Comeback” (June 9, 2017), https://www.medpagetoday.com/psychiatry/addictions/65916.
89
   Id.
90
   John Fauber and Kristina Fiore, Milwaukee Journal Sentinel, Opana gets FDA approval despite history of abuse,
limited effectiveness in trials (May 9, 2015), http://archive.jsonline.com/watchdog/watchdogreports/opana-gets-fda-
approval-despite-history-of-abuse-limited-effectiveness-in-trials-b99494132z1-303198321.html/.
91
   Id.

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        143.     Relying on an “enriched enrollment” trial, the FDA approved Opana, even though

the FDA acknowledged that “one could argue that the results [of the clinical trials with “enriched

enrollment”] may not be generalizable to the wider chronic pain population.”93

        144.     In June 2017, after twelve years on the market, the FDA expressed its “concern

that the benefits of [Opana] may no longer outweigh the risks,” and asked Endo to remove

Opana from the market.94 The FDA based its decision “on a review of all available

postmarketing data, which demonstrated a significant shift in the route of abuse of Opana ER

from nasal to injection following the product’s reformulation.”95

        145.     Janssen currently states that concerns about opioid addiction are “overestimated”

and that “true addiction occurs only in a small percentage of patients.”96 Janssen also claimed

that “[m]any studies show that opioids are rarely addictive when used properly for the

management of chronic pain.”97

        146.     Upon information and belief, Actavis created sales training materials that

contained misinformation about the risks and benefits of Kadian, particularly related to abuse

and addiction. Upon information and belief, Actavis misrepresented that the risk of addiction

was limited to chronic pain patients and/or patients already predisposed to abuse, addiction,

and/or dysfunctional behavior. Upon information and belief, Actavis’ training materials

specifically omitted information about the serious risks associated with high dose opioid therapy

and/or long term opioid therapy. Upon information and belief, Actavis’ sales representatives


92
   Id.
93
   Id.
94
   U.S. Food & Drug Administration, Press Release, FDA requests removal of Opana ER for risks related to abuse
(June 8, 2017), https://www.fda.gov/NewsEvents/Newsroom/PressAnnouncements/ucm562401.htm.
95
   Id.
96
   Keith Candiotti, M.D., Use of Opioid Analgesics in Pain Management, Prescribe Responsibly,
http://www.prescriberesponsibly.com/articles/opioid-pain-management (last modified Jul. 2, 2015).
97
   German Lopez, US officials are starting to treat opioid companies like Big Tobacco—and suing them, Vox (Aug.
9, 2017), https://www.vox.com/policy-and-politics/2017/6/7/15724054/opioid-companies-epidemic-lawsuits.

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then passed these misrepresentations on to physicians.

        147.     In addition, the Manufacturers used third parties and the Front Groups to advance

their false and misleading statements about the safety of opioids. Dr. John D. Giglio, Executive

Director of the APF, stated that “opioids are safe and effective, and only in rare cases lead to

addiction.”98 In a 2007 publication titled “Treatment Options: A Guide for People Living with

Pain,” funded by Teva and Purdue, APF claimed: “Restricting access to the most effective

medications for treating pain is not the solution to drug abuse or addiction.” APF also tried to

normalize the dangers of opioids by listing opioids as one of several “[c]ommon drugs that can

cause physical dependence,” including steroids, certain heart medications, and caffeine.

        148.     The statements made by the Manufacturers and the KOLs constituted

misrepresentations and were false and misleading.

                 2.      The Manufacturers and KOLs misrepresented that doctors should
                         increase the dosage of opioids for patients that had symptoms of
                         addiction.

        149.     The Manufacturers and KOLs also developed the false concept of

“pseudoaddiction” and even reformulated the meaning of the word “addiction” altogether to

convince doctors that their patients did not actually suffer from opioid addiction.

        150.     Dr. David Haddox – who later became a Senior Medical Director for Purdue –

created the term “pseudoaddiction,” which he defined as “the iatrogenic syndrome of abnormal

behavior developing as a direct consequence of inadequate pain management.”99 In other words,

Dr. Haddox asserted that persons who presented with signs of addiction were not actually

addicted to opioids, but, instead, merely suffered from improperly managed pain. Dr. Haddox

98
   Oxycontin: Balancing Risks and Benefits: Hearing of the S. Comm. on Health, Education, Labor and Pensions,
107th Cong. 2 (Feb. 12, 2002) (testimony of John D. Giglio, M.A., J.D., Executive Director, American Pain
Foundation), https://www.help.senate.gov/imo/media/doc/Giglio.pdf.
99
   David E. Weissman and J. David Haddox, Opioid pseudoaddiction--an iatrogenic syndrome, 36(3) Pain 363-66
(Mar. 1989), https://www.ncbi.nlm.nih.gov/pubmed/2710565.

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recommended that such patients be prescribed more opioids.

        151.     The Manufacturers seized on Dr. Haddox’s statements and used them as part of

their marketing campaigns. The Front Groups, including APF and the Federation of State

Medical Boards (another national group funded by the Manufacturers), repeated Dr. Haddox’s

claims in their literature.100

        152.     APF also asserted that: “Physical dependence is normal; any patient who is taking

an opioid on a regular basis for a few days should be assumed to be physically dependent. This

does NOT mean you are addicted.”101 APF advised that drug seeking behavior did not mean a

patent was addicted, but only that the patient needed a larger dose because the patient’s pain was

more severe or the cause of the pain had changed:




        153.     Purdue used Dr. Haddox’s statements to encourage doctors to treat patients


100
    John Fauber, Milwaukee Journal Sentinel, Painkiller boom fueled by networking,
http://archive.jsonline.com/watchdog/watchdogreports/painkiller-boom-fueled-by-networking-dp3p2rn-
139609053.html/.
101
    Treatment Options: A Guide for People Living with Pain, American Pain Foundation,
https://assets.documentcloud.org/documents/277605/apf-treatmentoptions.pdf (last visited Sept. 7, 2017) (emphasis
in original).

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exhibiting signs of addiction by increasing their dosages of opioids, noting that “chronic pain has

been historically undertreated.”102

        154.     Purdue represented to doctors and patients that “[b]ehaviors that suggest drug

abuse exist on a continuum, and pain-relief seeking behavior can be mistaken for drug-seeking

behavior.”103 Purdue’s statements were false and misleading.

        155.     Endo used the National Initiative on Pain Control (“NIPC”) – a program it

controlled and funded – to promote the concept of pseudoaddiction and advised doctors that

aberrant drug seeking behavior was the result of untreated pain.104 In addition, a doctor affiliated

with Janssen published a study claiming that “[m]any patients presenting to a doctor’s office

asking for pain medications are accused of drug seeking. In reality, most of these patients may

be undertreated for their pain syndrome.”105

        156.     Janssen also promoted the concept of pseudoaddiction. A Janssen-sponsored

website similarly stated that pseudoaddiction is different from true addiction “because such

behaviors can be resolved with effective pain management.”106 One of Janssen’s current

websites, PrescribeResponsibly.com, defines pseudoaddiction as “a syndrome that causes

patients to seek additional medications due to inadequate pharmacotherapy being prescribed.
102
    Oxycontin: Its Use and Abuse: Hearing Before the H. Subcomm. on Oversight and Investigations of the Comm.
On Energy and Commerce, 107th Cong. 1 (Aug. 28, 2001) (statement of Michael Friedman, Executive Vice
President, Chief Operating Officer, Purdue Pharma, L.P.), https://www.gpo.gov/fdsys/pkg/CHRG-
107hhrg75754/html/CHRG-107hhrg75754.htm (Noting that “surveys still show that half of the patients in this
country with chronic pain are undertreated.”)
103
    OxyContin Risk Evaluation and Mitigation Strategy, Purdue Pharma L.P.,
https://www.fda.gov/downloads/Drugs/DrugSafety/PostmarketDrugSafetyInformationforPatientsandProviders/UCM
220990.pdf (last modified Nov. 2010).
104
    See, e.g., Wayback Machine, PainKnowledge.com (as of Feb. 10, 2004),
https://web.archive.org/web/20120119124921/http://www.painknowledge.org/aboutpaink.aspx (“Unfortunately, less
than optimal training of physicians in pain disorders has led to the underassessment and undertreatment of patients
who are living with pain.”).
105
    Howard A. Heit, MD, FACP, FASAM, The truth about pain management: the difference between a pain patient
and an addicted patient, 5 European Journal of Pain 27-29 (2001), http://www.med.uottawa.ca/courses/totalpain/
pdf/doc-34.pdf.
106
    Chris Morran, Ohio: Makers Of OxyContin, Percocet & Other Opioids Helped Fuel Drug Epidemic By
Misleading Doctors, Patients, Consumerist (May 31, 2017), https://consumerist.com/2017/05/31/ohio-makers-of-
oxycontin-percocet-other-opioids-helped-fuel-drug-epidemic-by-misleading-doctors-patients/.

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Typically, when the pain is treated appropriately, the inappropriate behavior ceases.”107




        157.     Upon information and belief, Actavis trained its sales representatives to

emphasize the signs of “pseudoaddiction” to doctors.

        158.     The Manufacturers’ use of the concept of pseudoaddiction was not, and is not,

supported by evidence. Even Dr. Portenoy recognized that “[t]he term [pseudoaddiction] has

taken on a bit of a life of its own . . . That’s a mistake.”108

                 3.      The Manufacturers and KOLs misrepresented that addiction
                         concerns could be minimized by risk-mitigation strategies, including
                         tapering.

        159.     The Manufacturers and KOLs minimized the concerns regarding addiction by

falsely asserting that addiction could be avoided and resolved through screening tools that

107
    Howard A. Heit, MD, FACP, FASAM and Douglas L. Gourlay, MD, MSc, FRCPC, FASAM, What a Prescriber
Should Know Before Writing the First Prescription, Prescribe Responsibly, http://www.prescriberesponsibly.com/
articles/before-prescribing-opioids#pseudoaddiction (last modified July 2, 2015).
108
    John Fauber, Milwaukee Journal Sentinel/MedPage Today, Chronic Pain Fuels Boom in Opioids (Feb. 19,
2012), https://www.medpagetoday.com/neurology/painmanagement/31254.

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allowed doctors to identify risks and safely prescribe opioids to patients. In addition, the

Manufacturers and KOLs advised doctors that tapering opioid doses would allow patients to

safely cease opioid treatment.109

        160.     Purdue advised doctors that patients should be screened to determine their

potential to abuse or become addicted to opioids. Purdue represented that such screening would

reduce incidences of addiction.110

        161.     Purdue currently represents to the public that certain patients have higher risk of

opioid addiction because they have a history of substance abuse or mental illness. Purdue’s

representation downplays the risk of addiction for all patients and implies that it is the patients

that are the cause of addiction and not opioids:111




        162.     Purdue also claims that opioid dependence can be resolved easily by using a


109
    See, e.g., Joseph Rasor, PT, OMS IV, The Journal of the American Osteopathic Association, “Using Opioids for
Patients With Moderate to Severe Pain,” September 2007, Vol. 107, ES4-ES10,
http://jaoa.org/article.aspx?articleid=2093482 (CME publication, funded by Purdue, discussing a 12-week taper
program); Bill H. McCarberg, MD, CME: Opioid Analgesia: Practical Treatment of the Patient With Chronic Pain
(2003), https://www.medscape.org/viewarticle/469428 (CME presentation, funded by Endo, instructing doctors to
“start withdrawing the patient from the medication – tapering the dosage….once you start patients on medications,
getting them off those drugs is hard…it is much easier when you have done it that way.”).
110
    OxyContin Risk Evaluation and Mitigation Strategy, Purdue Pharma L.P.,
https://www.fda.gov/downloads/Drugs/DrugSafety/PostmarketDrugSafetyInformationforPatientsandProviders/UCM
220990.pdf (last modified Nov. 2010).
111
    OxyContin, https://www.oxycontin.com/index.html (last visited Sept. 7, 2017).

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tapering schedule when stopping opioid treatment.112 Purdue instructed doctors to taper

someone off of OxyContin to prevent problems associated with withdrawal in patients who were

physically dependent on opioids.113 Purdue did not warn doctors or patients that tapering may

be inadequate to safely end opioid treatment.

        163.     Endo represented that assessment tools can assess risks for addiction and even

“[t]he potential for these risks should not, however, prevent proper management of pain in any

given patient.”114 Before taking down its website for Opana, Endo also instructed doctors and

patients that “[w]hen discontinuing OPANA ER, gradually taper the dosage.”115

        164.     Janssen likewise represents to doctors and the general public that opioid addiction

“can usually be managed” and that written agreements between a doctor and patient that

facilitate informed consent can reduce the risk of addiction and misuse of opioids.116

        165.     Upon information and belief, Actavis misrepresented via its sales representatives

that the physical symptoms of opioid withdrawal could be adequately addressed by tapering.

        166.     The Manufacturers’ and KOLs’ representations were false. There are no reliable

screening tests or questions to determine whether someone has the propensity to become

addicted. Anyone can become addicted to opioids, even when using them as prescribed by a

physician.117



112
    OxyContin, https://www.oxycontin.com/index.html (last visited Sept. 7, 2017); OxyContin Full Prescribing
Information, Purdue Pharma LP, http://app.purduepharma.com/xmlpublishing/pi.aspx?id=o (last visited Sept. 7,
2017).
113
    Purdue Pharma, Dear Healthcare Professional (Oct. 4, 2010), http://webcache.googleusercontent.com/search?
q=cache:Yhi3TrVHeGIJ:www.purduepharma.com/pdfs/DearHCPLetter.pdf+&cd=1&hl=en&ct=clnk&gl=us (last
visited Nov. 29, 2017).
114
    Opana ER, http://www.opana.com (last visited Sept. 7, 2017).
115
    Id.
116
    Prescribe Responsibly, “What a Prescriber Should Know Before Writing the First Prescription” (last modified
July 2, 2015), https://www.prescriberesponsibly.com/articles/before-prescribing-opioids.
117
    Walter Ling, et al., “Prescription opioid abuse, pain and addiction: Clinical issues and implications,” Drug
Alcohol Rev. 2011 May ; 30(3): 300–305,
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4170948/pdf/nihms617787.pdf (“Pain may contribute to the

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        167.    Each Manufacturer’s and KOL’s statements about tapering misrepresented that

gradual tapering would be sufficient to alleviate any risk of withdrawal or addiction while taking

opioids.

                4.       The Manufacturers and the KOLs misrepresented that doctors and
                         patients could increase opioid dosage indefinitely without added risk
                         and failed to disclose the risks associated with higher dosages.

        168.    The Manufacturers and the KOLs, directly or through Front Groups, made false

and misleading statements regarding dosage that have contributed to the opioid epidemic.

        169.    In 2012, APF claimed on its website that there was no “ceiling dose” for opioids

for chronic pain.118 APF also made this claim in a guide sponsored by Purdue, which is still

available online.

        170.    A Purdue regional manager instructed that representatives should “convinc[e] the

physician that there is no need” for prescribing OxyContin in shorter intervals than the

recommended 12-hour interval and, instead, the solution is prescribing higher doses. The

manager directed representatives to discuss with physicians that there is “no[] upward limit” for

dosing and to ask “if there are any reservations in using a dose of 240mg-320mg of

OxyContin.”119

        171.    Teva promoted Actiq for use in non-cancer patients to treat such conditions as

migraines, sickle-cell pain crises, and other injuries.120 Teva also made statements promoting

Actiq for use in patients who were not yet opioid-tolerant, and targeted such statements towards

development of opioid abuse and addiction, which may emerge after a period of legitimate use of opioids as
prescribed for analgesia.”).
118
    Noah Nesin, M.D., FAAFP, Responsible Opioid Prescribing, PCHC
https://www.mainequalitycounts.org/image_upload/Keynote-%20Managing%20Chronic%20Pain%20and%20
Opioids_Nesin.pdf (last visited Sept. 7, 2017).
119
    Sales manager on 12-hour dosing, Los Angeles Times (May 5, 2016), http://documents.latimes.com/sales-
manager-on12-hour-dosing-1996/.
120
    United States Department of Justice, “Pharmaceutical Company Cephalon To Pay $425 Million For Off-Label
Drug Marketing” (Sept. 29, 2008),
https://www.justice.gov/sites/default/files/civil/legacy/2014/01/09/Cephalon%20Press%20Release.pdf.

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physicians other than oncologists, including general practitioners.121 In so doing, Teva

knowingly targeted patients for whom Actiq could have life-threatening results.122

        172.    The FDA warned Teva about its online marketing, finding that company-

sponsored links on Internet search engines such as Google misrepresented the efficacy of Fentora

without communicating any risk information.123

        173.    Upon information and belief, Endo published a patient handout that assured

patients that “[j]ust because you are tolerant and need more medication does not mean that you

are addicted.”124 The website on which Endo made this misrepresentation, PainKnowledge.com,

described itself as “a one-stop repository for print materials, educational resources, and physician

tools across the broad spectrum of pain assessment, treatment, and management approaches,” but

failed to disclose its association with Endo.125 Dr. Perry Fine was on the website’s “Steering

Committee.”126 PainKnowledge.com is no longer an active website.127

        174.    In a publication titled “Understanding Your Pain: Taking Oral Opioid

Analgesics,” Endo assures opioid users that concern about developing tolerance to the drugs’

pain-relieving effect is “not a problem,” and that “[t]he dose can be increased” and “[y]ou won’t

‘run out’ of pain relief.”128

        175.    Janssen discussed the disadvantages of dosage limits for pain medicines in a 2009


121
    Id.
122
    Id.
123
    Lynne Taylor, Pharma Times, “Big Pharma firms warned over Internet drug ads” (April 7, 2009),
http://www.pharmatimes.com/news/big_pharma_firms_warned_over_internet_drug_ads_985134.
124
    See Wayback Machine, PainKnowledge.com PAIN Opioid Therapy Patient Handout,
https://web.archive.org/web/20101007083722/http://painknowledge.org/patiented/pdf/B697_%20Patient%20Hando
ut_FINAL.pdf
125
    See Wayback Machine, About PainKnowledge.com,
https://web.archive.org/web/20120119124921/http://www.painknowledge.org/aboutpaink.aspx.
126
    See Wayback Machine, Steering Committee,
https://web.archive.org/web/20120119103221/http://www.painknowledge.org/facultypk/faculty.aspx.
127
    http://painknowledge.com/.
128
    Understanding Your Pain: Taking Oral Opioid Analgesics, Endo Pharmaceuticals (2004),
http://www.thblack.com/links/RSD/Understand_Pain_Opioid_Analgesics.pdf.

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patient education guide, but failed to address the risks of dosage increases.129

        176.    Upon information and belief, Actavis’ training materials specifically omitted

information about the serious risks associated with high dose opioid therapy and/or long term

opioid therapy. Upon information and belief, Actavis’ paid physician speakers in turn made

misrepresentations about addiction risk profiles to other prescribing physicians and omitted

information about the serious risks associated with high dose opioid therapy and/or long term

opioid therapy.

        177.    The FDA sent Actavis a “Warning Letter” regarding Actavis’ promotion of

Kadian.130 The FDA identified two documents, a “Co-Pay Assistance Program” brochure for

Kadian and a “PK to PK Comparison Detailer for Kadian”, and determined they “[were] false or

misleading because they omit and minimize the serious risks associated with the drug, broaden

and fail to present the limitations to the approved indication of the drug, and present

unsubstantiated superiority and effectiveness claims.”131 The FDA warned Actavis against

distributing further promotional materials that “minimize[] the risks associated with Kadian and

misleadingly suggest[] that Kadian is safer than has been demonstrated,” because such

promotional materials “fail to reveal warnings regarding potentially fatal abuse of opioids, use by

individuals other than the patient for whom the drug was prescribed.”132




129
    See Vasudevan, Sridhar V. Multidisciplinary Management of Chronic Pain: a Practical Guide for Clinicians,
Springer, 2015, p. 77,
https://books.google.com/books?id=AFh1CgAAQBAJ&pg=PA77&lpg=PA77&dq=2009+%22Finding+Relief:+Pai
n+Management+for+Older+Adults%22&source=bl&ots=DqFa-RL1OE&sig=bsMgaPXrX1ZVdC6sK4GdhtBjB-
Q&hl=en&sa=X&ved=0ahUKEwjatdyAivPXAhVs34MKHXLTBLoQ6AEIOjAD#v=onepage&q=2009%20%22Fi
nding%20Relief%3A%20Pain%20Management%20for%20Older%20Adults%22&f=false.
130
    Warning Letter from Thomas Abrams, Director Division of Drug Marketing, Advertising and Communications,
U.S. Food and Drug Administration, to Doug Boothe, Chief Executive Officer, Actavis US (Feb. 18, 2010),
https://www.fdanews.com/ext/resources/files/archives/a/ActavisElizabethLLC.pdf.
131
    Id.
132
    Id.

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                 5.       The Manufacturers misrepresented that reformulated opioids can
                          curb addiction and abuse.

        178.     The Manufacturers have made, and continue to make, misrepresentations about

the purported abuse-deterrent properties of reformulated pills.

        179.     Purdue misrepresented that “abuse resistant products can reduce the incidence of

abuse.”133 Its current website claims abuse-deterrent properties “can make a difference.”134

        180.     On August 17, 2015, Purdue announced the launch of a new website, “Team

Against Opioid Abuse,” which it said was “designed to help healthcare professionals and

laypeople alike learn about different abuse-deterrent technologies and how they can help in the

reduction of misuse and abuse of opioids.”135 This website appears to no longer be active.

        181.     A study, whose authors included doctors formerly working for Purdue, stated that

“[a]buse-deterrent formulations of opioid analgesics can reduce abuse.”136 A 2016 study, which

includes at least one doctor affiliated with Purdue as an author, claims that abuse decreased by as

much as 99% in some situations after abuse-deterrent formulations were introduced.137

        182.     Endo changed its formula for Opana ER to one with purported abuse-deterrent

properties. Although the FDA determined the data did not back up Endos’ claims that the new

formula could reduce abuse, Endo advertised its reformulated pills as “crush resistant” and

directed its sales representatives to state the same. Endo agreed with the Attorney General of the

133
    Art Van Zee, M.D., The OxyContin Abuse Problem: Spotlight on Purdue Pharma’s Marketing (Aug. 22, 2001),
https://www.fda.gov/ohrms/dockets/dockets/01n0256/c000297-A.pdf.
134
    Opioids with Abuse-Deterrent Properties, Purdue, http://www.purduepharma.com/healthcare-
professionals/responsible-use-of-opioids/opioids-with-abuse-deterrent-properties/ (last visited Sept. 7, 2017).
135
    Purdue Pharma L.P. Launches TeamAgainstOpioidAbuse.com, Purdue (Aug. 17, 2015),
http://www.purduepharma.com/news-media/2015/08/purdue-pharma-l-p-launches-teamagainstopioidabuse-com/.
136
    Paul M. Coplan, Hrishikesh Kale, Lauren Sandstrom, Craig Landau, and Howard D. Chilcoat, Changes in
oxycodone and heroin exposures in the National Poison Data System after introduction of extended-release
oxycodone with abuse-deterrent characteristics, 22 (12) Pharmacoepidemiol Drug Saf. 1274-82 (Sept. 30, 2013),
https://www.ncbi.nlm.nih.gov/pmc/articles/PMC4283730/.
137
    Paul M. Coplan, Howard D. Chilcoat, Stephen Butler, Edward M. Sellers, Aditi Kadakia, Venkatesh
Harikrishnan, J. David Haddox, and Richard C. Dart, The effect of an abuse-deterrent opioid formulation
(OxyContin) on opioid abuse-related outcomes in the postmarketing setting, 100 Clin. Pharmacol. Ther., 275-86
(June 22, 2016), http://onlinelibrary.wiley.com/doi/10.1002/cpt.390/full.

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State of New York that it would discontinue making such statements.138

                 6.      The Manufacturers misrepresented that opioid use improved
                         patients’ function and quality of life.

        183.     The Manufacturers misrepresented that there was a significant upside to long-term

opioid use, including restoration or improvement of function and quality of life.

        184.     Purdue sponsored the development and distribution of a 2011 APF guide which

claimed that “multiple clinical studies have shown that opioids are effective in improving daily

function, psychological health, and health-related quality of life for chronic pain patients.” This

guide is still available today.

        185.     Upon information and belief, Purdue and Endo paid for, at least in part, and

disseminated Dr. Webster’s book, Avoiding Opioid Abuse While Managing Pain, that claims

opioids improved patients’ function. The book remains for sale online today.

        186.     Endo’s advertisements suggested Opana ER allowed patients to engage in

construction. Its Opana ER ads depicted Opana ER users as healthy and unimpaired.

        187.     Endo’s NIPC website claimed that by taking opioids, “your level of function

should improve; you may find you are now able to participate in activities of daily living, such as

work and hobbies, that you were not able to enjoy when your pain was worse.”

        188.     Endo sponsored CMEs through NIPC that claimed chronic opioid therapy has

been “shown to reduce pain and improve depressive symptoms and cognitive functioning.”

        189.     Endo helped publish guidelines stating that “Opioid Medications are a powerful

and often highly effective tool in treating pain,” and “they can help restore comfort, function, and



138
   Press Release, Attorney General Eric T. Schneiderman, A.G. Schneiderman Announces Settlement with Endo
Health Solutions Inc. & Endo Pharmaceuticals Inc. Over Marketing of Prescription Opioid Drugs (Mar. 3, 2016),
https://ag.ny.gov/press-release/ag-schneiderman-announces-settlement-endo-health-solutions-inc-endo-
pharmaceuticals.

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quality of life.”139

        190.    Teva and Purdue funded an APF publication entitled “Treatment Options: A

Guide for People Living with Pain,” which represented to pain patients that, when used properly,

opioids “can be life savers and give all of us a quality of life we deserve.”140 This publication is

still available online.141

        191.    Janssen assisted in publishing patient guides in which it stated that “opioids may

make it easier for people to live normally,” including sleeping through the night, returning to

work, recreation, sex, walking and climbing stairs.

        192.    Upon information and belief, Janssen assisted with a website which claimed

opioids allowed a patient to “continue to function.”

        193.    Upon information and belief, Actavis trained its sales representatives to

misrepresent that opioids would improve patients’ function.

        194.    The Manufacturers’ sales representatives communicated, and continue to

communicate, the message that opioids will improve patients’ function, without appropriate

disclaimers.

        G.      The Manufacturers And KOLs Made False And Misleading Statements To
                Persons, Including Physicians, In Columbus.

        195.    Upon information and belief, the Manufacturers and KOLs made each of the

specific misrepresentations set forth Section II.F, above, to persons and physicians in Columbus

and the surrounding areas. As a result, persons in Columbus and the surrounding areas were

prescribed significant amounts of opioids.

        196.    Upon information and belief, Manufacturers sent sales representatives to
139
    Informed Consent for Using Opioids to Treat Pain, Painknowledge.org (2007),
https://www.mainequalitycounts.org/image_upload/Opioid%20Informed%20Consent%20Formatted_1_23_2008.pdf
140
    American Pain Foundation, “Treatment Options: A Guide for People Living with Pain,”
https://assets.documentcloud.org/documents/277605/apf-treatmentoptions.pdf.
141
    Id.

                                                 48
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Columbus and its surrounding areas to tout the asserted benefits and low risks of opioid use to

treat chronic pain. The Manufacturers and KOLS knew or should have known that doctors in

Columbus and the surrounding areas would rely on the Manufacturers’ and KOLs’ statements

and prescribe opioids to treat chronic pain.

        197.    In addition, the Manufacturers and KOLs have made, and continue to make,

payments to doctors in Columbus for marketing these drugs. For example, according to publicly

available records, Purdue paid at least one Columbus doctor over $30,000 in consulting and

promotional speaking fees between August 2013 and December 2015 relating to Butrans,

Hysingla ER, and OxyContin.142

III.    THE MANUFACTURERS’ AND KOLS’ STATEMENTS ABOUT THE RISKS
        AND BENEFITS OF OPIOIDS WERE, AND ARE, FALSE.

        198.    The CDC issued its CDC Guideline for Prescribing Opioids for Chronic Pain on

March 15, 2016 (the “2016 CDC Guideline” or “Guideline”).143 The recommendations in the

2016 CDC Guideline were further made “on the basis of a systematic review of the best available

evidence.”144 The findings in the 2016 CDC Guideline confirmed scientific evidence regarding

the questionable efficacy of opioid use.

        199.    The 2016 CDC Guideline confirmed that “[e]xtensive evidence shows the

possible harms of opioids (including opioid use disorder, overdose, and motor vehicle injury)”

and that “[o]pioid pain medication use presents serious risks, including overdose and opioid use

disorder.”145 The Guideline further confirms the existence of opioid withdrawal.

        200.    The 2016 CDC Guideline states that there is “[n]o evidence” to show “a long-

142
    ProPublica, Dollars for Docs, Gladstone C. McDowell,
https://projects.propublica.org/docdollars/doctors/pid/242959.
143
    Deborah Dowell, Tamara M. Haegerich, and Roger Chou, Centers for Disease Control and Prevention, CDC
Guideline for Prescribing Opioids for Chronic Pain – United States, 2016 (March 15, 2016),
https://www.cdc.gov/mmwr/volumes/65/rr/rr6501e1.htm.
144
    Id.
145
    Id.

                                                     49
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term benefit of opioids in pain and function versus no opioids for chronic pain . . .” The

Guideline also states that “continuing opioid therapy for 3 months substantially increases the risk

of opioid use disorder.”146 The Guideline further indicates that “[p]atients who do not

experience clinically meaningful pain relief early in treatment . . . are unlikely to experience pain

relief with longer-term use,” and that physicians should “reassess[] pain and function within 1

month” to decide whether to “minimize risks of long-term opioid use by discontinuing

opioids.”147

         201.     The 2016 CDC Guideline finds that “[a]lthough opioids can reduce pain during

short-term use, the clinical evidence review found insufficient evidence to determine whether

pain relief is sustained and whether function or quality of life improves with long-term opioid

therapy.”148 The CDC further finds that “evidence is limited or insufficient for improved pain or

function with long-term use of opioids for several chronic pain conditions for which opioids are

commonly prescribed, such as low back pain, headache, and fibromyalgia.”149

         202.     The 2016 CDC Guideline finds that “[b]enefits of high-dose opioids for chronic

pain are not established” while the “risks for serious harms related to opioid therapy increase at

higher opioid dosage.”150 The CDC also finds that there is an “increased risk[] for opioid use

disorder, respiratory depression, and death at higher dosages.”151 The CDC advised doctors to

“avoid increasing dosage” above 90 morphine milligram equivalents per day.152

         203.     The 2016 CDC Guideline indicates that available risk screening tools “show

insufficient accuracy for classification of patients as at low or high risk for [opioid] abuse or


146
    Id.
147
    Id.
148
    Id. (emphasis added).
149
    Id.
150
    Id.
151
    Id.
152
    Id.

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misuse” and counsels that doctors “should not overestimate the ability of these tools to rule out

risks from long-term opioid therapy.”153

            204.   The 2016 CDC Guideline additionally states that “[n]o studies” support the notion

that “abuse-deterrent technologies [are] a risk mitigation strategy for deterring or preventing

abuse.” The CDC found such technologies “do not prevent opioid abuse through oral intake, the

most common route of opioid abuse, and can still be abused by nonoral routes.”154

IV.         BY FAILING TO REPORT SUSPICIOUS SHIPMENTS, THE
            MANUFACTURERS AND DISTRIBUTORS CAUSED THE OPIOID EPIDEMIC.

            A.     The Manufacturers And Distributors Have A Legal Duty to Prevent
                   “Suspicious Orders” of Opioids.

            205.   In 1970, Congress devised a “closed” chain of distribution specifically designed

to prevent legally produced controlled substances from being diverted into the illegal market.

Gonzales v. Raich, 525 U.S. 1, 12-14 (2005); 21 U.S.C. §§ 801(2), 821-824, 827, 880; H.R. Rep.

No. 91-1444, 1970 U.S.C.C.A.N. 4566, 4572 (Sept. 10, 1970). The term “controlled substance”

means “a drug or other substance, or immediate precursor, included in schedule I, II, III, IV, or

V” of the Controlled Substances Act, as discussed above. 21 U.S.C. § 801(6).

            206.   Federal law mandates that Manufacturers and the Distributors “shall inform the

Field Division Office of the Administration in his area of suspicious orders [of controlled

substances] when discovered by the registrant [Manufacturers and Distributors]. Suspicious

orders include orders of unusual size, orders deviating substantially from a normal pattern, and

orders of unusual frequency.” 21 C.F.R. § 1301.74(b). Thus, under this closed system, the

Manufacturers and Distributors have the duty to monitor, identify, halt, and report “suspicious

orders” of controlled substances. Masters Pharm., Inc. v. Drug Enf’t Admin., 861 F.3d 206


153
      Id.
154
      Id.

                                                   51
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(D.C. Cir. 2017).

       207.     “Suspicious orders” are not determined by any one test. An order that deviates

substantially from a normal pattern – no matter the size of the order – must be reported as

suspicious. Deviation from normal patterns relates to patterns of ordering from particular

customers, from the entirety of the wholesale distributor’s customer base or the relevant segment

of the wholesale distributor industry. Deviation from a pattern is not the sole factor to consider

in determining whether an order is suspicious. The size of an order is enough to trigger the

wholesale distributor’s responsibility to report the order as suspicious. Masters Pharm., Inc., at

215 (“DEA regulations expressly provide that deviations in size, frequency, or pattern are the

sort of indicia that give rise to a suspicion and, unless the suspicion is dispelled, the obligation to

report.”) (emphasis added).

       208.    Federal law requires that Manufacturers and Distributors maintain “effective

control against diversion of particular controlled substances into other than legitimate medical,

scientific, and industrial channels.” See 21 U.S.C. §§ 823(a) (1), 823(b)(1). Each Manufacturer

and Distributor was required to register with the DEA, pursuant to the federal Controlled

Substance Act. See 21 U.S.C. § 823; 21 C.F.R. § 1301.11(a) (“Every person who manufactures,

distributes, imports, or exports any controlled substances…shall obtain a registration”).

       209.    Ohio incorporates the above described federal requirements through statutes and

regulations promulgated by the Ohio Board of Pharmacy, which mandate that “[w]holesale drug

distributors shall operate in compliance with applicable federal, state, and local laws and

regulations.” O.A.C. § 4729-9-16(L); see also § 4729-9-28(I); O.R.C. § 4729.26 (“The state

board of pharmacy may adopt rules in accordance with Chapter 119 of the Revised Code, not

inconsistent with the law, as may be necessary to carry out the purposes of and to enforce the



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provisions of this chapter.”). Ohio requires the Manufacturers and Distributors to “establish and

maintain inventories and records of all transactions regarding the receipt and distribution or other

disposition of dangerous drugs,” and that, as a minimum requirement of wholesale distribution in

this State, “[a] system shall be designed and operated to disclose orders for controlled substances

and other dangerous drugs subject to abuse.” O.A.C. § 4729-9-16(H).

       210.    Ohio requires the Manufacturers and Distributors to “first obtain a license as a

wholesaler of controlled substances from the state board of pharmacy.” O.R.C. § 3719.021.

Each Manufacturer and Distributor is licensed by the Ohio Board of Pharmacy and is a

“registrant” as a wholesale distributor in the chain of distribution of Schedule II controlled

substances and assumes a duty to comply with all requirements imposed by the Board of

Pharmacy.

       211.    Ohio independently requires the Manufacturers and Distributors to report

“suspicious orders” to the Ohio Board of Pharmacy:

               The wholesaler shall inform the state board of pharmacy of
               suspicious orders for drugs when discovered. Suspicious orders
               are those which, in relation to the wholesaler’s records as a whole,
               are of unusual size, unusual frequency, or deviate substantially
               from established buying patterns.

               Reports generated by the system shall be furnished to the state
               board of pharmacy within three working days of receipt of a
               request from the board. The reports shall include the name and
               address of the purchaser, date of purchases, product trade name,
               national drug code (NDC) number, size of package, and quantity
               purchased.

O.A.C. § 4729-9-16(H)(1)(e); see also 4729-9-12(G); 4729-9-28(E).

       212.    In addition to federal and Ohio law, industry compliance guidelines from the

Healthcare Distribution Management Association (now known as the Healthcare Distribution

Alliance) further indicate that the Manufacturers and Distributors, as the entities “[a]t the center


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of a sophisticated supply chain,” must monitor, detect, report and refuse to fill suspicious orders.

The Healthcare Distribution Management Association advised that distributors should perform

due diligence and create monitoring systems to ensure that they do not ship suspicious orders

referred to as “orders of interest.”155

        213.     In sum, the Manufacturers and Distributors are “key components of the

distribution chain. If the closed system is to function properly … distributors must be vigilant in

deciding whether a prospective customer can be trusted to deliver controlled substances only for

lawful purposes. This responsibility is critical, as … the illegal distribution of controlled

substances has a substantial and detrimental effect on the health and general welfare of the

American people.”156

        214.     The Manufacturers and the Distributors are a major line of defense to prevent the

excessive sales of legal pharmaceutical controlled substances. Therefore, federal and Ohio law

mandate that the Manufacturers and the Distributors maintain effective controls to prevent

oversaturation of opioids. Should a Manufacturer or Distributor deviate from these checks and

balances, the closed system collapses.157

        B.       The Manufacturers And The Distributors Intentionally And/Or Recklessly
                 Breached Their Duties.

        215.     The DEA repeatedly has taken administrative action to force compliance. The

United States Department of Justice, Office of the Inspector General, Evaluation and Inspections


155
    “Prescribing Drug Diversion: Combating the Scourge” (March 1, 2012),
https://archive.org/stream/gov.gpo.fdsys.CHRG-112hhrg80861/CHRG-112hhrg80861_djvu.txt.
156
    See U.S. Department of Justice, Drug Enforcement Administration, letter to Cardinal Health dated September 27,
2006 (“This letter is being sent to every commercial entity in the United States registered with the Drug
Enforcement Agency (DEA) to distribute controlled substances. The purpose of this letter is to reiterate the
responsibilities of controlled substance distributors in view of the prescription drug abuse problem our nation
currently faces.”) (a copy of letter is filed at Cardinal Health, Inc. v. Holder, No. 1:12-cv-00185-RBW, Doc. 14-51
(filed therein in D.D.C. on February 20, 2012)).
157
    See Declaration of Joseph Rannazzisi, Deputy Assistant Administrator, Office of Diversion Control, Drug
Enforcement Agency, United States Department of Justice, ¶ 10, Cardinal Health, Inc. v. Holder, No. 1:12-cv-
00185-RBW, Doc. 14-2 (filed in D.D.C. on February 20, 2012).

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Division, reported that the DEA issued final decisions in 178 registrant actions between 2008

and 2012. The Office of Administrative Law Judges issued a recommended decision in a total of

117 registrant actions before the DEA issued its final decision, including 76 actions involving

orders to show cause and 41 actions involving immediate suspension orders.158

        216.     Defendants Cardinal Health and McKesson were fined millions of dollars and

issued Orders to Show Cause by the DEA for failing to maintain effective controls to prevent the

diversion of controlled substances for illicit purposes. In addition, Defendant

AmerisourceBergen was the subject of a criminal investigation concerning “its oversight of

painkiller sales” in 2012. AmerisourceBergen settled with the state of West Virginia on January

10, 2017 for $16 million.159

         217.    In response to the fines, lawsuits and Orders to Show Cause, the Distributors

purported to create greater controls to identify and prevent the shipment of suspicious orders of

Opioids.

         218.    For example, Cardinal Health claims that it uses “advanced analytics” to monitor

its supply chain, and assured the public it was being “as effective and efficient as possible in

constantly monitoring, identifying, and eliminating any outside criminal activity.”160 Similarly,

McKesson claims that it has a “best-in-class controlled substance monitoring program to help

identify suspicious orders,” and is “deeply passionate about curbing the opioid epidemic in our



158
    The Drug Enforcement Administration’s Adjudication of Registrant Actions, United States Department of Justice,
Office of the Inspector General, Evaluation and Inspections Divisions, I-2014-003 (May 2014), available at
https://oig.justice.gov/reports/2014/e1403.pdf.
159
    Kyla Asbury, West Virginia Record, “Cardinal Health, AmerisourceBergen settle pain pill lawsuit for $36
million” (Jan. 10, 2017), https://wvrecord.com/stories/511071502-cardinal-health-amerisourcebergen-settle-pain-
pill-lawsuit-for-36-million.
160
    Lenny Bernstein et al., How drugs intended for patients ended up in the hands of illegal users: ‘No one was doing
their job’, The Washington Post( October 22, 2016), available at https://www.washingtonpost.com/investigations/
how-drugs-intended-for-patients-ended-up-in-the-hands-of-illegal-users-no-one-was-doing-their-job/2016/10/22/
10e79396-30a7-11e6-8ff7-7b6c1998b7a0_story.html?utm_term=.744e85035bdc.

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country.”161 AmerisourceBergen also claims to use “a sophisticated set of algorithms and data

analytics” and recently announced its continued investment in a “best-in-class Diversion Control

Team, comprised of internal and external experts including former law enforcement

professionals, diversion investigators, pharmacists, and pharmacy technicians that maintains an

ongoing order monitoring program, conducts customer site visits, participates in surveillance

activities, reviews customer policies and identifies and reports suspicious orders.”162

         219.     Despite the Distributors’ claims about their monitoring and detection capabilities,

opioids have flooded Columbus in such numbers that either the controls are illusory and the

Distributors intentionally ignored suspicious orders, or, the Distributors negligently shipped

suspicious orders.

         220.     Upon information and belief, the volume of opioids distributed into Columbus

and the surrounding area exceeded the medical need of the community and the Distributors

should have known they were filling suspicious orders.

         221.     Based on this volume, upon information and belief, the Manufacturers and

Distributors unlawfully filled and failed to report suspicious orders of opioids that were delivered

and/or diverted into Columbus and its surrounding areas.

         222.     Each Manufacturer and Distributor breached its duties to monitor, detect,

investigate, refuse to fill, and report suspicious orders of prescription opioids headed to

Columbus and its surrounding areas.

         223.     The Manufacturers’ and the Distributors’ continued and repeated shipments of


161
    Scott Higham et al., Drug industry hired dozens of officials from the DEA as the agency tried to curb opioid
abuse, The Washington Post (December 22, 2016), available at
https://www.washingtonpost.com/investigations/key-officials-switch-sides-from-dea-to-pharmaceutical-
industry/2016/12/22/55d2e938-c07b-11e6-b527-949c5893595e_story.html?utm_term=.68a58d17478e.
162
    “AmerisourceBergen Announces Operating Commitments to Address Opioid Diversion and Abuse” (Dec. 7,
2017), https://www.businesswire.com/news/home/20171207005566/en/.

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suspicious orders was wanton, willful, or reckless conduct or criminal indifference to civil

obligations affecting the rights of others and justifies an award of punitive damages.

        C.       The Manufacturers And Distributors Spent Millions Of Dollars Lobbying
                 Congress To Weaken DEA Enforcement Efforts Against Them.

        224.     While the Manufacturers and Defendants publicly stated that they had increased

their efforts to detect, monitor and prevent suspicious orders, the Manufacturers and Distributors

also developed another strategy to prevent fines and investigation by the DEA – spend millions

of dollars lobbying Congress to weaken the DEA’s ability to enforce federal regulations against

the Manufacturers and Defendants.

        225.     Upon information and belief, the Manufacturers and the Distributors have spent

the past decade lobbying Congress to decrease the number of immediate suspension orders

issued by the DEA.163 An immediate suspension order is a DEA tool used to freeze a distributor

from distributing drugs.

        226.     Overall, the drug industry, including the Manufacturers and the Distributors, spent

$102 million lobbying Congress on the Effective Drug Enforcement Act and other legislation

between 2014 and 2016.164

        227.     The Manufacturers’ and the Distributors’ lobbying efforts to minimize immediate

suspension orders has been successful: the DEA issued 65 such orders in 2011, and that number


163
     Scott Higham and Lenny Bernstein, The Washington Post, The Drug Industry’s Triumph Over The DEA (Oct. 15,
2017), available at: https://www.washingtonpost.com/graphics/2017/investigations/dea-drug-industry-congress/
?utm_term=.37b4a0d6ae33; Lenny Bernstein and Scott Higham, The Washington Post, Investigation: The DEA
slowed enforcement while the opioid epidemic grew out of control (October 22, 2016), https://www.washingtonpost.
com/investigations/the-dea-slowed-enforcement-while-the-opioid-epidemic-grew-out-of-control/2016/10/22/
aea2bf8e-7f71-11e6-8d13-d7c704ef9fd9_story.html?utm_term=.7ba890887d7b; Lenny Bernstein and Scott
Higham, The Washington Post, Investigation: U.S. senator calls for investigation of DEA enforcement slowdown
amid opioid crisis (March 6, 2017), https://www.washingtonpost.com/investigations/the-dea-slowed-enforcement-
while-the-opioid-epidemic-grew-out-of-control/2016/10/22/aea2bf8e-7f71-11e6-8d13-d7c704ef9fd9_story.html
?utm_term=.83d382cede93; Eric Eyre, Charleston Gazette, DEA agent: ‘We had no leadership’ in WV amid flood of
pain pills (February 18, 2017),
http://www.wvgazettemail.com/news/20170218/dea-agent-we-had-no-leadership-in-wv-amid-flood-of-pain-pills-.
164
    Id.

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dropped to only 6 throughout the first ten months of 2017.165




          228.   Not a single immediate suspension order has targeted a distributor or

manufacturer of opioids since late 2015.

          229.   The Manufacturers’ and the Distributors’ lobbying efforts led to, among other

things, the Ensuring Patient Access and Effective Drug Enforcement Act (the “Effective Drug

Enforcement Act”), PL 114-145, April 19, 2016, 130 Stat. 354, passed by Congress in 2016.

          230.   Despite the DEA’s resistance to the Effective Drug Enforcement Act, Congress

passed the bill unanimously.166 One DEA official is quoted as noting that Congress “would have

passed [the bill] with us or without us . . . Our point was that this law was completely

unnecessary.”167

          231.   According to DEA Chief Administrative Law Judge John J. Mulrooney II, the bill

does not live up to its name. In a draft 115-page article pending publication by the Marquette

Law Review, ALJ Mulrooney wrote that, “[a]t a time when, by all accounts, opioid abuse,

165
    Id.
166
    Id.
167
    Id.

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addiction and deaths were increasing markedly … [the new law] imposed a dramatic diminution

of the [DEA’s] authority.”168 ALJ Mulrooney noted it was now “all but logically impossible”

for the DEA to suspend a drug company’s operations for failing to comply with federal law.169

ALJ Mulrooney further stated: “[i]f it had been the intent of Congress to completely eliminate

the DEA’s ability to ever impose an immediate suspension on distributors or manufacturers, it

would be difficult to conceive of a more effective vehicle for achieving that goal.”170

V.      THE MANUFACTURERS’, DISTRIBUTORS’ AND KOLS’ ACTIONS CAUSED
        AN ILLICIT OPIOID EPIDEMIC IN COLUMBUS.

        232.     As a direct result of opioid abuse, individuals who have become addicted to

opioids – but cannot afford their increased costs or are unable to secure a prescription – have

turned to cheaper, more potent, and dangerous alternatives, including heroin and fentanyl,

fueling a related epidemic directly attributable to prescription opioid abuse.

        233.     Columbus is the largest city in the state of Ohio. It also is the largest city in the

five-state region of Indiana, Michigan, Ohio, Kentucky, and West Virginia, and the fifth-largest

city in the United States east of the Mississippi River.171

        234.     Columbus is located at the center of the most densely populated area of the United

States: approximately 45 percent of the United States population lives within a ten hour drive of

Columbus, more than any other city in the country.172




168
     John J. Mulrooney II & Katherine E. Legel, Current Navigation Points in Drug Diversion Law: Hidden Rocks in
Shallow, Murky, Drug-Infested Waters, 101 MARQ. L. REV. (forthcoming Feb. 2018).
169
     Scott Higham and Lenny Bernstein, The Washington Post, The Drug Industry’s Triumph Over The DEA (Oct. 15,
2017), available at: https://www.washingtonpost.com/graphics/2017/investigations/dea-drug-industry-
congress/?utm_term=.37b4a0d6ae33.
170
    Id.
171
     United States Census Bureau, “The 15 Most Populous Cities: July 1, 2016” (July 1, 2016),
https://www.census.gov/content/dam/Census/newsroom/releases/2017/cb17-81-table3-most-populous.pdf.
172
     Columbus 2020, “The Region with Reach,” http://columbusregion.com/doing-business/transportation-
infrastructure/ (accessed on October 18, 2017).

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        235.    By the early 2000s, Columbus had become a major crossroad in America’s opioid

epidemic, as the Manufacturers’, the Distributors’ and the KOLs’ efforts to increase the number

of opioid prescriptions, and failures to properly monitor shipments, intersected with Columbus’

size, location and distribution channels.173

        236.    At the same time as the Manufacturers, Distributors and KOLs were marketing

and distributing opioids throughout Columbus, illicit drug dealers in Columbus identified a

significant opportunity, and began offering persons addicted to prescription opioids black tar

heroin – a less expensive product with the same (or even stronger) narcotic effect – in an attempt

to recruit more customers.

        237.    Black tar heroin is a semi-processed form of heroin – heroin acetate – that

primarily came to Columbus from the Pacific coast of Mexico. It can be injected or smoked, and

it offers the user an inexpensive, potent opioid effect similar to that derived from the

Manufacturers’ opioids.

        238.    Columbus became the center of the black tar heroin drug market east of the

173
  See Quinones, Sam. Dreamland: the True Tale of America’s Opiate Epidemic. Dreamland: the True Tale of
America's Opiate Epidemic, Bloomsbury Press, 2016, Chapter 12 (“Collision: Ground Zero”).

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Mississippi River and was transformed into a major black tar heroin trafficking hub for

supplying other U.S. geographical regions, including the Northeast, the Great Lakes, the

Midwest, and Appalachia.

         239.     The rise of black tar heroin in Columbus was caused by the oversaturation of

prescription opioids in Columbus.

         240.     The Manufacturers, Distributors and KOLs knew, or should have known, about

the sequence of addiction that leads a pain patient to heroin: as a pain patient takes prescription

opioids, their body develops a tolerance such that the dosage regularly needs to be increased; as

dosages increase, opioids become more expensive; because opioids are often prescribed for daily

use, patients taking prescription opioids quickly spend hundreds, and then thousands, of dollars

simply managing their pain.174 Alternatively, patients may no longer be able to obtain

prescriptions for the opioids to which they have become addicted. The Manufacturers,

Distributors and KOLs knew or should have known that, because heroin offers a pain patient

similar effect to that offered by opioids, and heroin costs far less, a high percentage of patients

taking prescription opioids were vulnerable to pivoting their opioid addiction into a heroin

addiction.

         241.     One study revealed that 65% of heroin abusers in Ohio between 18 and 30 entered

into heroin use from prescription opioids. While a majority of heroin abusers are former opioid

abusers, the inverse is not true: according to a national survey, less than 4% of prescription pain

medicine abusers had started by using heroin within five years.175 The NEJM published an



174
    Nicole Makris, Healthline, “Prescription Drugs Are Leading to Heroin Addictions” (Feb. 26, 2016),
https://www.healthline.com/health-news/prescription-drugs-lead-to-addiction#1 (Quoting a family care physician
who has observed that “[a] lot of people get addicted to the [opioid] pills and then progress to heroin because they
can’t afford the [opioid] pills.”).
175
    National Institute on Drug Abuse, “Heroin” (Revised July 2017), https://www.drugabuse.gov/publications/
drugfacts/heroin#ref, citing Muhuri PK, Gfroerer JC, Davies MC., Associations of Nonmedical Pain Reliever Use

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article examining the relationship between opioids and heroin use. The article concluded that

“75% of [heroin] users initiated opioid use with prescription opioids.”176 These studies draw a

direct line between the Manufacturers’, Distributors’ and KOLs’ conduct and the heroin

epidemic in the United States, including in Columbus.

        242.    As opioids have become less available, their price has risen; the inverse is true for

heroin.177 And, as deaths related to prescription opioid medications are starting to fall, deaths

related to heroin overdoses are rising.178

        243.    Consumers also substituted from prescription opioids to synthetic opioids such as

fentanyl.179 Fentanyl is a synthetic opioid that is 50-100 times more potent than morphine, and

25-50 times more potent than heroin.180 Because of its higher potency, it takes much less

fentanyl for a user to experience the opioid effect – making it far more likely that a user will

overdose.181 Fentanyl is so dangerous that China recently banned it.182

        244.    The United States government does not track death rates for every drug. The

National Center for Health Statistics (“NCHS”) at the CDC does collect information on many of

the more commonly used drugs. The information collected shows a 5.9-fold increase in the total

number of deaths from heroin and non-methadone synthetics (including illicit synthetic opioids


and Initiation of Heroin Use in the United States. Rockville, MD: Substance Abuse and Mental Health Services
Administration; 2013.
176
    Wilson M. Compton, M.D., M.P.E., Christopher M. Jones, Pharm. D., M.P.H., and Grant T. Baldwin, Ph.D.,
M.P.H., 374 N Engl J Med 154-63 (Jan. 14, 2106), http://www.nejm.org/doi/full/10.1056/NEJMra1508490#ref41.
177
    See, e.g., Eugene Richards, The New Yorkers, The Addicts Next Door (June 5, 2017),
https://www.newyorker.com/magazine/2017/06/05/the-addicts-next-door (“In West Virginia, many addicts told me,
an oxycodone pill now sells for about eighty dollars; a dose of heroin can be bought for about ten.”).
178
    Josh Katz, The New York Times, Short Answers to Hard Questions About The Opioid Crisis (Aug. 10, 2017),
https://www.nytimes.com/interactive/2017/08/03/upshot/opioid-drug-overdose-epidemic.html#question-3.
179
    Abby Albert et al., National Board of Economic Research, Supply-Side Drug Policy in the Presence of
Substitutes: Evidence from the Introduction of Abuse-Deterrent Opioids (January 2017),
http://www.nber.org/papers/w23031.
180
    Alice G. Walton, Forbes, Why Fentanyl Is So Much More Deadly Than Heroin (April 9, 2016), https://www.
forbes.com/sites/alicegwalton/2016/04/09/why-fentanyl-is-so-much-more-deadly-than-heroin/#670fcc3a7f6a.
181
    Id.
182
    Sara Ganim, CNN, China’s fentanyl ban a ‘game-changer’ for opioid epidemic, DEA officials say (Feb. 16,
2017), http://www.cnn.com/2017/02/16/health/fentanyl-china-ban-opioids/index.html.

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such as fentanyl) from 2002 to 2015, as well as a 6.2-fold increase in the total number of deaths

from heroin since 2002 to 2015.183




        245.    The dramatic rise of this epidemic is illustrated by the fact that between 2005 and

2009, Mexican heroin production increased by more than 600%. And between 2010 and 2014,

183
   National Institute on Drug Abuse, “Overdose Death Rates,” Revised September 2017,
https://www.drugabuse.gov/related-topics/trends-statistics/overdose-death-rates.

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the amount of heroin seized at the U.S.-Mexico border more than doubled. Overall, global

poppy cultivation has hit its highest level since the 1930s.184

        246.     The average life span of someone addicted to heroin is approximately fifteen (15)

years less than the average person.185

VI.     COLUMBUS HAS BEEN, AND WILL CONTINUE TO BE, HARMED AND
        DAMAGED BY THE OPIOID EPIDEMIC CREATED BY DEFENDANTS.

        247.     As a result of the Manufacturers’, Distributors’ and KOLs’ actions, Columbus has

suffered significant and ongoing harm and damages.

        A.       While The Opioid Epidemic Is A National Issue, The Statistics Are
                 Particularly Tragic In Columbus.

        248.     While the opioid epidemic is affecting communities throughout the country,

Columbus has felt its impact, and will continue to feel its impact, more than others.

        249.     Columbus is the fourteenth largest city in the United States.

        250.     The State of Ohio leads the nation in deaths related to heroin and synthetic

opioids, despite being only the seventh most populous state. Approximately one in nine heroin

deaths across the U.S. happened in Ohio (1,208 out of 10,574), and approximately one in

fourteen synthetic opioid deaths happened in Ohio (590 deaths out of 5,544).186

        251.     In Franklin County, Columbus’ home county, there has been a 396% increase in

residents who have died from unintentional drug overdoses from 2003 to 2016.187 Over 300

residents of Franklin County died from unintentional drug overdoses in 2016 alone, surpassing


184
    New York Times, “The Numbers Behind America’s Heroin Epidemic” (Oct. 30, 2015),
https://www.nytimes.com/interactive/2015/10/30/us/31heroin-deaths.html?mcubz=0.
185
    Breda Smith, et al., Journal of Addictive Diseases, Life Expectancy and Productivity Loss Among Narcotics
Addicts Thirty-Three Years After Index Treatment, 2006, https://aran.library.nuigalway.ie/bitstream/handle/
10379/2342/2006_ja_smyth_narcotics_j_of_addictive_diseases.pdf?sequence=1&isAllowed=y.
186
    Catherine Candisky and Alan Johnson, Ohio Leads Nation In Overdose Deaths, Columbus Dispatch (Nov. 29,
2016), http://www.dispatch.com/news/20161129/ohio-leads-nation-in-overdose-deaths/1.
187
    Columbus Department of Public Health, “Opiate Crisis Quarterly Report, April-June 2017” (Oct. 2017), available
at https://www.columbus.gov/publichealth/programs/Office-of-Epidemiology/Harm-Reduction/.

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the number of deaths in 2015.188

        252.     For every opioid-related death, 10 people are admitted for treatment, 32 people

visited the emergency room, 130 people are classified as abusers or drug-dependent, and 825

people use opioids for non-medical purposes.189

        253.     A study by the Ohio Department of Health revealed a 97.9% correlation between

the number of opioids prescribed in Ohio and the number of accidental drug overdoses

(including from prescription opioids and heroin).190 From this information, statisticians

approximate that for every two months’ worth of opioids that Defendants marketed and

distributed into Columbus, someone died.191

        254.     The opioid addiction epidemic is directly devastating the children of Columbus.

It is estimated that more than 5,000 children in Franklin County between the ages of 12 and 17

have used prescription medication such as opioids for non-medical use.192 Further, from July

2016 to June 2017, 268 babies were treated in Franklin County for neonatal abstinence

syndrome, a syndrome associated with opioid withdrawal.193

        255.     Related to the devastation to families is the devastation to neighborhoods.

Neighborhoods have been devastated by the crisis and need to be revitalized through various

methods, including the creation of Community Centers.

        256.     Treatment is complex and needs to be customized to meet individuals needs,
188
    Id.
189
    City of Columbus and Franklin County, “Franklin County Opiate Action Plan” (2017),
https://www.myfcph.org/pdfs/OpiateReports/Opiate%20Action%20Plan_0617.pdf.
190
    Emma Ockerman, The Post, Ohio In Crisis, http://projects.thepostathens.com/SpecialProjects/opioid-epidemic-
ohio-in-crisis/index.html.
191
    Quinones, Sam. Dreamland: the True Tale of America's Opiate Epidemic. Dreamland: the True Tale of
America's Opiate Epidemic, Bloomsbury Press, 2016, p. 252.
192
    City of Columbus and Franklin County, “Franklin County Opiate Action Plan” (2017),
https://www.myfcph.org/pdfs/OpiateReports/Opiate%20Action%20Plan_0617.pdf, citing Journal of Addictive
Diseases, Nonmedical Use of Prescription Opioids Among Adolescents: Subtypes Based on Motivation for Use
(2012).
193
    Columbus Department of Public Health, “Opiate Crisis Quarterly Report, April-June 2017” (Oct. 2017), available
at https://www.columbus.gov/publichealth/programs/Office-of-Epidemiology/Harm-Reduction/.

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including, but not limited to, housing, employment, education, care for affected family members,

physical and mental health issues, support groups such as Narcotics Anonymous and faith based

support.

        257.     Columbus also needs to be able to treat the persons addicted and affected by

opioids, including, but not limited to, through the funding, implementation and/or construction of

treatment centers and facilities, medication assisted treatment, recovery support, community

based support and through funding, equipping and educating existing health care facilities.

        B.       The Manufacturers’, Distributors’ And KOL’s Conduct Has Increased
                 Columbus’ Health Care Costs.

        258.     The Manufacturers’, Distributors’ and KOL’s misrepresentations regarding the

purported safety and efficacy of opioids, and their failure to properly limit shipments, have

increased Columbus’s health care costs. Columbus provides health insurance to its employees

and their beneficiaries, and has administrative services-only agreements with two different

insurers. This means that when anyone covered by Columbus’s health insurance program visits

a doctor, fills a prescription or otherwise incurs covered health-related costs, Columbus pays a

portion of those costs directly.

        259.     Columbus provides health insurance to more than 8,200 people. 194 From 2010 to

2016, Columbus health insurance costs increased from $107 million to $177.2 million, a 65.6

percent increase.195 In 2016, Columbus’s prescription drug coverage made up $40.4 million of

the total insurance cost.196

        260.     Columbus incurs increased costs for its employees’ prescriptions for opioids that

would have not been prescribed but for the misrepresentations made by the Manufacturers and

194
    Lucas Sullivan, The Columbus Dispatch, Health costs jump 11.5% to cover Columbus city employees (Jan. 13,
2016), available at: http://www.dispatch.com/content/stories/local/2016/01/13/11-5-jump-in-health-costs-okd.html.
195
    Id.
196
    Id.

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KOLs to doctors in Columbus. The direct costs of filling employees’ opioid prescriptions is a

part of the total cost to Columbus for prescriptions of opioids, which includes, but is not limited

to, costs for doctors’ visits and lab work. Had Defendants told the truth about the risks and

benefits of opioids, and/or properly reported suspicious orders, Columbus would not have had to

pay for these drugs or the costs related to their prescription.

        C.       The Opioid Crisis Caused By The Manufacturers, The Distributors And The
                 KOLs Has Caused Columbus To Incur Damages Providing Human Services
                 In An Effort To Abate The Opioid Epidemic.

        261.     The effects of the opioid epidemic reach across Columbus, imposing additional

human and financial costs at all levels. For example, Columbus has spent, and will continue to

spend, significant resources helping its homeless population by directly providing key services or

funding programs run by charitable organizations. Such human services include housing,

shelters, and mental health counseling, among others.

        262.     Over the past decade, the homeless population in Columbus has grown. From

2010 to 2014, for example, overall family homelessness fell 15 percent nationwide – but rose 7.6

percent in Columbus.197

        263.     The increase in Columbus has been caused, at least in part, by the opioid

epidemic, as people addicted to opioids often find it difficult to hold down jobs, which ultimately

pushes them on to the street and places a huge burden onto the City. Providing the homeless

population in Columbus with shelter, treatment, and other services is an expensive undertaking,

made dramatically more so now that the homeless population has grown and is comprised of a

large number of addicts.

        264.     For many persons, a valid prescription for opioids was the first step to addiction


197
   Rick Rouan, The Columbus Dispatch, Number of homeless families rising in Franklin County, report says (Sept.
22, 2015), http://www.dispatch.com/content/stories/local/2015/09/22/Report_shows_more_homeless_families.html.

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and drug abuse, which ultimately led to the loss of their homes. Some young people living on

the streets of Columbus today ran away from homes that had fallen apart because a parent had

become addicted to opioids. According to the Public Children Services Association of Ohio,

70% of children under the age of one who are in custody of Children Services have opioid-

involved parents.198

        265.    The oversaturation of prescription opioids has not only helped to fuel the

homeless crisis, but it has made it immeasurably more difficult for Columbus to address. Mental

health services, for example, are critical for many in the homeless population. Unfortunately,

opioid use and addiction can make it more difficult to provide effective mental health treatment.

Those who need help most often turn to opioids to self-medicate, and avoid getting treatment and

care that might lead to long-term success. As a result, Columbus needs to provide additional

mental health facilities and treatment options.

        266.    Because opioid addition is highly prevalent in Columbus, the City has had to

invest significant resources in addiction programs and other human services, which are widely

used by all residents of Columbus, whether homeless or not.

        267.    Columbus also is investing heavily in prevention work, running programs at local

schools and sponsoring events aimed at teaching people how to avoid becoming addicted to

opioids and how to help friends and family do the same.

        268.    For example, the Columbus Department of Public Health works with City Schools

and community centers in regard to prevention.




198
  City of Columbus and Franklin County, “Franklin County Opiate Action Plan: Building the Bridge to
Tomorrow,” https://www.myfcph.org/pdfs/OpiateReports/Opiate%20Action%20Plan_0617.pdf, citing Public
Children Services Association of Ohio, The Opioid Epidemic’s Impact on Children Services in Ohio 2017.

                                                    68
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          D.     Columbus Already Has Incurred Significant Damages Relating To Police
                 And Fire Responses To The Opioid Issues, And Will Continue To Do So, In
                 An Effort to Abate The Epidemic.

          269.   The Columbus Department of Public Safety acts as a response unit to specific

issues caused by the opioid epidemic. It includes both the Columbus Division of Fire and the

Columbus Division of Police.

                 1.      The Columbus Division of Fire has incurred significant damages
                         responding to opioid issues due to the actions of the Manufacturers,
                         the Distributors and the KOLs.

          270.   The Columbus Division of Fire provides emergency medical services in the City

of Columbus. The Division of Fire responds to emergency calls, dispatching emergency medical

service personnel, including emergency medical technicians, or EMTs, in ambulances or fire

trucks.

          271.   Although providing emergency medical services is expensive, it is one of the

most critical services the City provides its citizens. The Division of Fire is the front-line

responder for a wide range of medical emergencies, from heart attacks and strokes to mental

health emergencies and drug overdoses.

          272.   Over the past decade, the number of opioid-related emergency calls to which the

Fire Department has responded has risen sharply. For example, in 2016, the Division of Fire

administered over 3,800 doses (over ten doses per day) of naloxone, a powerful medicine given

to counteract an opioid-related overdose.199 This rate, over ten doses per day, has increased




199
   Columbus Department of Public Health, “Opiate Crisis Quarterly Report, Jan.-March 2016” (August 2016),
http://www.myfcph.org/pdfs/OpiateReports/DrugOD_Q1_01-03_16.pdf; Columbus Department of Public Health,
“Opiate Crisis Quarterly Report, April-June 2016” (September 2016), http://www.myfcph.org/pdfs/OpiateReports
/DrugOD_Q2_04-06_16.pdf; Columbus Department of Public Health, “Opiate Crisis Quarterly Report, July-Sept.
2016” (December 2016), http://www.myfcph.org/pdfs/OpiateReports/DrugOD_Q3_12_21_16.pdf; Columbus
Department of Public Health, “Opiate Crisis Quarterly Report, Oct.-Dec. 2016” (March 2017), http://www.myfcph.
org/pdfs/OpiateReports/OpiateQuarterly_Q4_3_27_17.pdf.

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dramatically since 2011, when the average number of doses administered per day was 6.55.200

        273.     From July 2016 through June 2017, the Division of Fire reported 3,115 patients

with drug overdoses who were treated by EMS with at least one dose of naloxone.201

        274.     In the last four years, the number of times the Division of Fire was dispatched for

an emergency drug overdose increased by more than 20 percent.202 The Division of Fire also

established the Rapid Response Emergency Addiction and Crisis Team (RREACT) to assist

overdose patients with accessing treatment and other social services.

        275.     Responding to opioid overdoses is expensive; it involves sending ambulances,

engines, and specially-trained staff to the emergency. People who have overdosed on opioids

typically require at least one, if not several, doses of naloxone, each of which carries a significant

price tag. Then the patient must be transported to the emergency room where City employees

typically must wait while the patient is treated. The costs of materials, maintenance, medication,

and time are significant. Additional resources are needed to pay for the emergency services costs

caused by the opioid epidemic.

        276.     In 2016, the Division of Fire administered naloxone over 3,800 times.203 That

means that nearly every two hours, Columbus EMTs saved the life of someone who had

overdosed on opioids. And the overall increase in the volume of calls means each first responder

is responding to ever-increasing numbers of emergency incidents. This dramatic rise in the

number and intensity of emergency incidents has significant effects on the emergency

responders.

200
    City of Columbus and Franklin County, “Franklin County Opiate Action Plan” at 8,
https://octf.franklincountyohio.gov/CRNR-OCTF-
website/media/Documents/2017%20Opiate%20Action%20Plan/2017-Opiate-Action-Plan-Web.pdf
201
    Columbus Department of Public Health, “Opiate Crisis Quarterly Report, April-June 2017” (Oct. 2017), available
at https://www.columbus.gov/publichealth/programs/Office-of-Epidemiology/Harm-Reduction/.
202
    Columbus Department of Public Health, “Opiate Crisis Quarterly Report, Jan.-March 2017” (June 2017), citing
Columbus Division of Fire statistics.
203
    See supra note 205.

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                 2.       The Columbus Division of Police has incurred significant damages
                          responding to opioid issues due to the actions of the Manufacturers,
                          the Distributors and the KOLs.

        277.     Because not all addicts receive the help they need, opioid addiction is killing

Columbus’ citizens at an alarming rate. For example, fentanyl kills at least one person every day

in Franklin County.204

        278.     Fentanyl’s deadly presence is caused by those who are addicted seeking

alternatives to prescription opioids once they no longer can obtain them. From 2013 to 2015, the

number of law enforcement drug seizures of fentanyl increased more than thirty-five fold, from

110 in 2013 to 3,882 in 2015.205

        279.     The opioid epidemic has forced the Columbus Division of Police to expend

significant resources fighting drug trafficking in Columbus. In the 2000s, as prescription opioids

and heroin became the kings of the drug trade, illegal drug trafficking in Columbus rose

significantly. Combating this rise in drug trafficking has forced the City to put more officers on

the street and assign more detectives to work these drug cases in an effort to abate the epidemic.

        280.     Columbus is just beginning to experience the full impact of Defendants’ actions,

as addicted persons inevitably turn to heroin and fentanyl. Columbus’ injury is ongoing, and

promises to continue for many years before it is abated.

        281.     Increased illegal drug trafficking also has caused a rise in other criminal activities

in Columbus. The price of prescription opioids on the black market is significant, forcing many

addicts to turn to burglary or other property crimes in order to pay for their addiction.

        282.     Not only does the opioid epidemic impair the quality of life for everyone in
204
    Alan Johnson and Catherine Candisky, The Columbus Dispatch, Fentanyl, a ruthless, indiscriminate killer,
taking a big toll in Ohio (April 23, 2017), http://www.dispatch.com/news/20170423/fentanyl-ruthless-
indiscriminate-killer-taking-big-toll-in-ohio.
205
    City of Columbus and Franklin County, “Franklin County Opiate Action Plan” at 8,
https://octf.franklincountyohio.gov/CRNR-OCTF-
website/media/Documents/2017%20Opiate%20Action%20Plan/2017-Opiate-Action-Plan-Web.pdf.

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Columbus, the City is forced to address these crimes, expending police, surveillance, field

testing, lab and investigatory resources and additional manpower, all of which have direct costs

to the City. For example, from 2009 through 2015, both property crimes and retail theft

increased. In 2015, central Ohio shoplifters stole a record amount of merchandise from

retailers.206 In 2009, 58 percent of theft charges involved repeat offenders; by 2015, that number

had risen to 81 percent.207 The increase in property crime has been attributed to the heroin and

opioid addiction epidemic.208

        283.     As Columbus expends significant resources to address increased drug trafficking

and property crimes, it has had to divert resources from other public safety issues.

        284.     The opioid epidemic also has increased public safety costs and needs in other

aspects. For example, Columbus bears significant costs related to an increased number of arrests

for opioid-related crimes. This alone has placed a serious strain on Columbus’ police resources,

and individuals who are addicted to opioids present special challenges to law enforcement.

        285.     Often, individuals in active use of opioids may need medical care, including, but

limited to, transportation to a medical center. This requires removing an officer from her or his

beat to take the individual to the hospital and wait there during a recovery period, thus

effectively removing that officer from the remainder of her or his shift.

        286.     Additional harm has been caused to Columbus in the form of additional costs to,

and needs of, the City’s Justice system. Many more opioid related or caused cases now fill the

court’s dockets. Diversion programs are needed to assist with the excess. Additionally, due to

the damage done to families, domestic issues have increased. The creation of Community


206
    Tim Feran, The Columbus Dispatch, Shoplifting a plague on central Ohio in 2015 (Jan. 15, 2016),
http://www.dispatch.com/content/stories/business/2016/01/15/shoplifting-a-plague-on-central-ohio-in-15.html.
207
    Id.
208
    Id.

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Liaison Officers and partnerships with local domestic courts and Family Services agencies are

needed to address the problems created by the opioid epidemic.

        287.     The opioid epidemic created by the Defendants has caused Columbus serious and

ongoing harm. The City’s costs for public safety, human and public services, and law

enforcement have all risen dramatically, and the City as a community has suffered serious and

tragic consequences as a result.

        288.     The opioid epidemic also will cause Columbus to incur significant damages going

forward in an effort to end, alleviate and abate the issues caused by the epidemic.

VII.    THE MANUFACTURERS, DISTRIBUTORS AND KOLS HAVE REAPED, AND
        WILL CONTINUE TO REAP, ENORMOUS PROFITS WHILE THE NATION,
        AND COLUMBUS, ARE FORCED TO REMEDY AND ABATE THE OPIOID
        EPIDEMIC.

        289.     The Manufacturers, Distributors and KOLs have reaped enormous profits from

the addiction epidemic they spawned.

        290.     The Distributors generate substantial revenue from the distribution of opioids. In

2015, for example, U.S. revenues from the Distributors’ respective drug distribution divisions

totaled $378.4 billion, a 14.8% increase from 2014.209 The Distributors’ collective drug

distribution revenues totaled approximately $406.5 billion in 2016, and are expected to reach

$424.9 billion in 2017.210 Broken down for 2016, McKesson’s revenues in 2016 totaled $153.8

billion; AmerisourceBergen’s revenues in 2016 totaled $142.1 billion; and Cardinal Health’s

revenues totaled $110.5 billion.211 The Distributors account for roughly 90% of all revenues

from drug distributions in the United States.212

209
    Brian McCullough, Daily Local News, AmerisourceBergen draws heat for opioid distributions (March 6, 2017),
http://www.dailylocal.com/article/DL/20170306/BUSINESS/170309882.
210
    Adam J. Fein, Ph.D., MDM, “MDM Market Leaders | Top Pharmaceutical Distributors,”
https://www.mdm.com/2017-top-pharmaceuticals-distributors.
211
    Id.
212
    Id.

                                                      73
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           291.   The Manufacturers also are reaping billions of dollars from opioids. In 2014

alone, the American opioid market generated $11 billion in revenue for individuals and

companies like Manufacturers – a number expected to rise to $17.7 billion by 2021.213

           292.   In fact, Purdue has generated estimated sales of more than $35 billion from

opioids since 1996, while making profits of more than $3 billion in 2015 alone.

           293.   Purdue’s annual opioid sales of $3 billion in 2015 represent a four-fold increase

from its 2006 sales of $800 million.

           294.   Endo has also profited massively from the sale of opioids. Opioids accounted for

more than $400 million in 2012, and Opana ER alone generated more than $1 billion in revenue

for Endo from 2010 to 2013.

           295.   Janssen also generates substantial sales from its opioids. For example, Duragesic

accounted for more than $1 billion in sales in 2009, and Nucynta and Nucynta ER accounted for

$172 million in sales in 2014.

           296.   The Manufacturers, the Distributors and the KOLs will continue to reap enormous

profits.

VIII. FRAUDULENT CONCEALMENT.

           297.   At all times relevant to this Complaint, the Manufacturers, Distributors and KOLs

took steps to avoid detection of, and fraudulently conceal, their conduct.

           298.   The Manufacturers and KOLs disguised their own roles in the deceptive

marketing of chronic opioid therapy by funding and working through the Front Groups. The

Manufacturers and KOLs purposefully hid behind these organizations to avoid regulatory

scrutiny and to prevent doctors and the public from discounting their messages.

213
   Alyangka Francheska Manalo, GuruFocus, Companies Aiming for the Billion-Dollar Opioid Addiction Market
(March 18, 2017), https://www.gurufocus.com/news/493086/companies-aiming-for-the-billiondollar-opioid-
addiction-market.

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       299.    While the Manufacturers and KOLs were listed as sponsors of many of the

publications described in this Complaint, they never disclosed their role in shaping, editing, and

exerting final approval over their content. The Manufacturers and KOLs exerted their

considerable influence on these promotional and “educational” materials.

       300.    In addition to hiding their own role in generating the deceptive content, the

Manufacturers and KOLs manipulated their promotional materials and the scientific literature to

make it appear as if they were accurate, truthful, and supported by substantial scientific evidence.

The Manufacturers and KOLs distorted the meaning or import of studies they cited and offered

them as evidence for propositions they did not actually support. The true lack of support for

Manufacturers’ and KOLs’ deceptive messages was not apparent to the medical professionals

who relied upon them in making treatment decisions, nor could they have been detected by

Columbus.

       301.    The Manufacturers and KOLs, in furtherance of their respective marketing

strategies, intentionally concealed their own role in causing the opioid epidemic. The

Manufacturers and KOLs successfully concealed from the medical community, patients, and

health care payers facts sufficient to arouse suspicion of the existence of claims that Columbus

now asserts. Columbus was not alerted to the existence and scope of the Manufacturers’ and

KOLs’ industry-wide misrepresentations and could not have acquired such knowledge earlier

through the exercise of reasonable diligence.

       302.    The Distributors also concealed their role in the epidemic. Initially, they

represented that they were complying with all applicable laws. In regard to the various

settlements and consent orders discussed above, the Distributors nowhere admitted liability or

wrongdoing. In fact, to this day, the Distributors claim they currently, and always have,



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followed the law. It is only recently that their liability and wrongdoing have come to light.

        303.    The Distributors knew, or should have known, their conduct was not in

compliance with the law.

        304.    Columbus has acted diligently at all times in investigating and bringing this suit.

        305.    Through their public statements, marketing, and advertising, and concealment of

their wrongdoing, the Manufacturers’, Distributors’, and KOLs’ deceptions deprived Columbus

of actual or presumptive knowledge of facts sufficient to put them on notice of potential claims.

                   COUNT ONE: PUBLIC NUISANCE (COMMON LAW)
                          (AGAINST ALL DEFENDANTS)

        306.    Columbus incorporates by reference paragraphs 1 through 305 of this Complaint

as if fully set forth herein, and further alleges as follows.

        307.    Columbus brings this claim under Ohio common law for recovery related to the

abatement of the continuing public nuisance created by the Defendants. As a direct result of the

Defendants’ conduct, Columbus has suffered actual injury and damages related to abating the

nuisance caused by the Defendants. Columbus seeks recovery for its own harm. Columbus does

not seek damages in this Count for death, physical injury to person, emotional distress and/or

physical damages to property.

        308.    The Defendants individually, and in conjunction with each other, have caused a

significant and unreasonable interference with the public health, safety, welfare, peace, comfort

and convenience, as well as the ability for Columbus residents to be free from disturbance and

reasonable apprehension of danger to person or property.

        309.    The Defendants intentionally, unlawfully, and recklessly manufactured,

distributed, marketed, and sold prescription opioids, and continue to do so, in a manner and in

quantities that the Defendants knew, or reasonably should have known, would result in the


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oversaturation of opioids throughout the Columbus, addiction, drug abuse, an elevated level of

crime, death and injuries to Columbus residents, a higher level of fear, discomfort and

inconvenience to the residents of Columbus, and direct costs to the City itself.

        310.     The nuisance and harm caused to Columbus as a direct result of the Defendants’

conduct described above, includes, but is not limited to:

                 a.       It is estimated that in calendar year 2016 alone, health care
                          providers wrote more than 289 million prescriptions for opioid
                          pain medication, i.e., enough for every adult in the United States
                          to have more than one bottle of pills. This has in turn caused an
                          epidemic of addiction, as well as crime, broken families and
                          devastation to communities, including Columbus.

                 b.       300 residents of Franklin County died from unintentional drug
                          overdoses in 2016 alone.214 Related to this, generally, for every
                          opioid-related death, 10 people are admitted for treatment, 32
                          people visit the emergency room, 130 people are classified as
                          abusers or drug-dependent, and 825 people use opioids for non-
                          medical purposes.215

                 c.       It is estimated that more than 5,000 children in Franklin County
                          between the ages of 12 and 17 have used prescription medication
                          such as opioids for non-medical use. On information and belief,
                          the majority of these children are from Columbus.216

                 d.       According to the Public Children Services Association of Ohio,
                          70% of children under the age of one who are in custody of
                          Children Services have opioid-involved parents.217

                 e.       From July 2016 to June 2017, 268 babies were treated in Franklin
                          County for neonatal abstinence syndrome, a condition associated
                          with opioid withdrawal. On information and belief, the majority of
                          these children were from the Columbus.218

214
    Columbus Department of Public Health, “Opiate Crisis Quarterly Report, Jan-March 2017” (June 2017),
http://www.myfcph.org/pdfs/OpiateReports/OpiateQuarterly_2017Q1.PDF.
215
    City of Columbus and Franklin County, “Franklin County Opiate Action Plan” (2017),
https://www.myfcph.org/pdfs/OpiateReports/Opiate%20Action%20Plan_0617.pdf.
216
    Id., citing Journal of Addictive Diseases, Nonmedical Use of Prescription Opioids Among Adolescents: Subtypes
Based on Motivation for Use, 2012)
217
    City of Columbus and Franklin County, “Franklin County Opiate Action Plan: Building the Bridge to
Tomorrow,” https://www.myfcph.org/pdfs/OpiateReports/Opiate%20Action%20Plan_0617.pdf, citing Public
Children Services Association of Ohio, The Opioid Epidemic’s Impact on Children Services in Ohio 2017.
218
    Columbus Department of Public Health, “Opiate Crisis Quarterly Report, Jan.-March 2017” (June 2017).

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                 f.       Neighborhoods have been devastated.

                 g.       Persons in Columbus and surrounding communities are addicted
                          to, and affected by, opioids.

                 i.       Columbus       has    lost   employee       and    resident     productivity.

                 j.       The homeless population has increased, as has the resulting
                          necessity to provide housing, shelters, treatment and mental health
                          counseling. From 2010 to 2014, for example, overall family
                          homelessness fell 15 percent nationwide – but rose 7.6 percent in
                          Columbus.219

                 k.       Individuals who have become addicted to prescription opioids, but
                          cannot afford their increased costs or are unable to secure a
                          prescription, have turned to cheaper, more potent, and more
                          dangerous alternatives, including heroin and fentanyl. While a
                          majority of heroin abusers are former opioid abusers, the inverse is
                          not true: according to a national survey, less than 4% of
                          prescription pain medicine abusers had started by using heroin.220

                 l.       A mental health crisis has been created.

                 m.       Increased demands have been created on the Columbus Division of
                          Fire. In 2016 alone, the Division of Fire administered over 3,800
                          doses (over ten doses per day) of naloxone, a powerful medicine
                          given to counteract an opioid-related overdose.221 From July 2016
                          through June 2017, the Division of Fire reported 3,115 patients
                          with drug overdoses who were treated by EMS with at least one
                          dose of naloxone.222


219
    Rick Rouan, The Columbus Dispatch, Number of homeless families rising in Franklin County, report says (Sept.
22, 2015), http://www.dispatch.com/content/stories/local/2015/09/22/Report_shows_more_homeless_families.html.
220
    National Institute on Drug Abuse, “Heroin” (Revised July 2017),
https://www.drugabuse.gov/publications/drugfacts/heroin#ref, citing Muhuri PK, Gfroerer JC, Davies MC.,
Associations of Nonmedical Pain Reliever Use and Initiation of Heroin Use in the United States. Rockville, MD:
Substance Abuse and Mental Health Services Administration; 2013.
221
    Columbus Department of Public Health, “Opiate Crisis Quarterly Report, Jan.-March 2016” (August 2016),
http://www.myfcph.org/pdfs/OpiateReports/DrugOD_Q1_01-03_16.pdf; Columbus Department of Public Health,
“Opiate Crisis Quarterly Report, April-June 2016” (September 2016), http://www.myfcph.org/pdfs/OpiateReports
/DrugOD_Q2_04-06_16.pdf; Columbus Department of Public Health, “Opiate Crisis Quarterly Report, July-Sept.
2016” (December 2016), http://www.myfcph.org/pdfs/OpiateReports/DrugOD_Q3_12_21_16.pdf; Columbus
Department of Public Health, “Opiate Crisis Quarterly Report, Oct.-Dec. 2016” (March 2017),
http://www.myfcph.org/pdfs/OpiateReports/OpiateQuarterly_Q4_3_27_17.pdf.
222
    Columbus Department of Public Health, “Opiate Crisis Quarterly Report, April-June 2017” (Oct. 2017), available
at https://www.columbus.gov/publichealth/programs/Office-of-Epidemiology/Harm-Reduction/

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                 n.     Increased demands have been created on the Columbus Division of
                        Police. As opioid-addicted persons turn to heroin and fentanyl to
                        fuel their needs, the harm to Columbus is ongoing and promises to
                        continue for many years. Increased illegal drug trafficking has
                        caused a rise in other criminal activities in Columbus. Not only
                        does this impair the quality of life for everyone in Columbus,
                        Columbus is forced to address these crimes through police work,
                        surveillance, field testing, lab and investigatory resources,
                        prosecution, diversion programs, and additional manpower.

       311.      The Defendants’ ongoing conduct produces a continuing nuisance, leading to

abuse, misuse, addiction, crime, and public health issues which must be abated to prevent injury

and annoyance. The Defendants’ conduct directly impacted, and continues to impact, persons in

Columbus, and is likely to cause significant harm in the future.

       312.      The Defendants knew, or reasonably should have known, that their conduct

described in this Complaint would cause addiction, and otherwise significantly and unreasonably

interfere with public health, safety and welfare, and with the public’s right to be free from

disturbance. But for the Defendants’ individual and/or combined conduct, these harms would not

have occurred.

       313.      The Defendants knew, or reasonably should have known, that persons would rely

to their detriment on the Defendants’ misrepresentations, omissions and other statements

described in this Complaint.

       314.      It is, or should be, reasonably foreseeable to the Defendants that their conduct will

continue to cause harm to Columbus in the future, and, unless abated, will otherwise

significantly and unreasonably interfere with public health, safety and welfare, and with the

public’s right to be free from disturbance.

       315.      The Defendants acted with actual malice because the Defendants acted

intentionally and/or with a conscious disregard for the rights and safety of other persons, and said



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actions have a great probability of causing substantial harm and have created an absolute

nuisance.

        316.    The damages available to Columbus include, inter alia, recoupment of damages

flowing from an ongoing and persistent public nuisance that the government seeks to abate. The

Defendants’ conduct is ongoing and persistent, and Columbus seeks all damages flowing from

the Defendants’ conduct. Columbus further seeks to abate the continuing nuisance and harm

created by the Defendants’ conduct into the future.

        317.    Columbus seeks all legal and equitable relief as allowed by law, including inter

alia, abatement, abatement costs, available compensatory damages, and available punitive

damages related to the absolute and continuing public nuisance the Defendants created,

attorneys’ fees and costs, and pre- and post-judgment interest.

                    COUNT TWO: PUBLIC NUISANCE (O.R.C. § 715.44)
                           (AGAINST ALL DEFENDANTS)

        318.    Columbus incorporates by reference paragraphs 1 through 317 of this Complaint

as if fully set forth herein, and further alleges as follows.

        319.    Columbus brings this claim pursuant to O.R.C. § 715.44 for recovery related to

the abatement of the continuing public nuisance created by the Defendants. As a direct result of

the Defendants’ conduct, Columbus has suffered actual injury and damages related to abating the

nuisance caused by the Defendants. Columbus seeks recovery for its own harm. Columbus does

not seek damages in this Count for death, physical injury to person, emotional distress and/or

physical damage to property.

        320.    The Defendants individually, and in conjunction with each other, have caused a

significant and unreasonable interference with public health, safety, welfare, peace, comfort and

convenience, as well as the ability for Columbus residents to be free from disturbance and


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reasonable apprehension of danger to person or property.

        321.     The Defendants intentionally, unlawfully, and recklessly manufactured,

distributed, marketed, and sold prescription opioids, and continue to do so, in a manner and in

quantities that the Defendants knew, or reasonably should have known, would result in the

oversaturation of opioids throughout the Columbus, addiction, drug abuse, an elevated level of

crime, death and injuries to Columbus residents, a higher level of fear, discomfort and

inconvenience to the residents of Columbus, and direct costs to the City itself.

        322.     The nuisance and harm caused to Columbus as a direct result of the Defendants’

conduct described above, includes, but is not limited to:

                 a.       It is estimated that in calendar year 2016 alone, health care
                          providers wrote more than 289 million prescriptions for opioid
                          pain medication, i.e., enough for every adult in the United States
                          to have more than one bottle of pills. This has in turn caused an
                          epidemic of addiction, as well as crime, broken families and
                          devastation to communities, including Columbus.

                 b.       300 residents of Franklin County died from unintentional drug
                          overdoses in 2016 alone.223 Related to this, generally, for every
                          opioid-related death, 10 people are admitted for treatment, 32
                          people visit the emergency room, 130 people are classified as
                          abusers or drug-dependent, and 825 people use opioids for non-
                          medical purposes.224

                 c.       It is estimated that more than 5,000 children in Franklin County
                          between the ages of 12 and 17 have used prescription medication
                          such as opioids for non-medical use. On information and belief,
                          the majority of these children are from Columbus.225

                 d.       According to the Public Children Services Association of Ohio,
                          70% of children under the age of one who are in custody of


223
    Columbus Department of Public Health, “Opiate Crisis Quarterly Report, Jan-March 2017” (June 2017),
http://www.myfcph.org/pdfs/OpiateReports/OpiateQuarterly_2017Q1.PDF.
224
    City of Columbus and Franklin County, “Franklin County Opiate Action Plan” (2017),
https://www.myfcph.org/pdfs/OpiateReports/Opiate%20Action%20Plan_0617.pdf.
225
    Id., citing Journal of Addictive Diseases, Nonmedical Use of Prescription Opioids Among Adolescents: Subtypes
Based on Motivation for Use, 2012.

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                          Children Services have opioid-involved parents.226

                 e.       From July 2016 to June 2017, 268 babies were treated in Franklin
                          County for neonatal abstinence syndrome, a condition associated
                          with opioid withdrawal. On information and belief, the majority of
                          these children were from the Columbus.227

                 f.       Neighborhoods have been devastated.

                 g.       Persons in Columbus and surrounding communities are addicted
                          to, and affected by, opioids.

                 ii.      Columbus       has    lost   employee      and     resident    productivity.

                 j.       The homeless population has increased, as has the resulting
                          necessity to provide housing, shelters, treatment and mental health
                          counseling. From 2010 to 2014, for example, overall family
                          homelessness fell 15 percent nationwide – but rose 7.6 percent in
                          Columbus.228

                 k.       Individuals who have become addicted to prescription opioids, but
                          cannot afford their increased costs or are unable to secure a
                          prescription, have turned to cheaper, more potent, and more
                          dangerous alternatives, including heroin and fentanyl. While a
                          majority of heroin abusers are former opioid abusers, the inverse is
                          not true: according to a national survey, less than 4% of
                          prescription pain medicine abusers had started by using heroin.229

                 l.       A mental health crisis has been created.

                 m.       Increased demands have been created on the Columbus Division of
                          Fire. In 2016 alone, the Division of Fire administered over 3,800
                          doses (over ten doses per day) of naloxone, a powerful medicine
                          given to counteract an opioid-related overdose.230 From July 2016
226
    City of Columbus and Franklin County, “Franklin County Opiate Action Plan: Building the Bridge to
Tomorrow,” https://www.myfcph.org/pdfs/OpiateReports/Opiate%20Action%20Plan_0617.pdf, citing Public
Children Services Association of Ohio, The Opioid Epidemic’s Impact on Children Services in Ohio 2017.
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    Columbus Department of Public Health, “Opiate Crisis Quarterly Report, Jan.-March 2017” (June 2017).
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    Rick Rouan, The Columbus Dispatch, Number of homeless families rising in Franklin County, report says (Sept.
22, 2015), http://www.dispatch.com/content/stories/local/2015/09/22/Report_shows_more_homeless_families.html.
229
    National Institute on Drug Abuse, “Heroin” (Revised July 2017), https://www.drugabuse.gov/publications/
drugfacts/heroin#ref, citing Muhuri PK, Gfroerer JC, Davies MC., Associations of Nonmedical Pain Reliever Use
and Initiation of Heroin Use in the United States. Rockville, MD: Substance Abuse and Mental Health Services
Administration; 2013.
230
    Columbus Department of Public Health, “Opiate Crisis Quarterly Report, Jan.-March 2016” (August 2016),
http://www.myfcph.org/pdfs/OpiateReports/DrugOD_Q1_01-03_16.pdf; Columbus Department of Public Health,
“Opiate Crisis Quarterly Report, April-June 2016” (September 2016),

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                          through June 2017, the Division of Fire reported 3,115 patients
                          with drug overdoses who were treated by EMS with at least one
                          dose of naloxone.231

                 n.       Increased demands have been created on the Columbus Division of
                          Police. As opioid-addicted persons turn to heroin and fentanyl to
                          fuel their needs, the harm to Columbus is ongoing and promises to
                          continue for many years. Increased illegal drug trafficking has
                          caused a rise in other criminal activities in Columbus. Not only
                          does this impair the quality of life for everyone in Columbus,
                          Columbus is forced to address these crimes through police work,
                          surveillance, field testing, lab and investigatory resources,
                          prosecution, diversion programs, and additional manpower.

        323.     The Defendants’ ongoing conduct produces a continuing nuisance, leading to

abuse, misuse, addiction, crime, and public health issues which must be abated to prevent injury

and annoyance. The Defendants’ conduct directly impacted, and continues to impact, persons in

Columbus, and is likely to cause significant harm in the future.

        324.     The Defendants knew, or reasonably should have known, that their conduct

described in this Complaint would cause addiction, and otherwise significantly and unreasonably

interfere with public health, safety and welfare, and with the public’s right to be free from

disturbance. But for the Defendants’ individual and/or combined conduct, these harms would not

have occurred.

        325.     The Defendants knew, or reasonably should have known, that persons would rely

to their detriment on the Defendants’ misrepresentations, omissions and other statements

described in this Complaint.

        326.     It is, or should be, reasonably foreseeable to the Defendants that their conduct will



http://www.myfcph.org/pdfs/OpiateReports/DrugOD_Q2_04-06_16.pdf; Columbus Department of Public Health,
“Opiate Crisis Quarterly Report, July-Sept. 2016” (December 2016), http://www.myfcph.org/pdfs/OpiateReports
/DrugOD_Q3_12_21_16.pdf; Columbus Department of Public Health, “Opiate Crisis Quarterly Report, Oct.-Dec.
2016” (March 2017), http://www.myfcph.org/pdfs/OpiateReports/OpiateQuarterly_Q4_3_27_17.pdf.
231
    Columbus Department of Public Health, “Opiate Crisis Quarterly Report, April-June 2017” (Oct. 2017), available
at https://www.columbus.gov/publichealth/programs/Office-of-Epidemiology/Harm-Reduction/.

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continue to cause harm to Columbus in the future, and, unless abated, will otherwise

significantly and unreasonably interfere with public health, safety and welfare, and with the

public’s right to be free from disturbance.

        327.    The Defendants acted with actual malice because the Defendants acted

intentionally and/or with a conscious disregard for the rights and safety of other persons, and said

actions have a great probability of causing substantial harm and have created an absolute

nuisance.

        328.    The damages available to Columbus include, inter alia, recoupment of damages

flowing from an “ongoing and persistent” public nuisance “which the government seeks to

abate.” Beretta, 768 N.E.2d at 1149-50. The Defendants’ conduct is ongoing and persistent, and

Columbus seeks all damages flowing from the Defendants’ conduct. Columbus further seeks to

abate the continuing nuisance and harm created by the Defendants’ conduct into the future.

        329.    Columbus seeks all legal and equitable relief as allowed by law, including inter

alia, abatement, abatement costs, available compensatory damages, and available punitive

damages related to the absolute and continuing public nuisance the Defendants created,

attorneys’ fees and costs, and pre- and post-judgment interest.

       COUNT THREE: INJURY THROUGH CRIMINAL ACTS, O.R.C. § 2307.60
         (AGAINST MANUFACTURER AND DISTRIBUTOR DEFENDANTS)

        330.    Columbus incorporates by reference paragraphs 1 through 329 of this Complaint

as if fully set forth herein, and further alleges as follows.

        331.    O.R.C. § 2307.60(A)(1) “creates a statutory cause of action for damages resulting

from any criminal act,” unless otherwise prohibited by law. Jacobson v. Kaforey, 75 N.E.3d

203, 206 (Ohio 2016). “Anyone injured … by a criminal act has … a civil action” unless a civil

action “is specifically excepted by law.” O.R.C. § 2307.60(A)(1).


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       332.      As described above, Columbus has been injured by all Defendants’ actions that

caused the opioid epidemic.

       333.      Defendants’ actions and omissions were criminal and in violation of O.R.C.

Chapter 2925, and more specifically Section 2925.03(A), which forbids the distribution of

controlled substances.

       334.      Under Ohio law it is unlawful to “[b]y any means, administer or furnish to

another or induce or cause another to use a controlled substance, and thereby cause serious

physical harm to the other person, or cause the other person to become drug dependent,” unless

an exception applies. O.R.C. § 2925.02(A)(3). The exception only applies when the drug

wholesaler’s “conduct is in accordance with Chapter[]. . . 4729. . . of the Revised Code.” O.R.C.

§ 2925.02(B). Because the Manufacturers and Distributors (a) caused other persons to become

drug dependent and (b) failed to inter alia report suspicious sales, their conduct is not in

compliance with Chapter 4729, and the Manufacturers and Distributors have thereby forfeited

the protection provided by the exception. See O.R.C. § 4729.26; O.A.C. § 4729-9-16.

       335.      The Manufacturers and Distributors also acted in violation of 21 U.S.C. § 823(e)

and 21 C.F.R. § 1301.74(b), which are incorporated into Ohio law (O.A.C. §§ 4729-9-16(L),

4729-9-28(I)).

       336.      The Manufacturers’ and Distributors’ further violations of criminal laws are

described above.

       337.      Columbus has sustained injuries, inter alia, as a result of the Manufacturers’ and

Distributors’ actions and omissions.

       338.      Columbus seeks all legal and equitable relief as allowed by law, including, inter

alia, injunctive relief, full compensatory and punitive or exemplary damages, and all damages



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allowed by law to be paid by the Manufacturer and Distributors, attorneys’ fees and costs, and

pre- and post-judgment interest.

                                   COUNT FOUR: FRAUD
                                (AGAINST ALL DEFENDANTS)

        339.     Columbus incorporates by reference paragraphs 1through 338 of this Complaint

as if fully set forth herein, and further alleges as follows.

        340.     Each Defendant individually, and in concert with each other, made

misrepresentations and/or omissions of facts material to Columbus, physicians treating residents

of Columbus, residents of Columbus and others in order to cause them to purchase, prescribe,

administer, take, consume or provide opioids as described above.

        341.     The Defendants had a duty not to make misrepresentations or omissions of

material fact.

        342.     Defendants knew at the time they made the misrepresentations they were false

and at the time they made the omissions they created falsity, or made the misrepresentations with

utter disregard and recklessness as to their falsity.

        343.     The Defendants intended that Columbus, physicians treating residents of

Columbus, residents of Columbus and others would rely on the misrepresentations and

omissions.

        344.     Columbus, physicians treating residents of Columbus, residents of Columbus and

others justifiably relied on the Defendants’ misrepresentations and omissions.

        345.     Despite the exercise of due diligence, Columbus failed to discover the facts

identified herein.

        346.     Columbus and its citizens were damaged by each Defendant’s intentional and

fraudulent misrepresentations and omissions of material facts.


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        347.    Columbus seeks all legal and equitable relief as allowed by law, including, inter

alia, full compensatory and punitive or exemplary damages, and all damages allowed by law to

be paid by all Defendants, attorneys’ fees and costs, and pre- and post-judgment interest.

      COUNT FIVE: OHIO CORRUPT PRACTICES ACT, O.R.C. §§ 2923.31, et seq.
       (AGAINST ALL MANUFACTURER AND DISTRIBUTOR DEFENDANTS)

        348.    Columbus incorporates by reference paragraphs 1 through 347 of this Complaint

as if fully set forth herein, and further alleges as follows.

        349.    This count is against each Manufacturer and each Distributor.

        350.    At all relevant times, each Manufacturer and each Distributor is and has been a

“person” within the meaning of O.R.C. § 2923.31(G) who conducted the affairs of an enterprise

through a pattern of corrupt activity, in violation of Chapter 2923.

        351.    Columbus is a “person,” as that term is defined in O.R.C. §2923.31(G), that was

injured in its business or property as a result of each Defendant’s wrongful conduct. “Any

person who is injured or threatened with injury by a violation of section 2923.32 of the Revised

Code may institute a civil proceeding in an appropriate court seeking relief from any person

whose conduct violated or allegedly violated section 2923.32 of the Revised Code or who

conspired or allegedly conspired to violate that section . . . .” O.R.C. § 2923.34(A).

        352.    Manufacturers, Distributors, the KOLs, and certain Front Groups, including but

not limited to (a) the American Pain Foundation, including its employees and agents; (b) the

American Academy of Pain Medicine, including its employees and agents; and (c) the American

Pain Society, including its employees and agents (collectively, the “Front Groups”) are an

association-in-fact enterprise (the “Opioid Enterprise”) within the meaning of O.R.C.

2923.31(C).

        353.    Based on the facts alleged above, the Opioid Enterprise has been in existence for


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more than 20 years, and continues through the present. The Opioid Enterprise, pursued and

continues to pursue, a common purpose of causing the prescription of opioids to treat chronic

pain. The Manufacturers manufactured the opioids. The Manufacturers also marketed and

promoted the purported safe use of opioids to treat chronic pain through their own efforts, and

through enlisting the KOLs and Front Groups. The Manufacturers enlisted the Distributors to

distribute the opioids.

       354.    Each Manufacturer and each Distributor agreed to and did conduct and participate

in the conduct of the Opioid Enterprise’s affairs through a pattern of corrupt activity under

O.R.C. § 2923.31(I), for the unlawful purpose of illegally selling and distributing opioids (the

“Scheme”). Specifically, each Manufacturer and each Distributor engaged in dealing “in a

controlled substance or listed chemical (as defined in section 102 of the Controlled Substances

Act), which is chargeable under State law and punishable by imprisonment for than one year.”

18 U.S.C. §1961(1)(A). In addition, each Manufacturer and each Distributor violated 18 U.S.C.

§§ 1341 and 1342 (i.e., mail and wire fraud), which constitutes corrupt activity under O.R.C. §

2923.31.

       355.    Each Manufacturer violated O.R.C. §2925.02(A), which provides:

       No person shall knowingly do any of the following:

       (1)     By force, threat, or deception, administer to another or induce or
               cause another to use a controlled substance;

       (2)     By any means, administer or furnish to another or induce or cause
               another to use a controlled substance with purpose to cause serious
               physical harm to the other person, or with purpose to cause the
               other person to become drug dependent;

       (3)     By any means, administer or furnish to another or induce or cause
               another to use a controlled substance, and thereby cause serious
               physical harm to the other person, or cause the other person to
               become drug dependent[.]


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       356.    Each Manufacturer violated O.R.C. §2925.02(A) by deceptively inducing citizens

of Columbus to use opioids, inducing and causing citizens of Columbus to use opioids for the

purpose of causing them to be dependent on opioids, inducing and causing residents of

Columbus to use opioids and causing those persons to become drug dependent. Each Distributor

violated O.R.C. § 2925.02(A)(3) because it knew or had reasonable cause to know that opioids

that it sold were intended for sale or resale through illegal means.

       357.    Each Manufacturer and each Distributor violated O.R.C. § 2925.03(A), which

provides:

       No person shall knowingly do any of the following:

       (1)     Sell or offer to sell a controlled substance or a controlled substance
               analog;

       (2)     Prepare for shipment, ship, transport, deliver, prepare for
               distribution, or distribute a controlled substance or a controlled
               substance analog, when the offender knows or has reasonable
               cause to believe that the controlled substance or a controlled
               substance analog is intended for sale or resale . . . .”

       358.    Each Manufacturer and each Distributor violated O.R.C. § 2925.03(A) by selling

and distributing opioids in Columbus and because they knew or had reasonable cause to believe

that the opioids they sold and distributed would be illegally resold.

       359.    The Manufacturers and Distributors are not protected by any exception to O.R.C.

§§ 2925.02 and 2925.03 because their conduct did not comply with O.R.C. § 4729. Specifically,

as set forth in the Complaint above, the Manufacturers and Distributors violated O.A.C. Section

4729-9-16 by failing to report suspicious orders. See O.A.C. § 4729-9-16(H)(1)(e)(i) (“The

wholesaler shall inform the state board of pharmacy of suspicious orders for drugs when

discovered. Suspicious orders are those which, in relation to the wholesaler’s records as a whole,



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 are of unusual size, unusual frequency, or deviate substantially from established buying

 patterns.”). Any violation of Section 2925.03 is defined as “corrupt activity.” O.R.C. §

 2923.31(I)(2)(c).

        360.    In addition, the Opioid Enterprise conducted its affairs through predicate acts of

 racketeering, as defined by 18 U.S.C. § 1961(1), constituting corrupt activity under O.R.C. §

 2923.31, through:

                a.     Mail Fraud: The members of the Opioid Enterprise violated 18
                       U.S.C. § 1341 by sending or receiving, or by causing to be sent
                       and/or received, fraudulent materials via U.S. mail or commercial
                       interstate carriers for the purpose of selling opioids.

                b.     Wire Fraud: The members of the Opioid Enterprise violated 18
                       U.S.C. § 1343 by transmitting and/or receiving, or by causing to be
                       transmitted and/or received, fraudulent materials by wire for the
                       purpose of selling opioids.

        361.    Each particular instance of mail and/or wire fraud cannot be alleged. The precise

 dates and times that the Manufacturers and Distributors used the U.S. Mail and interstate wire

 facilities are known only to the Manufacturers and Defendants. However, based on the volume

 of communications that would be necessary to market opioids for sale, each Manufacturer used

 the U.S. Mail and interstate wire facilities to perpetrate the Scheme by, among other things:

                a.     Sending marketing materials that touted the benefit of opioids to
                       treat chronic pain and minimizing the risks of addiction to
                       physicians, KOLs and Front Groups;

                b.     Conducting telephone calls with Front Groups and KOLs to
                       discuss the use of opioids for chronic pain;

                c.     Sending thousands of e-mails to Front Groups, KOLs, doctors,
                       medical groups, and other persons and entities involved in the
                       distribution and marketing chains for opioids;

                d.     Sending by U.S. Mail and e-mail drafts of, or comments to,
                       publications, guidelines, or other material relating to the marketing
                       and sale of opioids;


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                e.      Sending by U.S. Mail and email literature to physicians that cited
                        the 1980 NEJM Letter-to-the-Editor as support for the contention
                        that opioids were safe to treat chronic pain;

                f.      Sending by U.S. Mail and email by the Manufacturers’ sales
                        representatives to physicians communications indicating that
                        opioids were safe for use in treating patients for chronic pain, had
                        low risk of addiction or other aberrant behavior and would improve
                        patients’ function;

                g.       Sending communications directed to federal and State agencies
                        and others in Ohio that misrepresented the benefits and risks of
                        opioid use for the treatment of chronic pain; and

                h.      Receiving monies through wire transfers relating to the sales of
                        opioids.

        362.    In addition, each of the following Manufacturers used the U.S. Mail or interstate

 wire facilities to make the specific statements in furtherance of their Scheme.

        363.    Purdue: Defendant Purdue made false or misleading claims in violation of 18

 U.S.C. §§ 1341 and 1343 including, but not limited to: (1) a 1998 video that cited a 1980 NEJM

 letter in support of the use of opioids to treat chronic pain; (2) statements made on its 2000

 “Partners Against Pain” website that represented that the addiction risk of OxyContin was

 extremely small; (3) statements in Purdue’s Risk Evaluation and Mitigation Strategy for

 OxyContin indicating that “[b]ehaviors that suggest drug abuse exist on a continuum, and pain-

 relief seeking behavior can be mistaken for drug-seeking behavior”; (4) statements made on

 Purdue’s website and in a 2010 “Dear Healthcare Professional” letter instructing doctors to taper

 someone off of OxyContin to prevent problems associated with withdrawal in patients who were

 physically dependent opioids; (5) statements included in a 1996 sales strategy memo indicating

 that there is no ceiling dose for opioids for chronic pain; (6) statements on its website that abuse-

 resistant products can prevent opioid addiction; and (7) statements made in advertising and a

 2007 book indicating that pain relief from opioids improve patients’ function and quality of life..

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        364.    Teva: Defendant Teva made false or misleading claims in violation of 18 U.S.C.

 §§ 1341 and 1343 including, but not limited to: (1) statements made regarding Actiq and Fentora

 as safe and effective treatments for chronic pain, when neither drug has been approved by the

 FDA for treatment of chronic pain; (2) statements made promoting Actiq for use in non-cancer

 patients to treat such conditions as migraines, sickle-cell pain crises, and other injuries; (3)

 statements made promoting Actiq for use in patients who were not yet opioid-tolerant, despite its

 FDA-approved label indicating that the drug was for “opioid tolerant cancer patients with

 breakthrough cancer pain, to be prescribed by oncologist or pain specialists familiar with

 opioids”; (4) statements deliberately made to physicians other than oncologists, including general

 practitioners, promoting Actiq for off-label uses; (5) representations to pain patients that, when

 used properly, opioids “can be life savers and give all of us a quality of life we deserve”; (6)

 representations through sponsored links on Internet search engines that misrepresented the

 efficacy of Fentora without communicating any risk information.

        365.    Endo: Defendant Endo made false or misleading claims in violation of 18 U.S.C.

 §§ 1341 and 1343 including, but not limited to: (1) statements made, beginning in at least 2009,

 on an Endo-sponsored website, PainKnowledge.com, indicating that patients “who take opioids

 as prescribed usually do not become addicted”; (2) statements made on another Endo-sponsored

 website, PainAction.com, indicating that “most chronic pain patients do not become addicted to

 opioid medications that are prescribed for them”; (3) statements made on the Endo-run website,

 Opana.com, indicating that opioid use does not result in addiction; (4) statements made on the

 Endo-run website, Opana.com, indicating that opioid dependence can be addressed by dosing

 methods such as tapering; and (6) statements made in a publication entitled “Understanding Your

 Pain: Taking Oral Opioid Analgesics” suggesting that opioid doses “can be increased”

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 indefinitely, because “[y]ou won’t ‘run out’ of pain relief”.

        366.    Janssen: Defendant Janssen made false or misleading claims in violation of 18

 U.S.C. §§ 1341 and 1343 including but not limited to: (1) statements on its website,

 PrescribeResponsibly.com, indicating that concerns about opioid addiction are “overestimated,”

 and that “true addiction occurs only in a small percentage of patients”; (2) statements included

 on a 2009 Janssen-sponsored website promoting the concept of opioid pseudoaddiction; (3)

 statements on its website, PrescribeResponsibly.com, advocating the concept of opioid

 pseudoaddiction; (4) statements on its website, PrescribeResponsibly.com, indicating that opioid

 addiction can be managed; and (5) statements in its 2009 patient education guide indicating the

 risks associated with limiting the dosages of pain medicines.

        367.    Actavis: Defendant Actavis made false or misleading claims in violation of 18

 U.S.C. §§ 1341 and 1343 including but not limited to: (1) statements that “omit and minimize the

 serious risks associated with Kadian”; (2) statements that “misleadingly suggest[] that Kadian is

 safer than has been demonstrated”; (3) statements that “fail to reveal warnings regarding

 potentially fatal abuse of opioids, use by individuals other than the patient for whom the drug

 was prescribed[.]”; (4) statements that falsely conveyed that the risk of addiction was limited to

 chronic pain patients and/or patients already predisposed to abuse, addiction, and/or

 dysfunctional behavior; (5) statements that instructed physicians to look for signs of

 “pseudoaddiction” in patients; and (6) statements which suggested that the physical symptoms of

 opioid withdrawal could be adequately addressed by tapering.

        368.    Distributors: The Distributors violated 18 U.S.C. §§ 1341 and 1343 by sending

 or receiving into Columbus, or by causing to be sent and/or received into Columbus, opioids. In

 addition, upon information and belief, each of the Distributors falsely reported to various state

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 and federal government authorities that they were in compliance with state and federal laws

 concerning suspicious orders. Upon information and belief, these reports were transmitted by

 mail and/or wire. Distributors further violated 18 U.S.C. § 1341 and § 1343 by: (1) using the

 mail to send suspicious shipments to doctors and pharmacies in the City; (2) using the mail

 and/or wire communications to send invoices to doctors and pharmacies relating to the

 suspicious statements; and (3) using the mail and/or wire communications to send reports falsely

 stating that it was in compliance with federal laws concerning the distribution of opioids.

        369.    All of the dates of the fraudulent uses of the U.S. mail and interstate wire facilities

 are not yet known, but, on information and belief , based on the volume of opioid sales by the

 Opioid Enterprise, the number of fraudulent uses of the mail and interstate wire number in tens

 of thousands and continue to today.

        370.    The actions set forth in the Complaint above constitute a pattern of corrupt

 activity pursuant to O.R.C. § 2323.31.

        371.    The Manufacturers and Distributors have directly and indirectly conducted and

 participated in the conduct of the Opioid Enterprise’s affairs through the pattern of corrupt

 activity described above, in violation of O.R.C. § 2923.32. Each of the Manufacturers

 orchestrated the affairs of the Enterprise and exerted substantial control over the Enterprise by, at

 least: (1) manufacturing the opioids; (2) determining pricing for the opioids; (3) making

 misleading statements about the purported benefits, efficacy, and risks of opioids to doctors,

 patients, the public, and others, in the form of telephonic and electronic communications, CME

 programs, medical journals, advertisements, and websites; (4) employing sales representatives or

 detailers to promote the use of opioid medications; (5) purchasing and utilizing sophisticated

 marketing data (e.g., IMS data) to coordinate and refine the sale and distribution of opioids; (6)



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 employing doctors to serve as speakers at or attend all-expense paid trips to programs

 emphasizing the benefits of prescribing opioid medications; (7) funding, controlling, and

 operating the Front Groups to target doctors, patients, and lawmakers and provide a veneer of

 legitimacy to the Scheme; (8) retaining KOLs to tout the benefits of opioid medicines; and (9)

 concealing the true nature of their relationship with the other members of the Enterprise,

 including the Front Groups and the KOLs.

        372.    Each Distributor orchestrated the affairs of the Opioid Enterprise and exerted

 substantial control over the Enterprise by, at least: (1) shipping significant doses of opioids in

 Columbus, the sheer volume of which should have, or actually did, put them on notice to

 investigate and report such orders; (2) refusing to report such suspicious orders; (3) refusing to

 report suspicious prescribers; (4) failing to refuse to fill suspicious orders; (5) affirmatively

 misrepresenting the efforts they were taking to curb the growing epidemic; and (6) concealing

 the true nature of their relationship with the other members of the Enterprise.

        373.    As a direct and proximate result of the Manufacturers’ and Distributors’ corrupt

 activities and violations of O.R.C. § 2923.32, Columbus has been injured in its business and

 property in the manner set forth in the manner described above in the Complaint above.

        374.    Columbus seeks all legal and equitable relief as allowed by law, including, inter

 alia, injunctive relief, full compensatory and punitive or exemplary damages, including treble

 damages, and all damages allowed by law to be paid by all Defendants, attorneys’ fees and costs,

 and pre- and post-judgment interest.

             COUNT SIX: CONSPIRACY, OHIO CORRUPT PRACTICES ACT,
                          O.R.C. §§ 2923.01, 2923.31, et seq.
                          (AGAINST ALL DEFENDANTS)

        375.    Plaintiff incorporates by reference paragraphs 1 through 374 of this Complaint, as



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 if fully set forth herein, and further alleges as follows.

         376.    This Count is against all Defendants.

         377.    Defendants agreed and conspired to violate O.R.C. § 2923.32(A)(1). Specifically,

 the Manufacturers entered into various agreements with the KOLs pursuant to which the KOLs

 would falsely promote the safety of opioids to treat chronic pain. The KOLS agreed to

 knowingly facilitate the activities of the Manufacturers and/or Distributors. The Distributors

 entered into agreements with the Manufacturers to distribute the opioids. The Distributors

 agreed to knowingly facilitate the activities of the Manufacturers by distributing opioids in

 violation of state and federal rules regarding suspicious orders.

         378.    Defendants have intentionally conspired and agreed to directly or indirectly

 conduct and participate in the conduct of the affairs of the enterprise through a pattern of corrupt

 activity. Defendants knew that their predicate acts were part of a pattern of corrupt activity and

 agreed to the commission of the schemes described above. The conduct constitutes a conspiracy

 to violate O.R.C. § 2923.32(A)(1), and constitutes a conspiracy to engage in a pattern of corrupt

 activity under O.R.C. § 2923.32(B), in violation of O.R.C. § 2923.01(A).

         379.    As direct and proximate result of the Defendants’ conspiracy, the overt action

 taken in furtherance of that conspiracy, and violations of O.R.C. §§ 2923.01(A) and

 2923.32(A)(1), Columbus has been injured in its business and property in the manner set forth in

 the Complaint above.

         380.    Columbus seeks all legal and equitable relief as allowed by law, including, inter

 alia, injunctive relief, full compensatory and punitive or exemplary damages, including treble

 damages, and all damages allowed by law to be paid by all Defendants, attorneys’ fees and costs,

 and pre- and post-judgment interest.



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          COUNT SEVEN: VIOLATIONS OF THE RACKETEER INFLUENCED AND
           CORRUPT ORGANIZATIONS ACT (“RICO”), 18 U.S.C. § 1961(c)
        (AGAINST ALL MANUFACTURER AND DISTRIBUTOR DEFENDANTS)

         381.    Plaintiff incorporates by reference paragraphs 1 through 380 of this Complaint, as

 if fully set forth herein, and further alleges as follows.

         382.    This count is against each Manufacturer and each Distributor.

         383.    At all relevant times, each Manufacturer and each Distributor is and has been a

 “person” within the meaning of 18 U.S.C. § 1961(3), because they are capable of holding, and do

 hold, “a legal or beneficial interest in property.”

         384.    Columbus is a “person,” as that term is defined in 18 U.S.C. § 1961(3), and has

 standing to sue as it was and is injured in its business and/or property as a result of the

 Defendants’ wrongful conduct described herein.

         385.    Manufacturers, Distributors, the KOLs, and the Front Groups are an association-

 in-fact enterprise (the “Opioid Enterprise”) within the meaning of 18 U.S.C. § 1961(4).

         386.    Based on the facts alleged above, the Opioid Enterprise has been in existence for

 more than 20 years, and continues through the present. The Opioid Enterprise, pursued and

 continues to pursue, a common purpose of causing the prescription of opioids to treat chronic

 pain. Manufacturers also marketed and promoted the purported safe use of opioids to treat

 chronic pain through their own efforts, and through enlisting the KOLs and Front Groups.

 Manufacturers enlisted the Distributors to distribute the opioids to pharmacies and doctors.

         387.    The Opioid Enterprise engaged in, and its activities affected, interstate and

 foreign commerce because it involved commercial activities across state boundaries, including

 but not limited to: (1) the marketing, promotion, and advertisement of opioids; (2) the advocacy

 at the state and federal level for change in the law governing the use and prescription of opioids;



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 (3) the distribution of suspicious shipments of opioids; (4) the issuance of prescriptions and

 prescription guidelines for opioids; and (5) the issuance of fees, bills, and statements demanding

 payment for prescriptions of opioids.

           388.   Each Manufacturer and each Distributor agreed to and did conduct and participate

 in the conduct of the Opioid Enterprise’s affairs through a pattern of racketeering activity and for

 the unlawful purpose of illegally selling and distributing opioids (the “Scheme”). Specifically,

 each Manufacturer and each Distributor in dealing “in a controlled substance or listed chemical

 (as defined in section 102 of the Controlled Substances Act), which is chargeable under State law

 and punishable by imprisonment for than one year.” 18 U.S.C. §1961(1)(A). In addition, each

 Manufacturer and each Distributor violated 18 U.S.C. §§ 1341 and 1342 (i.e., mail and wire

 fraud).

           389.   Each Manufacturer violated O.R.C. §2925.02(A), which provides:

           No person shall knowingly do any of the following:

           (1)    By force, threat, or deception, administer to another or induce or
                  cause another to use a controlled substance;

           (2)    By any means, administer or furnish to another or induce or cause
                  another to use a controlled substance with purpose to cause serious
                  physical harm to the other person, or with purpose to cause the
                  other person to become drug dependent;

           (3)    By any means, administer or furnish to another or induce or cause
                  another to use a controlled substance, and thereby cause serious
                  physical harm to the other person, or cause the other person to
                  become drug dependent[.]

           390.   Each Manufacturer violated O.R.C. §2925.02(A) by deceptively inducing citizens

 of Columbus to use opioids, inducing and causing citizens of Columbus to use opioids for the

 purposes causing them to be dependent on opioids, inducing and causing citizens of Columbus to

 use opioids and causing those persons to become drug dependent. Each Distributor violated


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 O.R.C. §2925.02(A)(3) because it knew or had reasonable cause to know that opioids that it sold

 were intended for sale or resale through illegal means.

        391.    Each Manufacturer and each Distributor violated O.R.C. § 2925.03(A), which

 provides:

        No person shall knowingly do any of the following:

        (1)     Sell or offer to sell a controlled substance or a controlled substance
                analog;

        (2)     Prepare for shipment, ship, transport, deliver, prepare for
                distribution, or distribute a controlled substance or a controlled
                substance analog, when the offender knows or has reasonable
                cause to believe that the controlled substance or a controlled
                substance analog is intended for sale or resale . . . .”

        392.    Each Manufacturer and each Distributor violated O.R.C. § 2925.03(A) by selling

 and distributing opioids in Columbus and because they know or had reasonable cause to believe

 that the opioids they sold and distributed would be illegally resold.

        393.    The Manufacturer and Distributors are not protected by any exception to O.R.C.

 §§ 2925.02 and 2925.03 because their conduct did not comply with O.R.C. § 4729. Specifically,

 as set forth in the Complaint above, the Manufacturers and Distributors violated O.A.C. Section

 4729-9-16 by failing to report suspicious orders. See O.A.C. § 4729-9-16(H)(1)(e)(i) (“The

 wholesaler shall inform the state board of pharmacy of suspicious orders for drugs when

 discovered. Suspicious orders are those which, in relation to the wholesaler’s records as a whole,

 are of unusual size, unusual frequency, or deviate substantially from established buying

 patterns.”). Any violation of Section 2925.03 is defined as “racketeering activity.” O.R.C. §

 2923.31(I)(2)(c).

        394.    In addition, the Opioid Enterprise conducted its affairs through predicate acts of

 racketeering (18 U.S.C. § 1961(1)) through:


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                a.     Mail Fraud: The members of the Opioid Enterprise violated 18
                       U.S.C. § 1341 by sending or receiving, or by causing to be sent
                       and/or received, fraudulent materials via U.S. mail or commercial
                       interstate carriers for the purpose of opioids.

                b.     Wire Fraud: The members of the Opioid Enterprise violated 18
                       U.S.C. § 1343 by transmitting and/or receiving, or by causing to be
                       transmitted and/or received, fraudulent materials by wire for the
                       purpose of selling opioids.

        395.    Each particular instance of mail and/or wire fraud cannot be alleged. The precise

 dates and times that the Manufacturers and Distributors used the U.S. Mail and interstate wire

 facilities are known only to the Manufacturers and Defendants. However, based on the volume

 of communications that would be necessary to market opioids for sale, each Manufacturer used

 the U.S. Mail and interstate wire facilities to perpetrate the Scheme by, among other things:

                a.     Sending marketing materials that touted the benefit of opioids to
                       treat chronic pain and minimizing the risks of addiction to
                       physicians, KOLs and Front Groups;

                b.     Conducting telephone calls with Front Groups and KOLs to
                       discuss the use of opioids for chronic pain;

                c.     Sending thousands of e-mails to Front Groups, KOLs, doctors,
                       medical groups, and other persons and entities involved in the
                       distribution and marketing chains for opioids;

                d.     Sending by U.S. Mail and e-mail drafts of, or comments to,
                       publications, guidelines, or other material relating to the market
                       and sale of opioids;

                e.     Sending by U.S. Mail and email literature to physicians that cited
                       the 1980 NEJM Letter-to-the-Editor as support for the contention
                       that opioids were safe to treat chronic pain;

                f.     Sending by U.S. Mail and email by the Manufacturers’ sales
                       representatives to physicians communications indicating that
                       opioids were safe for use in treating patients for chronic pain, had
                       low risk of addiction or other aberrant behavior and would improve
                       patients’ function;

                g.      Sending communications directed to federal and State agencies
                       and others in Ohio that misrepresented the benefits and risks of

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                        opioid use for the treatment of chronic pain; and

                h.      Receiving monies through wire transfers relating to the sales of
                        opioids.

        396.    In addition, each of the following Manufacturers used the U.S. Mail or interstate

 wire facilities to make the specific statements in furtherance of their Scheme.

        397.    Purdue: Defendant Purdue made false or misleading claims in violation of 18

 U.S.C. §§ 1341 and 1343 including but not limited to: (1) a 1998 video that cited a 1980 NEJM

 letter in support of the use of opioids to treat chronic pain; (2) statements made on its 2000

 “Partners Against Pain” website that represented that the addiction risk of OxyContin was

 extremely small; (3) statements in Purdue’s Risk Evaluation and Mitigation Strategy for

 OxyContin indicating that “[b]ehaviors that suggest drug abuse exist on a continuum, and pain-

 relief seeking behavior can be mistaken for drug-seeking behavior”; (4) statements made on

 Purdue’s website and in a 2010 “Dear Healthcare Professional” letter instructing doctors to taper

 someone off of OxyContin to prevent problems associated with withdrawal in patients who were

 physically dependent opioids; (5) statements included in a 1996 sales strategy memo indicating

 that there is no ceiling dose for opioids for chronic pain; (6) statements on its website that abuse-

 resistant products can prevent opioid addiction; and (7) statements made in advertising and a

 2007 book indicating that pain relief from opioids improve patients’ function and quality of life..

        398.    Teva: Defendant Teva made false or misleading claims in violation of 18 U.S.C.

 §§ 1341 and 1343 including but not limited to: (1) statements made regarding Actiq and Fentora

 as safe and effective treatments for chronic pain, when neither drug has been approved by the

 FDA for treatment of chronic pain; (2) statements made promoting Actiq for use in non-cancer

 patients to treat such conditions as migraines, sickle-cell pain crises, and other injuries; (3)



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 statements made promoting Actiq for use in patients who were not yet opioid-tolerant, despite its

 FDA-approved label indicating that the drug was for “opioid tolerant cancer patients with

 breakthrough cancer pain, to be prescribed by oncologist or pain specialists familiar with

 opioids”; (4) statements deliberately made to physicians other than oncologists, including general

 practitioners, promoting Actiq for off-label uses; (5) representations to pain patients that, when

 used properly, opioids “can be life savers and give all of us a quality of life we deserve”; (6)

 representations through sponsored links on Internet search engines that misrepresented the

 efficacy of Fentora without communicating any risk information.

        399.    Endo: Defendant Endo also made false or misleading claims in violation of 18

 U.S.C. §§ 1341 and 1343 including but not limited to: (1) statements made, beginning in at least

 2009, on an Endo-sponsored website, PainKnowledge.com, indicating that patients “who take

 opioids as prescribed usually do not become addicted”; (2) statements made on another Endo-

 sponsored website, PainAction.com, indicating that “most chronic pain patients do not become

 addicted to opioid medications that are prescribed for them”; (3) statements made on the Endo-

 run website, Opana.com, indicating that opioid use does not result in addiction; (4) statements

 made on the Endo-run website, Opana.com, indicating that opioid dependence can be addressed

 by dosing methods such as tapering; and (6) statements made in a publication entitled

 “Understanding Your Pain: Taking Oral Opioid Analgesics” suggesting that opioid doses “can be

 increased” indefinitely, because “[y]ou won’t ‘run out’ of pain relief”.

        400.    Janssen: Defendant Janssen made false or misleading claims in violation of 18

 U.S.C. §§ 1341 and 1343 including but not limited to: (1) statements on its website,

 PrescribeResponsibly.com, indicating that concerns about opioid addiction are “overestimated,”

 and that “true addiction occurs only in a small percentage of patients”; (2) statements included

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 on a 2009 Janssen-sponsored website promoting the concept of opioid pseudoaddiction; (3)

 statements on its website, PrescribeResponsibly.com, advocating the concept of opioid

 pseudoaddiction; (4) statements on its website, PrescribeResponsibly.com, indicating that opioid

 addiction can be managed; and (5) statements in its 2009 patient education guide indicating the

 risks associated with limiting the dosages of pain medicines.

        401.    Actavis: Defendant Actavis made false or misleading claims in violation of 18

 U.S.C. §§ 1341 and 1343 including but not limited to: (1) statements that “omit and minimize the

 serious risks associated with Kadian”; (2) statements that “misleadingly suggest[] that Kadian is

 safer than has been demonstrated”; (3) statements that “fail to reveal warnings regarding

 potentially fatal abuse of opioids, use by individuals other than the patient for whom the drug

 was prescribed[.]”; (4) statements that falsely conveyed that the risk of addiction was limited to

 chronic pain patients and/or patients already predisposed to abuse, addiction, and/or

 dysfunctional behavior; (5) statements that instructed physicians to look for signs of

 “pseudoaddiction” in patients; and (6) statements which suggested that the physical symptoms of

 opioid withdrawal could be adequately addressed by tapering.

        402.    Distributors: The Distributors violated 18 U.S.C. §§ 1341 and 1343 by sending

 or receiving into Columbus, or by causing to be sent and/or received into Columbus, opioids,

 which have little to no demonstrated efficacy for the pain they are purported to treat in the

 majority of persons prescribed them. In addition, upon information and belief, each of the

 Distributors falsely reported to various state and federal government authorities that they were in

 compliance with state and federal laws concerning suspicious orders. Upon information and

 belief, these reports were transmitted by mail and/or wire. Distributors further violated 18

 U.S.C. § 1341 and § 1343 by: (1) using the mail to send suspicious shipments to doctors and


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 pharmacies in the City; (2) using the mail and/or wire communications to send invoices to

 doctors and pharmacies relating to the suspicious statements; and (3) using the mail and/or wire

 communications to send reports falsely stating that the Distributor was in compliance with

 federal laws concerning the distribution of opioids.

        403.    All of the dates of the fraudulent uses of the U.S. mail and interstate wire facilities

 are not yet known, but on information and belief based on the volume of opioid sales by the

 Opioid Enterprise, the number of fraudulent uses of the mail and interstate wire number in tens

 of thousands and continue to today.

        404.    The acts set forth in the Complaint above constitute a pattern of racketeering

 activity pursuant to 18 U.S.C. § 1961(5).

        405.    The Manufacturers and Distributors have directly and indirectly conducted and

 participated in the conduct of the Opioid Enterprise’s affairs through the pattern of racketeering

 and activity described above, in violation of 18 U.S.C. § 1962(c). Each of the Manufacturers

 orchestrated the affairs of the Enterprise and exerted substantial control over the Enterprise by, at

 least: (1) manufacturing the opioids; (2) determining pricing for the opioids; (3) making

 misleading statements about the purported benefits, efficacy, and risks of opioids to doctors,

 patients, the public, and others, in the form of telephonic and electronic communications, CME

 programs, medical journals, advertisements, and websites; (4) employing sales representatives or

 detailers to promote the use of opioid medications; (5) purchasing and utilizing sophisticated

 marketing data (e.g., IMS data) to coordinate and refine the sale and distribution of opioids; (6)

 employing doctors to serve as speakers at or attend all-expense paid trips to programs

 emphasizing the benefits of prescribing opioid medications; (7) funding, controlling, and

 operating the Front Groups to target doctors, patients, and lawmakers and provide a veneer of



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 legitimacy to the Scheme; (8) retaining KOLs to tout the benefits of opioid medicines; and (9)

 concealing the true nature of their relationship with the other members of the Enterprise,

 including the Front Groups and the KOLs.

         406.    Each Distributor orchestrated the affairs of the Opioid Enterprise and exerted

 substantial control over the Enterprise by, at least: (1) shipping significant doses of opioids in

 Columbus, the sheer volume of which should have, or actually did, put them on notice to

 investigate and report such orders; (2) refusing to report such suspicious orders; (3) refusing to

 report suspicious prescribers; (4) failing to refuse to fill suspicious orders; (5) affirmatively

 misrepresenting the efforts they were taking to curb the growing epidemic; and (6) concealing

 the true nature of their relationship with the other members of the Enterprise.

         407.    As a direct and proximate result of the Manufacturer and Distributors’

 racketeering activities and violations of 18 U.S.C. § 1962(c), Columbus has been injured in its

 business and property in the manner set forth in the Complaint above.

         408.    Columbus seeks all legal and equitable relief as allowed by law, including, inter

 alia, injunctive relief, full compensatory and punitive or exemplary damages, including treble

 damages, and all damages allowed by law to be paid by all Defendants, attorneys’ fees and costs,

 and pre- and post-judgment interest.

                    COUNT EIGHT: VIOLATIONS OF RICO, 18 U.S.C. § 1961(d)
                            (AGAINST ALL DEFENDANTS)

         409.    Plaintiff incorporates by reference paragraphs 1 through 408 of this Complaint as

 if fully set forth here, and further alleges as follows.

         410.    This Count is against all Defendants.

         411.    Defendants agreed and conspired to violate 18 U.S.C. § 1962(c). Specifically, the

 Manufacturers entered into various agreements with the KOLs pursuant to which the KOLs


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 would falsely promote the safety of opioids to treat chronic pain. The KOLS agreed to

 knowingly facilitate the activities of the Manufacturer and Distributors. The Distributors entered

 into agreements with the Manufacturers to distribute the opioids. The Distributors agreed to

 knowingly facilitate the activities of the Manufacturers by distributing opioids in violation of

 state and federal rules regarding suspicious orders.

         412.    Defendants have intentionally conspired and agreed to directly or indirectly

 conduct and participate in the conduct of the affairs of the enterprise through a pattern of

 racketeering activity. Defendants knew that their predicate acts were part of a pattern of

 racketeering activity and agreed to the commission of to further the schemes described above.

 The conduct constitutes a conspiracy to violate 18 U.S.C. §1962(c), in violation of 18 U.S.C.

 §1962(d).

         413.    As direct and proximate result of the Defendants’ conspiracy, the overt action

 taken in furtherance of that conspiracy, and violations of 18 U.S.C. §1962(d), Columbus has

 been injured in its business and property in the manner set forth in the Complaint above.

         414.    Columbus seeks all legal and equitable relief as allowed by law, including, inter

 alia, injunctive relief, full compensatory and punitive or exemplary damages, including treble

 damages, and all damages allowed by law to be paid by all Defendants, attorneys’ fees and costs,

 and pre- and post-judgment interest.

                                  COUNT NINE: NEGLIGENCE
                                 (AGAINST ALL DEFENDANTS)

         415.    Plaintiff incorporates by reference paragraphs 1 through 414 of this Complaint as

 if fully set forth here, and further alleges as follows.

         416.    Each Defendant had an obligation to exercise due care in distributing opioids to

 Columbus and its surrounding areas.


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         417.    Each Defendant owed a duty to Columbus and its surrounding areas, and to the

 public health and safety in Columbus, because the injury was foreseeable, and in fact foreseen.

         418.    Reasonably prudent manufacturers, physicians, and distributors would have

 anticipated that the widespread use of opioids would cause addiction and would wreak havoc on

 communities.

         419.    The Manufacturers, the Distributors and the KOLs breached their duties to

 exercise due care in the business of manufacturing, promoting, and distributing opioids. Because

 the very purpose of these duties was to prevent the resulting harm – addiction to opioids – the

 causal connection between the Defendants’ breach of duties and the ensuing harm was entirely

 foreseeable.

         420.    The Defendants’ breach of duty caused, bears a causal connection with, and/or

 proximately resulted in, harm and damages to Columbus.

         421.    Defendants acted with actual malice or were reckless.

         422.    Columbus seeks all legal and equitable relief as allowed by law, including inter

 alia, injunctive relief, compensatory and punitive damages, and all damages allowed by law to

 be paid by the Defendants, attorneys’ fees and costs, and pre- and post-judgment interest.

                        COUNT TEN: NEGLIGENCE PER SE
           (AGAINST MANUFACTURER AND DISTRIBUTOR DEFENDANTS)

         423.    Plaintiff incorporates by reference paragraphs 1 through 422 of this Complaint as

 if fully set forth herein, and further alleges as follows.

         424.    O.R.C. §§ 2925.02, 2925.03, 3767.01, 4729.35, and O.A.C. §§ 4729-9-12, 4729-

 9-16, 4729-9-28, are public safety laws. Each Manufacturer and Distributor had a duty under,

 inter alia, these laws to maintain effective controls against diversion of prescription opioids and

 to guard against, prevent, and report suspicious orders of opioids. The Manufacturer’s and


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 Distributors’ violations of the law constitute negligence per se.

         425.    It was foreseeable that the breach of their duties would result in the damages

 sustained by Columbus.

         426.    The Manufacturers and Distributors breached their duties.

         427.    The Manufacturers’ and Distributors’ breach of statutory and regulatory duties

 caused, bears a causal connection with, and proximately resulted in, harm and damages to

 Columbus.

         428.    The Manufacturers and Distributors acted with actual malice or were reckless.

         429.    Columbus seeks all legal and equitable relief as allowed by law, including inter

 alia injunctive relief, compensatory and punitive damages, and all damages allowed by law to be

 paid by the Manufacturers and Distributors, attorneys’ fees and costs, and pre- and post-

 judgment interest.

  COUNT ELEVEN: DECEPTIVE TRADE PRACTICES ACT, O.R.C. § 4165.01, et seq.
     (AGAINST MANUFACTURER DEFENDANTS AND KOL DEFENDANTS)

         430.    Columbus incorporates by reference paragraphs 1 through 429 of this Complaint

 as if fully set forth herein, and further alleges as follows.

         431.    The Manufacturers and KOLs have committed deceptive trade practices by

 causing a likelihood of confusion or misunderstanding as to affiliation, or connection with

 another, in violation of O.R.C. § 4165.02(A)(3).

         432.    The Manufacturers and KOLs have also committed deceptive trade practices by

 representing, and continuing to represent, that the Manufacturers’ opioids have characteristics,

 uses, or benefits that they do not have, in violation of O.R.C. § 4165.02(A)(7).

         433.    Purdue’s deceptive trade practices include, but are not limited to, (1) making

 misleading statements; (2) funding, controlling, and operating the Front Groups, including the


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 American Pain Foundation and the Pain & Policy Studies Group; (3) participating in the Pain

 Care Forum, a coalition of drug makers, trade groups, and nonprofit organizations that,

 collectively, spent hundreds of millions of dollars lobbying against opioid-related measures; (4)

 retaining the KOLs to tout the benefits of opioid medicines; and (5) concealing the true nature of

 its relationship with the other Manufacturers and KOLs.

        434.    Teva’s deceptive trade practices include, but are not limited to, (1) making

 misleading statements, particularly regarding the promotion of opioids for off-label uses; (2)

 funding, controlling, and operating the Front Groups, including the American Pain Foundation

 and the Pain & Policy Studies Group; (3) sponsoring a series of CME programs which claimed

 that opioid therapy has been shown to reduce pain and depressive symptoms; (4) supporting and

 sponsoring guidelines indicating that opioid medications are effective and can restore patients’

 quality of life; (5) participating in the Pain Care Forum, a coalition of drug makers, trade groups,

 and nonprofit organizations that, collectively, spent hundreds of millions of dollars lobbying

 against opioid-related measures; (6) retaining the KOLs to tout the benefits of opioid medicines;

 and (7) concealing the true nature of its relationship with the other Manufacturers and KOLs.

        435.    Endo’s deceptive trade practices include, but are not limited to, (1) making

 misleading statements; (2) sponsoring a 2009 National Initiative on Pain Control CME program

 which promoted the concept of pseudoaddiction; (3) funding, controlling, and operating the

 Front Groups, including the American Pain Foundation and the Pain & Policy Studies Group; (3)

 sponsoring a series of CME programs which claimed that opioid therapy has been shown to

 reduce pain and depressive symptoms; (4) supporting and sponsoring guidelines indicating that

 opioid medications are effective and can restore patients’ quality of life; (5) participating in the

 Pain Care Forum, a coalition of drug makers, trade groups, and nonprofit organizations that,



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 collectively, spent hundreds of millions of dollars lobbying against opioid-related measures; (6)

 retaining the KOLs to tout the benefits of opioid medicines; and (7) concealing the true nature of

 its relationship with the other Manufacturers and KOLs.

         436.   Janssen’s deceptive trade practices include, but are not limited to, (1) making

 misleading statements; (2) funding, controlling, and operating Front Groups, including the Pain

 & Policy Studies Group; (3) supporting and sponsoring guidelines indicating that opioid

 medications are effective and can restore patients’ quality of life; (4) sponsoring, funding, and

 editing a website which features an interview indicating that opioid medications can improve

 patients’ function; (5) participating in the Pain Care Forum, a coalition of drug makers, trade

 groups, and nonprofit organizations that, collectively, spent hundreds of millions of dollars

 lobbying against opioid-related measures; (6) retaining the KOLs to tout the benefits of opioid

 medicines; and (7) concealing the true nature of its relationship with the other Manufacturers and

 KOLs.

         437.   Actavis’ deceptive trade practices include, but are not limited to, (1) making

 misleading statements; (2) funding, controlling, and operating the Front Groups, including the

 American Pain Foundation and the Pain & Policy Studies Group; (3) sponsoring a series of CME

 programs which claimed that opioid therapy has been shown to reduce pain and depressive

 symptoms; (4) supporting and sponsoring guidelines indicating that opioid medications are

 effective and can restore patients’ quality of life; (5) retaining the KOLs to tout the benefits of

 opioid medicines; and (6) concealing the true nature of its relationship with the other

 Manufacturers and KOLs.

         438.   The KOLs’ deceptive trade practices include, but are not limited to, (1) making

 misleading statements about the purported benefits, efficacy, and low risks of opioids; (2)



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 holding themselves out as independent, when in fact there are systematically linked to and

 funded by opioid drug manufacturers; and (3) concealing the true nature of their relationship

 with the Manufacturers.

        439.    Columbus and its residents have been injured by reason of the Manufacturers’ and

 the KOLs’ violations of O.R.C. Chapter 4165.

        440.    Columbus seeks all legal and equitable relief as allowed by law, including inter

 alia, injunctive relief, restitution, disgorgement of profits, compensatory and punitive damages,

 and all damages allowed by law to be paid by the Manufacturers and the KOLs, attorneys’ fees

 and costs, and pre- and post-judgment interest.

                                     PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully prays that this Court grant the following relief:


        1.      Enter Judgment in favor of the City of Columbus in a final order against each of

 the Defendants;

        2.      Enjoin the Defendants and their employees, officers, directors, agents, successors,

 assignees, merged or acquired predecessors, parent or controlling entities, subsidiaries, and all

 other persons acting in concert or participation with them, from engaging in the unlawful

 manufacture, marketing, distribution and sales of prescription opioid pills and ordering a

 permanent injunction;

        3.      Order that the Defendants compensate the City for its past and future costs to

 abate the continuing and absolute public nuisance caused by the opioid epidemic;

        4.      Impose an award of actual and triple the actual damages the City has sustained as

 a result of Defendants’ violations of the Ohio Corrupt Practices Act and the Racketeer Influenced




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 and Corrupt Organizations Act, and an award of the City’s reasonable Attorney’s’ fees incurred

 in prosecuting those violations;

        5.      Award the City its damages caused by abating the opioid epidemic, and to be

 incurred, including, but not limited to, (a) costs for providing medical care, additional therapeutic

 and prescription drug purchases, and other treatments/services for patients suffering from opioid-

 related addiction or disease, including overdoses and deaths; (b) costs for providing treatment,

 counseling, and rehabilitation services; (c) costs for providing treatment of infants born with

 opioid-related medical conditions; (d) costs associated with law enforcement and public safety

 relating to the opioid epidemic; and (e) any other costs, expenses or damages caused by the

 Defendants’ conduct described above;

        6.      Order the Defendants to fund an “abatement fund” for the purposes of abating the

 opioid nuisance;

        7.      Order Defendants to fund a “treatment fund” for the purposes of treating those

 throughout Columbus who have become addicted or otherwise injured as a result of the

 oversaturation of opioids created by the Defendants;

        8.      Award judgment requiring Defendants to pay punitive and exemplary damages;

 and

        9.      Grant Columbus court costs, including reasonable attorneys’ fees, pre-judgment

 and post-judgment interest, and all other relief as provided by law and/or as the Court deems

 appropriate and just.




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                                    CITY OF COLUMBUS, DEPARTMENT OF LAW
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                                      JURY DEMAND

        Columbus demands that this case be tried to a jury comprised of the maximum number

 permitted by law.


                                                   s/Michael H. Carpenter
                                                   One of the Attorneys for the
                                                   City of Columbus




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